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                                                              1    Edwin Aiwazian (Cal. State Bar No. 232943)
                                                                          edwin@calljustice.com
                                                              2    Arby Aiwazian (Cal. State Bar No. 269827)
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                                                              3    Joanna Ghosh (Cal. State Bar No. 272479)
                                                                          joanna@calljustice.com
                                                              4    Annabel Blanchard (Cal. State Bar No. 329407)
                                                                          annabel@calljustice.com
                                                              5    LAWYERS for JUSTICE, PC
                                                                   410 West Arden Avenue, Suite 203
                                                              6    Glendale, California 91203
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                                                              7
                                                                   Attorneys for Plaintiff
                                                              8

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                                                             10
                                                                                          UNITED STATES DISTRICT COURT
LAWYERS for JUSTICE, PC




                                                             11
                          410 West Arden Avenue, Suite 203




                                                                                        EASTERN DISTRICT OF CALIFORNIA
                              Glendale, California 91203




                                                             12

                                                             13    BOBBY GRAYSON, III, individually,          Case No.: 1:21-cv-00986-ADA-BAM
                                                                   and on behalf of other members of the
                                                             14    general public similarly situated and on   Honorable Barbara A. McAuliffe
                                                                   behalf of other aggrieved employees        Department 8
                                                             15    pursuant to the California Private
                                                                   Attorneys General Act,                     CLASS ACTION
                                                             16
                                                                                  Plaintiff,                  DECLARATION OF ANNABEL
                                                             17                                               BLANCHARD IN SUPPORT OF
                                                                           vs.                                PLAINTIFF’S MOTION FOR
                                                             18                                               PRELIMINARY APPROVAL OF
                                                                   NUTRIEN, a Colorado corporation;           CLASS ACTION SETTLEMENT
                                                             19    NUTRIEN AG SOLUTIONS, INC., an
                                                                   unknown business entity; WESTERN           [Plaintiff’s Motion for Preliminary
                                                             20    FARM SERVICE, INC., an unknown             Approval of Class Action Settlement;
                                                                   business entity; and DOES 1 through        Declaration of Proposed Class
                                                             21    100, inclusive,                            Representative (Bobby Grayson, III);
                                                                                                              and [Proposed] Order filed concurrently
                                                             22                   Defendants.                 herewith]
                                                             23
                                                                                                              Date:
                                                             24                                               Time:               9:00 a.m.
                                                                                                              Department:         8
                                                             25
                                                                                                              Complaint Filed:    April 2, 2021
                                                             26                                               FAC Filed:          June 1, 2021
                                                                                                              SAC Filed:          August 13, 2021
                                                             27                                               TAC Filed:          October 25, 2021
                                                                                                              Trial Date:         None Set
                                                             28

                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                    DECLARATION OF ANNABEL BLANCHARD
                                                              2          I, Annabel Blanchard, hereby declare as follows:
                                                              3          1.    I am an attorney licensed to practice law in the State of California. I am
                                                              4    a member of Lawyers for Justice, PC, attorneys of record for Plaintiff Bobby
                                                              5    Grayson, III (“Plaintiff”). The facts set forth in this declaration are within my
                                                              6    personal knowledge or based on information and belief, and if called as a witness, I
                                                              7    could and would competently testify thereto.
                                                              8         EXPERIENCE AND ADEQUACY OF LAWYERS for JUSTICE, PC
                                                              9          2.     Since October 2008, Lawyers for Justice, PC has almost exclusively
                                                             10    focused on the prosecution of consumer and employment class actions, involving
LAWYERS for JUSTICE, PC




                                                             11    wage-and-hour claims, race discrimination, unfair business practices, or consumer
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                              Glendale, California 91203




                                                             12    fraud. Currently, the firm is attorney of record in over a dozen employment-related
                                                             13    putative class actions in both state and federal courts in the State of California.
                                                             14    Lawyers for Justice, PC is comprised of attorneys who focus on litigating complex
                                                             15    wage-and-hour class and Private Attorneys General Act (“PAGA”) representative
                                                             16    actions.   The firm has successfully litigated cases involving the executive,
                                                             17    administrative, and other overtime exemptions to the State of California and federal
                                                             18    overtime compensation requirements. During a relatively short time, in association
                                                             19    with other law firms, Lawyers for Justice, PC has recovered millions of dollars on
                                                             20    behalf of thousands of individuals in California.     Below is a summary of the
                                                             21    experience and qualifications of the attorneys at Lawyers for Justice, PC who most
                                                             22    recently and primarily have been responsible for the representation of Plaintiff in
                                                             23    connection with the resolution of above-captioned matter. Additional attorney and
                                                             24    non-attorney staff have also worked on the above-captioned matter.
                                                             25          3.    Edwin Aiwazian is the Managing Member and Shareholder of Lawyers
                                                             26    for Justice, PC.   He received his Bachelor of Arts degree from Pepperdine
                                                             27    University in April of 1999 and earned a Juris Doctor degree from Pepperdine
                                                             28    University School of Law in May of 2004. He has extensive formal training in
                                                                                                        1
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1    dispute resolution and negotiation from the Straus Institute for Dispute Resolution as
                                                              2    part of its Masters in Dispute Resolution degree program. In addition, he has
                                                              3    previously served as a pro bono mediator for the Los Angeles County Superior
                                                              4    Court. In October of 2000, he obtained a Litigation Paralegal Certificate from the
                                                              5    UCLA Extension Program. During the summer of 2000, he studied Legal Writing at
                                                              6    Harvard University.     From approximately September 2002 to approximately
                                                              7    December 2002, he served as a Judicial Extern to the Honorable Kim McLane
                                                              8    Wardlaw of the United States Court of Appeals for the Ninth Circuit.            From
                                                              9    approximately June 2002 to approximately August 2002, he served as a Judicial
                                                             10    Extern to the Honorable Earl Johnson, Jr. of the California Court of Appeal for the
LAWYERS for JUSTICE, PC




                                                             11    Second Appellate District. In December of 2004, he obtained a license to practice
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                                                             12    law from the California State Bar.        From approximately December 2004 to
                                                             13    approximately August 2008, he was employed by Girardi & Keese. At Girardi &
                                                             14    Keese, his practice focused on class actions and other complex cases involving toxic
                                                             15    torts and products liability. In addition, he gained substantial experience on cases
                                                             16    involving insurance bad faith, premises liability, and medical negligence. While
                                                             17    employed by Girardi & Keese, he argued approximately one hundred (100) motions,
                                                             18    took or defended approximately one hundred fifty (150) depositions, and prepared
                                                             19    dozens of expert witnesses for deposition or trial. Since in or around October of
                                                             20    2008, through his work at Lawyers for Justice, PC, he has almost exclusively
                                                             21    focused on the prosecution of consumer and employment class actions, involving
                                                             22    wage-and-hour claims, race discrimination, unfair business practices, or consumer
                                                             23    fraud. While employed by Lawyers for Justice PC, he has argued over one hundred
                                                             24    (100) motions, taken or defended over one hundred fifty (150) depositions, prepared
                                                             25    dozens of expert witnesses for deposition or trial, and attended over one hundred
                                                             26    seventy-five (175) mediations. Together with other attorneys at the firm, and in
                                                             27    many cases in conjunction with co-counsel, he has successfully litigated cases
                                                             28    involving the executive, administrative, and other overtime exemptions to the State
                                                                                                             2
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1    of California and federal overtime compensation requirements.                Under his
                                                              2    supervision, Lawyers for Justice, PC has successfully obtained class certification by
                                                              3    contested motion practice in approximately fifteen (15) cases in the last decade, and
                                                              4    litigated over 1,000 class action or representative action cases.
                                                              5          4.     Arby Aiwazian is a Member and Shareholder of Lawyers for Justice,
                                                              6    PC. He received his Bachelor of Arts degree from University of California, Los
                                                              7    Angeles and graduated magna cum laude. He earned a Juris Doctor degree, cum
                                                              8    laude, from Southwestern Law School. From approximately May 2007 to
                                                              9    approximately July 2007, he served as a Judicial Extern to the Honorable Earl
                                                             10    Johnson, Jr. of the California Court of Appeal for the Second Appellate District.
LAWYERS for JUSTICE, PC




                                                             11    From approximately August 2008 to approximately December 2008 he served as a
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                                                             12    Judicial Extern to the Honorable Kim McLane Wardlaw of the United State Court of
                                                             13    Appeals for the Ninth Circuit. He was admitted to practice law in California in 2010.
                                                             14    He is admitted to practice before all courts of the State of California and all United
                                                             15    States District Courts in the State of California. He has worked on many wage-and-
                                                             16    hour class action and representative action cases, taking the lead in taking and
                                                             17    defending depositions, arguing motions, and attending mediations. He has played an
                                                             18    integral role in preparing matters for class certification, including and not limited to,
                                                             19    successful certification of a class in Upson v. Sur La Table (Los Angeles County
                                                             20    Superior Court Case No. BC424012), Montazemi v. Regus Management (Los
                                                             21    Angeles County Superior Court Case No. BC478769), and Abdulhaqq v. Urban
                                                             22    Outfitters (Alameda County Superior Court Case No. RG13680477). Under his and
                                                             23    Edwin Aiwazian’s supervision, dozens of class action or representative cases have
                                                             24    resulted in settlements that have been granted court approval, including and not
                                                             25    limited to, those listed in paragraph 7 herein. He has worked on over one hundred
                                                             26    (100) class action or representative action cases which have resulted in settlement.
                                                             27    ///
                                                             28    ///
                                                                                                               3
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1          5.     Joanna Ghosh is a Senior Member of Lawyers for Justice, PC. She
                                                              2    received a Bachelor of Arts degree from California State University, Los Angeles in
                                                              3    2006, a Master of Science degree from the London School of Economics in 2007,
                                                              4    and a Juris Doctor degree from Georgetown University Law Center in 2010. She is
                                                              5    admitted to practice in California (since 2010) and in New York (since 2013) and is
                                                              6    also admitted to practice in all U.S. District Courts in California, the U.S.
                                                              7    Bankruptcy Court for the Central District of California, and the U.S. Supreme Court.
                                                              8    She has taken and defended dozens of depositions and successfully handled motion
                                                              9    practice in class action cases regarding discovery (including and not limited to,
                                                             10    regarding class contact information), class certification (both contested class
LAWYERS for JUSTICE, PC




                                                             11    certification and stipulated class certification), arbitration agreements, coordination,
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                                                             12    and intervention.   She has successfully handled briefing and oral argument on
                                                             13    appeal, and obtained notable decisions regarding the Private Attorneys General Act
                                                             14    and employer efforts to compel arbitration, e.g., Roberto Betancourt v. Prudential
                                                             15    Overall Supply (Cal. Ct. App., Mar. 7, 2017) 9 Cal.App.5th 439, cert. denied (Cal.,
                                                             16    May 24, 2017), cert. denied (U.S., Dec. 11, 2017) and ZB, N.A. v. Superior Court
                                                             17    (2019) 8 Cal.5th175. She also has extensive experience with class action and/or
                                                             18    representative action settlements. Under the supervision of Edwin Aiwazian, Arby
                                                             19    Aiwazian, and Joanna Ghosh, the firm has handled the class certification and court
                                                             20    approval process for hundreds of class action and/or representative action matters
                                                             21    that have successfully resolved. She is a member of the California Employment
                                                             22    Lawyers Association.
                                                             23          6.     I am a Member of Lawyers for Justice, PC. I received my Bachelor of
                                                             24    Arts degree from University of California at Berkeley in 2001 and earned my Juris
                                                             25    Doctor degree from Southwestern University School of Law in 2008.                I was
                                                             26    admitted to practice law in California in 2008. I am admitted to practice before all
                                                             27    courts of the State of California. I have worked on many wage-and-hour class action
                                                             28    and PAGA representative cases, and my work has included, inter alia, researching
                                                                                                              4
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1    and drafting pleadings, administrative notice exhaustion, drafting, negotiating, and
                                                              2    finalizing stipulations and settlement agreements, engaging in motion practice,
                                                              3    claims evaluation and analysis, and making court appearances. Prior to working at
                                                              4    Lawyers for Justice, PC, I worked for over a decade providing estate planning and
                                                              5    other legal services to the special needs community, including, inter alia,
                                                              6    representing clients at mediations with school districts and California Regional
                                                              7    Centers.
                                                              8     EXAMPLES OF RESULTS IN WAGE-AND-HOUR CLASS ACTION AND
                                                              9                          REPRESENTATIVE ACTION CASES
                                                             10          7.     What follows are just a few examples of the type of results Lawyers for
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                                                             11    Justice, PC (“LFJ”) has achieved on behalf of its clients:
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                                                             12                 a)    LFJ, in association with co-counsel therein, represented the
                                                             13    plaintiffs in a wage-and-hour class action against a major property management
                                                             14    company involving allegations of misclassification of various “manager” positions.
                                                             15    On September 20, 2010, the court granted final approval of the class action
                                                             16    settlement. The Los Angeles County Superior Court Case Number is BC400414.
                                                             17                 b)    LFJ, in association with co-counsel therein, represented the
                                                             18    plaintiffs in a wage-and-hour class action against a national retailer of household
                                                             19    items involving allegations of misclassification of the “Assistant Store Manager”
                                                             20    position. On October 28, 2010, the court granted final approval of the class action
                                                             21    settlement. The Los Angeles County Superior Court Case Number is BC413498.
                                                             22                 c)    LFJ, in association with co-counsel therein, represented the
                                                             23    plaintiffs in a wage-and-hour class action against a national property management
                                                             24    company involving allegations of misclassification of the “Property Manager”
                                                             25    position. On May 23, 2012, the court granted final approval of the class action
                                                             26    settlement. The Los Angeles County Superior Court Case Number is BC430918.
                                                             27                 d)    LFJ, in association with co-counsel therein, represented the
                                                             28    plaintiffs in a wage-and-hour class action against a national retailer involving
                                                                                                              5
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1    allegations of misclassification of the “Store Manager” position. On June 10, 2011,
                                                              2    the court granted plaintiffs’ motion for class certification. On August 26, 2013, the
                                                              3    court granted final approval of the class action settlement. The Los Angeles County
                                                              4    Superior Court Case Number is BC424012.
                                                              5                 e)    LFJ, in association with co-counsel therein, represented the
                                                              6    plaintiff in a wage-and-hour class and PAGA representative action against a bank,
                                                              7    involving allegations of misclassification of the “Assistant Branch Manager”
                                                              8    position. On August 27, 2013, the court granted final approval of the class and
                                                              9    PAGA representative action settlement. The Kern County Superior Court Case
                                                             10    Number is S-1500-CV-273194-LHB.
LAWYERS for JUSTICE, PC




                                                             11                 f)    LFJ, in association with co-counsel therein, represented the
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                                                             12    plaintiff in a wage-and-hour class and PAGA representative action against a national
                                                             13    wholesale distributor of plumbing and builder supplies, involving allegations of
                                                             14    misclassification of multiple salaried “manager” positions. On May 22, 2014, the
                                                             15    court granted final approval of the class and PAGA representative action settlement.
                                                             16    The Sacramento County Superior Court Case Number is 34-2012-00136285.
                                                             17                 g)    LFJ, in association with co-counsel therein, represented the
                                                             18    plaintiff in a wage-and-hour class action against a multinational corporation that
                                                             19    provides global workplace solutions, involving allegations of misclassification of the
                                                             20    “Operations Manager” position.       On September 16, 2014, the court granted
                                                             21    plaintiff’s motion for class certification. The Los Angeles County Superior Court
                                                             22    Case Number is BC478769.
                                                             23                 h)    LFJ, in association with co-counsel therein, represented the
                                                             24    plaintiff in a wage-and-hour class and PAGA representative action against a national
                                                             25    retailer of household items, on behalf of hourly-paid or non-exempt employees. On
                                                             26    May 27, 2015, the court granted final approval of the class and PAGA representative
                                                             27    action settlement. The San Francisco County Superior Court Case Number is CGC-
                                                             28    13-532344.
                                                                                                             6
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                i)     LFJ, in association with co-counsel therein, represented the
                                                              2    plaintiff in a wage-and-hour class and PAGA action involving allegations of
                                                              3    misclassification of the salaried residential “Property Manager” position.        On
                                                              4    September 17, 2015, the court granted plaintiff’s motion for class certification. On
                                                              5    October 20, 2017, the court granted final approval of the class and PAGA
                                                              6    representative action settlement. The Los Angeles County Superior Court Case
                                                              7    Number is BC474784.
                                                              8                j)     LFJ, in association with co-counsel therein, represented the
                                                              9    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                             10    national retailer of upscale hardware and home furnishings, on behalf of non-exempt
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                                                             11    employees. On April 28, 2016, the court granted final approval of the class and
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                                                             12    PAGA representative action settlement. The Los Angeles County Superior Court
                                                             13    Case Numbers are BC516795 and JCCP4794, and the Judicial Council Coordination
                                                             14    Proceeding Number is 4794.
                                                             15                k)     LFJ, in association with co-counsel therein, represented the
                                                             16    plaintiffs in a wage-and-hour class action against a national retailer of apparel and
                                                             17    fashion accessories, on behalf of non-exempt employees. On August 5, 2016, the
                                                             18    court granted final approval of the class action settlement. The Los Angeles County
                                                             19    Superior Court Case Number is BC488069.
                                                             20                l)     LFJ, in association with co-counsel therein, represented the
                                                             21    plaintiffs in a wage-and-hour class action against a national retailer of apparel,
                                                             22    accessories, and home products, involving allegations of misclassification of the
                                                             23    “Department Manager” position. On August 12, 2016, the court granted the
                                                             24    plaintiffs’ motion for class certification in part and certified a class. On August 6,
                                                             25    2019, the court granted final approval of the class action settlement. The Alameda
                                                             26    County Superior Court Case Number is RG13680477.
                                                             27                m)     LFJ represented the plaintiff in a PAGA representative action
                                                             28    against a real estate and property management company, on behalf of non-exempt
                                                                                                             7
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1    employees. On November 4, 2016, the court granted approval of the PAGA
                                                              2    representative action settlement. The Orange County Superior Court Case Number is
                                                              3    30-2015-00775439-CU-OE-CXC.
                                                              4                n)     LFJ, in association with co-counsel therein, represented the
                                                              5    plaintiffs in a wage-and-hour class and PAGA representative action against a full-
                                                              6    service bank, on behalf of non-exempt employees. On November 18, 2016, the court
                                                              7    granted final approval of the class and PAGA representative action settlement. The
                                                              8    San Francisco County Superior Court Case Number is CJC-13-004839 and the
                                                              9    Judicial Council Coordination Proceeding Number is 4839.
                                                             10                o)     LFJ represented the plaintiffs in a wage-and-hour class and
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                                                             11    PAGA representative action against a foodservice distributor, on behalf of non-
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                              Glendale, California 91203




                                                             12    exempt employees. On January 26, 2017, the court granted final approval of the
                                                             13    class and PAGA representative action settlement. The San Bernardino County
                                                             14    Superior Court Case Number is CIVDS1507260.
                                                             15                p)     LFJ, on behalf of the plaintiff and respondent in a PAGA
                                                             16    representative action, successfully opposed in the trial court, and briefed and argued
                                                             17    an appeal with respect to the employer’s motion to compel arbitration, which
                                                             18    resulted in a published opinion by the California Court of Appeal in favor of
                                                             19    employees. Roberto Betancourt v. Prudential Overall Supply (Cal. App. 4th Dist.,
                                                             20    Mar. 7, 2017) 9 Cal.App.5th 439, review denied, cert. denied (U.S. Supreme Court
                                                             21    Docket No. 17-254). The Riverside County Superior Court Case Numbers are
                                                             22    RIC1503952 and RICJCCP5046, and the Judicial Council Coordination Proceeding
                                                             23    Number is 5046.
                                                             24                q)     LFJ, in association with co-counsel therein, represented the
                                                             25    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                             26    consumer packaging company, on behalf of non-exempt employees. On March 10,
                                                             27    2017, the court granted final approval of the class and PAGA representative action
                                                             28    settlement. The Los Angeles County Superior Court Case Number is BC590429.
                                                                                                             8
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                r)     LFJ, in association with co-counsel therein, represented the
                                                              2    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                              3    manufacturer of food service industry supplies on behalf of non-exempt employees.
                                                              4    On April 14, 2017, the court granted final approval of the class and PAGA
                                                              5    representative action settlement. The Orange County Superior Court Case Number is
                                                              6    30-2015-00810013-CU-OE-CXC.
                                                              7                s)     LFJ in association with co-counsel therein, represented the
                                                              8    plaintiffs in a wage-and-hour class and PAGA representative action against a lumber
                                                              9    and hardware company on behalf of non-exempt employees. On April 26, 2017, the
                                                             10    court granted final approval of the class and PAGA representative action settlement.
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                                                             11    The Orange County Superior Court Case Number is 30-2014-00747750-CU-OE-
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                                                             12    CXC.
                                                             13                t)     LFJ represented the plaintiff in a wage-and-hour class and PAGA
                                                             14    representative action against a property management company, on behalf of non-
                                                             15    exempt employees. On June 14, 2017, the court granted final approval of the class
                                                             16    and PAGA representative action settlement. The Los Angeles County Superior
                                                             17    Court Case Number is BC586234.
                                                             18                u)     LFJ represented the plaintiff in a wage-and-hour class and PAGA
                                                             19    representative action against a food company on behalf of non-exempt employees.
                                                             20    On June 30, 2017, the court granted final approval of the class and PAGA
                                                             21    representative action settlement. The Sacramento County Superior Court Case
                                                             22    Number is 34-2015-00175871.
                                                             23                v)     LFJ represented the plaintiffs in a wage-and-hour class and
                                                             24    PAGA representative action against a chocolate company on behalf of non-exempt
                                                             25    employees. On July 19, 2017, the court granted final approval of the class and
                                                             26    PAGA representative action settlement. The Alameda County Superior Court Case
                                                             27    Number is RG15764300.
                                                             28
                                                                                                            9
                                                                          DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                                FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                w)     LFJ represented the plaintiff in a PAGA representative action,
                                                              2    against the parent company of several restaurants, on behalf of hourly-paid, non-
                                                              3    exempt employees. On October 18, 2017, the court granted approval of the PAGA
                                                              4    representative action settlement. The Los Angeles County Superior Court Case
                                                              5    Number is BC569664.
                                                              6                x)     LFJ represented the plaintiffs in a wage-and-hour class and
                                                              7    PAGA representative action against a manufacturer of plastic containers on behalf of
                                                              8    non-exempt employees. On October 31, 2017, the court granted final approval of the
                                                              9    class and PAGA representative action settlement. The Los Angeles County Superior
                                                             10    Court Case Number is BC577233.
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                                                             11                y)     LFJ, in association with co-counsel therein, represented the
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                              Glendale, California 91203




                                                             12    plaintiffs in a wage-and-hour class and PAGA representative action against a bank
                                                             13    on behalf of non-exempt employees. On December 11, 2017, the court entered an
                                                             14    order granting final approval of the class and PAGA representative action
                                                             15    settlement. The Los Angeles County Superior Court Case Number is BC569646.
                                                             16                z)     LFJ, in association with co-counsel therein, represented the
                                                             17    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                             18    property management company on behalf of hourly-paid and non-exempt
                                                             19    employees. On January 4, 2018, the court entered an order granting final approval of
                                                             20    the class and PAGA representative action settlement. The Los Angeles County
                                                             21    Superior Court Case Number is JCCP4819 and the Judicial Council Coordination
                                                             22    Proceeding Number is 4819.
                                                             23                aa)    LFJ, in association with co-counsel therein, represented the
                                                             24    plaintiffs in a wage-and-hour class and PAGA representative action against a global
                                                             25    provider of flexible office space solutions. On February 15, 2018, the court granted
                                                             26    final approval of the class and PAGA representative action settlement. The Los
                                                             27    Angeles County Superior Court Case Number is BC498401.
                                                             28                bb)    LFJ, in association with co-counsel therein, represents the
                                                                                                            10
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    plaintiff in a wage-and-hour class action against a container manufacturer, on behalf
                                                              2    of non-exempt employees. On October 15, 2018, the court granted the plaintiff’s
                                                              3    motion for class certification. The Tulare County Superior Court Case Number is
                                                              4    VCU264528.
                                                              5                cc)    LFJ represented the plaintiffs in a wage-and-hour class and
                                                              6    PAGA representative action against a behavioral health service provider on behalf of
                                                              7    non-exempt employees. On November 13, 2018, the court granted final approval of
                                                              8    the class and PAGA representative action settlement. The Alameda County Superior
                                                              9    Court Case Number is RG16811450.
                                                             10                dd)    LFJ, in association with co-counsel therein, represented the
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                                                             11    plaintiff in a PAGA representative action against a global provider of products and
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                                                             12    services to the energy industry, on behalf of hourly-paid and non-exempt employees.
                                                             13    On November 19, 2018, the court granted approval of the PAGA representative
                                                             14    action settlement. The Kern County Superior Court Case Number is S-1500-CV-
                                                             15    280215-SDC.
                                                             16                ee)    LFJ, in association with co-counsel therein, represents the
                                                             17    plaintiff in a wage-and-hour class action against a parking company on behalf of
                                                             18    non-exempt employees. On September 3, 2019, the court granted the plaintiff’s
                                                             19    motion for class certification and certified a class. The Santa Clara County Superior
                                                             20    Court Case Number is 16CV292208 and the Judicial Council Coordination
                                                             21    Proceeding Number is 4886.
                                                             22                ff)    LFJ, in association with co-counsel therein, represents the
                                                             23    plaintiffs in a wage-and-hour class and PAGA representative action against a bank
                                                             24    on behalf of non-exempt employees. On September 27, 2019, the court granted the
                                                             25    plaintiffs’ motion for class certification in part and certified a class. The Alameda
                                                             26    County Superior Court Case Number is RG15757606 and the Judicial Council
                                                             27    Coordination Proceeding Number is 4921.
                                                             28
                                                                                                            11
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                 gg)   LFJ, in association with co-counsel therein, represented the
                                                              2    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                              3    national retailer of apparel and fashion accessories, on behalf of non-exempt
                                                              4    employees. On October 9, 2019, the court granted the plaintiffs’ motion for class
                                                              5    certification in part and certified a class. On May 14, 2021, the court granted final
                                                              6    approval of the class and PAGA representative action settlement. The Sacramento
                                                              7    County Superior Court Case Number is 34-2015-00175330-CU-OE-GDS.
                                                              8                 hh)   LFJ, in association with co-counsel therein, represents the
                                                              9    plaintiff in a wage-and-hour class and PAGA representative action against a medical
                                                             10    equipment supplier on behalf of non-exempt employees. On February 13, 2020, the
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                                                             11    court granted the plaintiff’s motion for class certification and certified a class. The
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                                                             12    San Bernardino County Superior Court Case Number is CIVDS1505744.
                                                             13                 ii)   LFJ, in association with co-counsel therein, on behalf of the
                                                             14    plaintiff and respondent in a PAGA representative action, successfully opposed in
                                                             15    the trial court, and briefed and argued an appeal with respect to the employer’s
                                                             16    motion to compel arbitration, resulting in a notable decision from the California
                                                             17    Supreme Court clarifying the law and finding, in part, that employer arbitration
                                                             18    agreements are unenforceable where they block a PAGA claim from proceeding, ZB,
                                                             19    N.A. v. Superior Court (2019) 8 Cal.5th 175. On February 21, 2020, the court
                                                             20    granted approval of the PAGA representative action settlement. The San Diego
                                                             21    County Superior Court Case Number is 34-2015-00175330.
                                                             22                 jj)   LFJ, in association with co-counsel therein, represented the
                                                             23    plaintiff in a wage-and-hour class and PAGA representative action against a large
                                                             24    national drug testing laboratory on behalf of non-exempt employees. On February
                                                             25    21, 2020, the court granted the plaintiff’s motion for class certification and certified
                                                             26    a class. On October 28, 2022, the court granted final approval of the class and
                                                             27    PAGA representative action settlement. The San Diego County Superior Court Case
                                                             28    Number is 37-2018-00019611-CU-OE-CTL.
                                                                                                              12
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
                                                                               FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
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                                                              1                  kk)   LFJ, in association with co-counsel therein, represents the
                                                              2    plaintiffs in a wage-and-hour class and PAGA representative action against a
                                                              3    national retailer of sportswear, footwear, and camping equipment on behalf of non-
                                                              4    exempt employees. On March 16, 2020, the court granted in part the plaintiff’s
                                                              5    motion for class certification and certified a class. The Riverside County Superior
                                                              6    Court Case Numbers are RIC1507504 and RICJCCP4930, and the Judicial Council
                                                              7    Coordination Proceeding Number is 4930.
                                                              8                  ll)   LFJ, in association with co-counsel therein, represented the
                                                              9    plaintiffs in a wage-and-hour class action against manufacturer and supplier of
                                                             10    power products and services on behalf of non-exempt employees. On July 31, 2020,
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                                                             11    the court granted in part the plaintiffs’ motion for class certification and certified a
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                                                             12    class. On August 27, 2021, the court granted final approval of the class action
                                                             13    settlement.    The San Diego County Superior Court Case Number is 37-2015-
                                                             14    00025968-CU-OE-CTL.
                                                             15                  mm) LFJ represents the plaintiff in a wage-and-hour class action
                                                             16    against a nutritional products manufacturer on behalf of non-exempt production line
                                                             17    employees. On December 13, 2021, the court granted the plaintiff’s motion for class
                                                             18    certification in part and certified a class. The Solano County Superior Court Case
                                                             19    Number is FCS051001.
                                                             20        BASIC INFORMATION ABOUT THE CASE AND REACHING THE
                                                             21                                       SETTLEMENT
                                                             22          8.      Marked and attached hereto as “EXHIBIT 1” is the Joint Stipulation of
                                                             23    Class Action and PAGA Settlement and Release (“Settlement,” “Agreement,” or
                                                             24    “Settlement Agreement”) entered into by and between Plaintiff, on the one hand, and
                                                             25    Defendant Nutrien AG Solutions, Inc. (“Defendant Nutrien AG”), on the other hand
                                                             26    (collectively, the “Parties”).   The Parties and their counsel have approved the
                                                             27    proposed Notice of Class Action Settlement (“Class Notice”), which is attached to
                                                             28    the Settlement Agreement as “Exhibit B” and respectfully request that the Court
                                                                                                              13
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    approve it as well.
                                                              2          9.       Based on information provided by Defendants Nutrien, Nutrien AG
                                                              3    Solutions, Inc., Western Farm Services Inc., and Crop Production Services, Inc.
                                                              4    (collectively “Defendants”), the Class is estimated to consist of approximately 2,370
                                                              5    individuals.
                                                              6          10.      The effectiveness of Lawyers for Justice, PC (“Plaintiff’s Counsel” or
                                                              7    “Class Counsel”) in prosecuting this matter has translated into tangible monetary
                                                              8    benefits in the following respects: (1) Class Members, the State of California, and
                                                              9    PAGA Employees recover over a reasonably short period of time as opposed to
                                                             10    waiting additional years for the same, or possibly worse, result; (2) a guaranteed
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                                                             11    result that compares favorably with other complex wage and hour class and/or
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                                                             12    representative action settlements of similar type given the strengths and weaknesses
                                                             13    of the case; and (3) significant savings in attorneys’ fees and/or costs that would
                                                             14    have only increased significantly had the case progressed through certification, trial,
                                                             15    and/or appeals.
                                                             16          11.      Plaintiff’s Counsel has litigated the case for two years and was actively
                                                             17    preparing the matter for class certification and trial. The Parties have engaged in
                                                             18    extensive settlement negotiations and participated in a formal, full-day mediation
                                                             19    conducted by Jeffrey Krivis, Esq., a well-respected mediator experienced in
                                                             20    mediating complex labor and employment matters.              Prior to and during the
                                                             21    mediation and settlement discussions, the Parties exchanged extensive information
                                                             22    and engaged in discussions regarding their evaluations of the case and various
                                                             23    aspects of the case, including but not limited to, the risks and delays of further
                                                             24    litigation, the risks to the Parties of proceeding with class certification and/or
                                                             25    representative adjudication, the law relating to off-the-clock theory, meal and rest
                                                             26    periods, wage-and-hour law and enforcement, and PAGA representative actions, as
                                                             27    well as the evidence produced and analyzed, and the possibility of appeals, among
                                                             28    other things.      During all settlement discussions, the Parties conducted their
                                                                                                               14
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    negotiations at arm’s length in an adversarial position. Arriving at a settlement that
                                                              2    was acceptable to all Parties was not easy.         Defendants and their counsel felt
                                                              3    strongly about their ability to prevail on the merits and at certification, and Plaintiff
                                                              4    and Plaintiff’s Counsel believed that they would be able to obtain class certification
                                                              5    and prevail at trial.    After conducting investigations, informal discovery, and
                                                              6    exchange of information, extensive settlement negotiations, and with the aid of the
                                                              7    mediator’s evaluation, the Parties have agreed that the matter is well-suited for
                                                              8    settlement given the legal issues relating to Plaintiff’s principal claims, as well as the
                                                              9    costs and risks to both sides that would attend further litigation. The Settlement is a
                                                             10    fair, reasonable, and adequate resolution of Plaintiff and the Settlement Class
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                                                             11    Members’ Released Class Claims, with respect to Defendants and the Released
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                                                             12    Parties, for the Class Period, and resolution of Plaintiff and PAGA Employees’
                                                             13    Released PAGA Claims, with respect to Defendants and the Released Parties, for the
                                                             14    PAGA Period.
                                                             15          12.    Prior to reaching the Settlement, Plaintiff’s Counsel investigated the
                                                             16    veracity, strength, and scope of the claims, and was preparing the action for class
                                                             17    certification and trial. Plaintiff’s Counsel conducted significant investigation and
                                                             18    informal discovery regarding the facts of the case, including and not limited to, the
                                                             19    exchange, review, and analysis of a large volume of documents and data obtained
                                                             20    from Defendants, Plaintiff, and other sources. The volume of data and documents
                                                             21    that Plaintiff’s Counsel reviewed and analyzed included and was not limited to:
                                                             22    Plaintiff’s employment records, a detailed sampling of Class Members’ pay and time
                                                             23    data, Crop Production Services, Inc.’s Employee Handbook, Nutrien AG Solutions,
                                                             24    Inc.’s Employee Handbook, Defendants’ operations and employment practices,
                                                             25    procedures, and policies (including, but not limited to, Defendants’ Rest and Meal
                                                             26    Breaks Policy, Waiver of Meal Periods Policy, On-Duty Meal Period Policy, Cell
                                                             27    Phone Reimbursement for Business Use of Personal Cellular Devices Policy,
                                                             28    Employee      Classification    Policy,   and     Time     Card    Reporting     Policy),
                                                                                                               15
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    acknowledgements and agreements (including, but not limited to, Defendants’
                                                              2    Employee Acknowledgement of Receipt of Policy Regarding Meal and Rest
                                                              3    Periods, On-Duty Meal Period Agreement, and On-Duty Meal Period Agreement
                                                              4    Revocation), forms (including, but not limited to, Defendants’ Consent to Waive
                                                              5    Meal Periods), among other information and documents. Counsel for the Parties
                                                              6    also met and conferred on numerous occasions, e.g., to discuss issues relating to the
                                                              7    pleadings, jurisdiction, motion practice, and the production of documents and data
                                                              8    prior to the mediation. Plaintiff’s Counsel also drafted pleadings, motion-related
                                                              9    papers, and the mediation brief and prepared for and attended court proceedings,
                                                             10    mediation, and settlement negotiations, among other tasks.
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                                                             11          13.     Counsel for the Parties have also invested time researching and
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                                                             12    investigating the applicable law, which is constantly evolving as it relates to
                                                             13    certification, off-the-clock theory, meal and rest periods, representative PAGA
                                                             14    claims, and wage-and-hour enforcement, Plaintiff’s claims and damages, and
                                                             15    Defendants’ defenses thereto, as well as facts discovered. Based on Plaintiff’s
                                                             16    Counsel’s analysis, the result achieved in this litigation is fair, adequate, and
                                                             17    reasonable.
                                                             18          14.     The Settlement provides for a Maximum Settlement Amount of Four
                                                             19    Million Five Hundred Thousand Dollars ($4,500,000.00).          The Net Settlement
                                                             20    Amount is the Maximum Settlement Amount less the following amounts subject to
                                                             21    approval by the Court: Attorneys’ Fees and Costs, Enhancement Payment, Settlement
                                                             22    Administration Costs, and the PAGA Amount. Assuming that the amounts allocated
                                                             23    under the Settlement toward these payments are awarded by the Court, the Net
                                                             24    Settlement Amount that will be available for distribution to Settlement Class
                                                             25    Members is currently estimated to be Two Million Eight Hundred Seventy Thousand
                                                             26    and Five Hundred Dollars ($2,870,500.00).        Additionally, 75% of the PAGA
                                                             27    Amount, which is $375,000.00 out of $500,000.00, will be distributed to the Labor
                                                             28    and Workforce Development Agency (“LWDA Payment”) and 25% of the PAGA
                                                                                                            16
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    Amount, which is $125,000.00 out of $500,000.00, will be distributed to the PAGA
                                                              2    Employees (“PAGA Employee Amount”). The Maximum Settlement Amount will
                                                              3    be fully distributed in accordance with the terms of the Settlement and there is no
                                                              4    reversion to Defendants.
                                                              5          15.   The Parties have agreed to retain Phoenix Settlement Administrator
                                                              6    (“Settlement Administrator” or “Phoenix”) to handle the notice and settlement
                                                              7    administration process.    The Parties respectfully request that the Court appoint
                                                              8    Phoenix to handle these procedures and serve as the Settlement Administrator.
                                                              9    Defendant Nutrien AG will provide the Settlement Administrator with a list of Class
                                                             10    Members that Defendants will compile from their records, which will include each
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                                                             11    Class Member’s last-known full name, mailing address, telephone number, Social
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                                                             12    Security number; dates employed as a non-exempt employee of Defendants in
                                                             13    California during the Class Period, and such other information as is necessary for the
                                                             14    Settlement Administrator to calculate Workweeks (collectively referred to as “Class
                                                             15    List”), and the Settlement Administrator will calculate each Class Member’s
                                                             16    estimated pro rata share of the Net Settlement Amount (“Individual Settlement
                                                             17    Share”) and each PAGA Employee’s estimated pro rata share of the PAGA
                                                             18    Employee Amount (“Individual PAGA Payment”).           The Settlement Administrator
                                                             19    will also receive opt-outs, objections, and disputes regarding Workweeks; provide
                                                             20    necessary reports and declarations; calculate, subtract, and transmit necessary taxes
                                                             21    and withholdings; prepare and submit informational and other tax filings and
                                                             22    documents; issue and transmit all payments provided for by the Settlement,
                                                             23    including and not limited to, mailing Individual Settlement Payments to Settlement
                                                             24    Class Members and mailing Individual PAGA Payments to PAGA Employees; and
                                                             25    perform any other usual and customary duties for administering a class action
                                                             26    settlement. Settlement Administration Costs are currently estimated not to exceed
                                                             27    Twenty-Six Thousand Dollars ($26,000.00) and will be paid out of the Maximum
                                                             28    Settlement Amount, subject to approval of the Court.
                                                                                                             17
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1          16.    Based on investigation and information discovered, Plaintiff’s Counsel
                                                              2    believes that there is sufficient evidence to support the allegations made in the
                                                              3    lawsuit, including the allegations that Defendants, with respect to Plaintiff and the
                                                              4    Class Members, inter alia, failed to properly pay overtime and minimum wages,
                                                              5    failed to provide compliant meal and rest periods and to pay associated premium
                                                              6    pay, failed to timely pay wages during employment and upon termination of
                                                              7    employment and associated waiting time penalties, failed to provide compliant wage
                                                              8    statements, and failed to reimburse necessary business expenses, and thereby
                                                              9    engaged in unfair business practices and conduct giving rise to civil penalties
                                                             10    recoverable under the Private Attorneys General Act of 2004 (California Labor Code
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                                                             11    sections 2698, et seq.). Plaintiff also asserted that Class Members were expected to
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                                                             12    perform similar job duties and were subject to the same or similar operations and
                                                             13    employment policies, practices, and procedures. Additionally, Plaintiff asserted that
                                                             14    Defendants’ recordkeeping practices with respect to Plaintiff and Class Members
                                                             15    were substantially the same during the time period at issue. As a result of said
                                                             16    alleged uniform practices, Plaintiff claims that Class Members were not paid all of
                                                             17    the compensation that was owed to them by Defendants.             Thus, in Plaintiff’s
                                                             18    Counsel’s view, it is clear that the outcome of this litigation would be determined by
                                                             19    Defendants’ uniform operations and employment practices, policies, and procedures
                                                             20    that Plaintiff alleges applied across Defendants’ non-exempt employees within the
                                                             21    State of California during the relevant time period.
                                                             22          17.    Plaintiff’s Counsel is aware of the defenses and position of Defendants
                                                             23    but believes that Plaintiff could potentially obtain class certification despite many
                                                             24    obstacles.   Plaintiff and Plaintiff’s Counsel have also taken into account the
                                                             25    uncertainty and risk of the outcome of further litigation, and the difficulties and
                                                             26    delays inherent in such litigation, including those involved in class certification
                                                             27    and/or representative adjudication.      Plaintiff and Plaintiff’s Counsel further
                                                             28    recognize the burdens of proof necessary to establish liability for the claims asserted
                                                                                                             18
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    in the lawsuit, Defendants’ defenses, and the difficulties in establishing entitlement
                                                              2    to monetary recovery. Plaintiff and Plaintiff’s Counsel have also considered the
                                                              3    Parties’ settlement discussions, as well as the evaluations of the mediator, who is
                                                              4    experienced and well-regarded in complex labor and employment matters.
                                                              5          18.    Defendants, on the other hand, denied and continue to deny any liability
                                                              6    and wrongdoing of any kind associated with the allegations in the lawsuit, and
                                                              7    further deny that the lawsuit is appropriate for class treatment or representative
                                                              8    adjudication for any purpose other than the Settlement. Defendants believe that they
                                                              9    would ultimately succeed in the matter. Both sides have also had the opportunity to
                                                             10    investigate and consider the facts and circumstances surrounding Plaintiff’s and
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                                                             11    Class Members’ employment with Defendants, and Defendants’ operations and
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                                                             12    employment policies, practices, and procedures. The Parties also reviewed and
                                                             13    analyzed a volume of documents and data, including but not limited to a detailed
                                                             14    sampling of Class Members’ pay and time data, to determine the potential value and
                                                             15    strength of the claims. The available information enabled Plaintiff’s Counsel to
                                                             16    assess and value the class and PAGA claims and prepare violation, damages, and
                                                             17    penalties analyses and models. Accordingly, the Parties have conducted adequate
                                                             18    investigation and discovery to be sufficiently informed of the nature and extent of
                                                             19    the class and PAGA claims, and to enable both sides to fully evaluate the Settlement
                                                             20    for its fairness, adequacy, and reasonableness. The Settlement takes into account the
                                                             21    strengths and weaknesses of each side’s position and the uncertainty of how the case
                                                             22    might have concluded at certification, trial, and/or appeals.
                                                             23          19.    The Settlement Agreement provides for Plaintiff’s Counsel to apply for
                                                             24    attorneys’ fees in an amount of up to thirty-five percent (35%) of the Maximum
                                                             25    Settlement Amount and expenses and costs in an amount not to exceed Sixteen
                                                             26    Thousand Dollars ($16,000.00), which will be paid out of the Gross Settlement
                                                             27    Amount, subject to approval by the Court.         It should be noted that Plaintiff’s
                                                             28    Counsel has borne all of the risks and costs of litigation and will not receive any
                                                                                                              19
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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                                                              1    compensation until recovery is obtained.
                                                              2          20.    The Settlement Agreement provides for payment of up to Twelve
                                                              3    Thousand Five Hundred Dollars ($12,500.00) to Plaintiff as an Enhancement
                                                              4    Payment, to be paid out of the Maximum Settlement Amount subject to approval by
                                                              5    the Court.    Plaintiff spent considerable time and effort to produce relevant
                                                              6    documents and past employment records and to provide the facts and evidence
                                                              7    necessary to attempt to prove the allegations. Plaintiff was available whenever
                                                              8    Plaintiff’s Counsel needed Plaintiff, and actively tried to obtain information that
                                                              9    would facilitate the pursuit of the class and PAGA claims.          Accordingly, it is
                                                             10    appropriate and just for Plaintiff to receive an Enhancement Payment, in addition to
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                                                             11    his Individual Settlement Payment and Individual PAGA Payment, for services
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                                                             12    performed in the matter on behalf of the Class, State of California, and PAGA
                                                             13    Employees.
                                                             14          21.    Plaintiff’s Counsel submits that the Settlement is fair, reasonable, and
                                                             15    adequate, and is in the best interests of Plaintiff, the Class, State of California, and
                                                             16    PAGA Employees. Plaintiff’s Counsel further submits that the Settlement is within
                                                             17    an acceptable range of recovery for this type of litigation given the strengths and
                                                             18    weaknesses of the case, the inherent costs and risks of further litigation, and the
                                                             19    costs and risks associated with class certification, representative adjudication, trial,
                                                             20    and/or appeals.
                                                             21          I declare under penalty of perjury under the laws of the State of California that
                                                             22    the foregoing is true and correct.
                                                             23          Executed on this 14th day of July 2023, at Los Angeles, California.
                                                             24
                                                                                           ______________________________
                                                                                            /s/ Annabel Blanchard
                                                             25
                                                                                                  Annabel Blanchard
                                                             26
                                                             27

                                                             28
                                                                                                              20
                                                                         DECLARATION OF ANNABEL BLANCHARD IN SUPPORT OF PLAINTIFF’S MOTION
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 1      JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE

 2          This Joint Stipulation of Class Action and PAGA Settlement and Release (“Settlement,”

 3   “Agreement” or “Settlement Agreement”) is made and entered into by and between Plaintiff Bobby

 4   Grayson, III (“Plaintiff” or “Class Representative”), individually, on behalf of all others similarly

 5   situated and on behalf of the State of California with respect to PAGA Employees (as defined herein),

 6   and Defendant Nutrien AG Solutions, Inc. ( “Defendant”) (collectively, Plaintiff and Defendant are

 7   referred to as the “Parties”).

 8          This Joint Stipulation of Class Action and PAGA Settlement and Release shall be binding on

 9   Plaintiff, Settlement Class Members (as defined herein), the State of California with respect to PAGA
10   Employees (as defined herein) and on Defendant, subject to the terms and conditions hereof and the

11   approval of the Court.

12                                                 RECITALS

13          1.      On April 2, 2021, Plaintiff filed a Class Action Complaint for Damages, thereby

14   commencing a putative class action entitled Bobby Grayson, III v. Nutrien, et al. in the Superior Court of

15   California for the County of Tulare, Case No. VCU286503 (“Action”) against Defendants Nutrien,

16   Nutrien AG Solutions, Inc., Western Farm Service, Inc., and Crop Production Services, Inc. (collectively

17   “Defendants”). On March 25, 2021, Plaintiff provided notice by electronic upload to the Labor and

18   Workforce Development Agency and written notice by certified mail to Defendants of the specific

19   provisions of the California Labor Code and Industrial Welfare Commission Wage Order that are alleged

20   to have been violated by Defendants (“Initial PAGA Notice”). On June 1, 2021, Plaintiff filed a First

21   Amended Class Action Complaint for Damages & Enforcement Under the Private Attorneys General Act,

22   California Labor Code § 2698, Et Seq. in the Action. On June 21, 2021, the Action was removed to the

23   United States District Court, Eastern District of California and assigned Case No. 1:21-cv-00986-ADA-

24   BAM. On August 13, 2021, the Court, pursuant to the Parties’ joint stipulation, accepted Plaintiff’s

25   Second Amended Class Action Complaint for Damages & Enforcement Under the Private Attorneys

26   General Act, California Labor Code § 2698, Et Seq. for filing in the Action. On October 25, 2021, Plaintiff
27   filed a Third Amended Class Action Complaint for Damages & Enforcement Under the Private Attorneys

28   General Act, California Labor Code § 2698, Et Seq. in the Action. On June 13, 2023, Plaintiff sent

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 1   additional, follow-up correspondence to the Labor and Workforce Development Agency and Defendants

 2   regarding the specific provisions of the California Labor Code and Industrial Welfare Commission Wage

 3   Orders that are alleged to have been violated by Defendants (“Additional PAGA Notice”). Together, the

 4   Initial PAGA Notice and Additional PAGA Notice are herein referred to as “PAGA Notices”)

 5          2.      Defendants deny all material allegations set forth in the Action and have asserted

 6   numerous affirmative defenses.       Notwithstanding, in the interest of avoiding further litigation,

 7   Defendants desire to fully and finally settle the Action, the Released Class Claims, and the Released

 8   PAGA Claims.

 9          3.      Class Counsel in the Action diligently investigated the claims against Defendants,
10   including any and all applicable defenses and the applicable law. The investigation included, inter alia,

11   the exchange of information, data, and documents, and review of corporate policies and practices.

12          4.      On February 7, 2021, the Parties participated in mediation with Jeffrey Krivis, Esq. (the

13   “Mediator”), a respected mediator of complex wage and hour actions, and with the assistance of the

14   Mediator’s evaluations, the Parties reached the settlement that is memorialized herein. The settlement

15   discussions were conducted at arm’s-length, and the Settlement is the result of an informed and detailed

16   analysis of Defendants’ potential liability and exposure in relation to the costs and risks associated with

17   continued litigation. Based on the documents produced, as well as Class Counsel’s own independent

18   investigation and evaluation, Class Counsel believes that the settlement with Defendants for the

19   consideration and on the terms set forth in this Settlement Agreement is fair, reasonable, and adequate

20   and is in the best interest of the Class Members and the State of California in light of all known facts

21   and circumstances, including the risk of significant delay and uncertainty associated with litigation and

22   various defenses asserted by Defendants.

23          5.      The Parties expressly acknowledge that this Settlement Agreement is entered into solely

24   for the purpose of compromising significantly disputed claims and that nothing herein is an admission

25   of liability or wrongdoing by Defendants. If for any reason the Settlement Agreement is not approved,

26   it will be of no force or effect, and the Plaintiff and Defendants shall be returned to their original
27   respective positions.

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 1                                                 DEFINITIONS

 2          6.       The following definitions are applicable to this Settlement Agreement. Definitions

 3   contained elsewhere in this Settlement Agreement will also be effective:

 4                   a.       “Attorneys’ Fees and Costs” means attorneys’ fees for Class Counsel’s litigation

 5   and resolution of the Action and all actual costs incurred and to be incurred by Class Counsel in the

 6   Action, as set forth in Paragraph 11 below.

 7                   b.       “CAFA Notice” means the notices of the Settlement Agreement to be sent to the

 8   relevant government agencies as required by the Class Action Fairness Act, 28 U.S.C § 1715.

 9                   c.       “Class Counsel” means Arby Aiwazian, Joanna Ghosh, and Annabel Blanchard
10   of Lawyers for Justice, PC, who will seek to be appointed counsel for the Class.

11                   d.       “Class List” means a complete list of all Class Members that Defendant will

12   diligently and in good faith compile from their records and provide to the Settlement Administrator. The

13   Class List will be formatted in a readable Microsoft Office Excel spreadsheet and will include each

14   Class Member’s last-known full name, mailing address, telephone number, Social Security Number,

15   weeks worked as a non-exempt employee of Defendants in California during the Class Period.

16                   e.       “Class Member(s)” or “Class” means all current and former non-exempt

17   employees who worked for any of the Defendants within the State of California at any time during the

18   Class Period.        Defendants represent that the number of Class Members is approximately 2,306

19   individuals, as of February 7, 2023.

20                   f.       “Class Notice” means the Notice of Class Action Settlement, substantially in the

21   form attached as “Exhibit B.”

22                   g.       “Class Period” means the time period from October 6, 2016 through Preliminary

23   Approval or June 7, 2023, whichever is earlier.

24                   h.       “Class Representative” or “Plaintiff” means Bobby Grayson, III.

25                   i.       “Class Settlement” means the settlement and resolution of all Released Class

26   Claims.
27                   j.       “Court” means the United States District Court, Eastern District of California.

28                   k.       “Defendants” means collectively Nutrien, Nutrien AG Solutions, Inc., Western

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 1   Farm Service, Inc., and Crop Production Services, Inc.

 2                  l.     “Defendants’ Counsel” means Christopher W. Decker of Ogletree, Deakins, Nash,

 3   Smoak & Stewart, P.C.

 4                  m.     “Effective Date” means the later of (a) the last day on which any appeal might be

 5   filed with respect to the Final Approval Order and Judgment, assuming no appeal is filed, or (b) the date

 6   of successful resolution of any appeal(s) with respect to Final Approval Order and Judgment – including

 7   expiration of any time to seek reconsideration of further review.

 8                  n.     “Employer Taxes” means the employers’ share of taxes and contributions in

 9   connection with the wages portion of Individual Settlement Shares, which shall be paid by Defendant
10   in addition to the Maximum Settlement Amount.

11                  o.      “Enhancement Payment” means the amount to be paid to Plaintiff in recognition

12   of his effort and work in prosecuting the Action on behalf of the Class Members and State of California

13   with respect to PAGA Employees.

14                  p.     “Final Approval” means the determination by the Court that the Settlement is fair,

15   reasonable, and adequate, and entry of the Final Approval Order and Judgment based thereon.

16                  q.     “Final Approval Hearing” means the hearing at which the Court will consider and

17   determine whether the Settlement should be granted Final Approval.

18                  r.     “Individual PAGA Payment” means the pro rata share of the PAGA Employee

19   Amount that a PAGA Employee may be eligible to receive for the PAGA Settlement, to be calculated

20   in accordance with Paragraph 16.

21                  s.     “Individual Settlement Payment” means the net payment of each Settlement Class

22   Member’s Individual Settlement Share, after reduction for the employee’s share of taxes and

23   withholdings with respect to the wages portion of the Individual Settlement Share, as provided in

24   Paragraph 27 below.

25                  t.     “Individual Settlement Share” means the pro rata share of the Net Settlement

26   Amount that a Class Member may be eligible to receive for the Class Settlement, to be calculated in
27   accordance with Paragraph 15.

28                  u.     “LWDA Payment” means the amount of Three Hundred Seventy-Five Thousand

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 1   Dollars ($375,000.00), i.e., 75% of the PAGA Amount, that the Parties have agreed to pay to the

 2   California Labor and Workforce Development Agency (“LWDA”) for the PAGA Settlement, as set

 3   forth in Paragraph 14.

 4                  v.        “Maximum Settlement Amount” means the amount of Four Million Five Hundred

 5   Thousand Dollars ($4,500,000.00) to be paid by Defendant in full resolution of all Released Claims and

 6   the Action, which includes all Attorneys’ Fees and Costs, Enhancement Payment, PAGA Amount, Net

 7   Settlement Amount to be paid to the Settlement Class Members, and Settlement Administration Costs.

 8   Defendant shall pay the Employer Taxes separately and in addition to the Maximum Settlement Amount.

 9   The Maximum Settlement Amount is subject to increase, as provided in Paragraph 38 below.
10                  w.        “Net Settlement Amount” means the portion of the Maximum Settlement Amount

11   that is available for distribution to Settlement Class Members, which is the Maximum Settlement Amount

12   less the Court-approved Enhancement Payment, Settlement Administration Costs, PAGA Amount, and

13   Attorneys’ Fees and Costs.

14                  x.        “Objection” means a Class Member’s written objection to the Class Settlement,

15   which must: (a) contain the case name and number of the Action; (b) contain the Class Member’s full

16   name, signature, address, telephone number, and last four (4) digits of Social Security Number; (c) contain

17   a written statement of all grounds for the objection accompanied by any legal support for such objection;

18   (d) contain copies of any papers, briefs, or other documents upon which the objection is based; and (e) be

19   submitted by mail to the Settlement Administrator at the specified address, postmarked on or before the

20   Response Deadline.

21                  y.        “PAGA Amount” means the allocation of Five Hundred Thousand Dollars

22   ($500,000.00) from the Maximum Settlement Amount for the settlement and resolution of the Released

23   PAGA Claims. Seventy-five percent (75%) of the PAGA Allocation, or $375,000.00, will be paid to

24   the LWDA (i.e., the LWDA Payment) and the remaining twenty-five percent (25%), or $125,000.00,

25   will be distributed to PAGA Employees (i.e., the PAGA Employee Amount).

26                  z.        “PAGA Employees” means all current and former non-exempt employees who
27   worked for any of the Defendants within the State of California at any time during the PAGA Period.

28                  aa.       “PAGA Employee Amount” means the amount of One Hundred Twenty-Five

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 1   Thousand Dollars ($125,000.00), i.e., 25% of the PAGA Amount, to be distributed to PAGA Employees

 2   on a pro rata basis based on their Workweeks.

 3                  bb.      “PAGA Period” means the time period from September 2, 2019 through

 4   Preliminary Approval or June 7, 2023, whichever is earlier

 5                  cc.      “PAGA Settlement” means the settlement and resolution of Released PAGA

 6   Claims.

 7                  dd.      “Parties” means Plaintiff and Defendant, collectively, and “Party” means either

 8   Plaintiff or Defendant.

 9                  ee.        “Preliminary Approval” means entry of the Court order granting preliminary
10   approval of the Settlement Agreement.

11                        ff. “Released Class Claims” means all causes of action and factual or legal theories

12   that were alleged in the Operative Complaint or reasonably could have been alleged based on the facts

13   and legal theories contained in the Operative Complaint, for violations of the California Labor Code,

14   including inter alia sections 201, 202, 203, 204, 226(a), 226.7, 246, 510, 512(a), 551, 552, 1174(d), 1194,

15   1197, 1197.1, 1198, 2800 and 2802, and Industrial Welfare Commission Wage Orders, including inter

16   alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-2001 and 16-2001, including all of the following

17   claims for relief: (a) failure to pay all and overtime wages due; (b) failure to provide proper meal

18   periods, and to properly provide premium pay in lieu thereof; (c) failure to provide proper rest periods,

19   and to properly provide premium pay in lieu thereof; (d) failure to pay all minimum wages due: (e)

20   failure to pay all wages timely during employment; (f) failure to pay all wages timely at the time of

21   termination; (g) failure to provide complete, accurate or properly formatted wage statements; (h) failure

22   to provide an employee with written notice that sets forth the amount of paid sick leave available or paid

23   time off leave an employer provides in lieu of sick leave; (i) failure to keep complete and accurate payroll

24   records; (j) failure to reimburse business expenses; (k) unfair business practices that could have been

25   premised on the claims, causes of action or legal theories of relief described above or any of the claims,

26   causes of action, or legal theories of relief pleaded in the Operative Complaint; (k) any other claims or
27   penalties under the wage and hour laws pleaded in the Action; and (l) all damages, penalties, interest,

28   and other amounts recoverable under said claims, causes of action or legal theories of relief.

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 1                        gg. “Released PAGA Claims” means all causes of action and factual or legal theories

 2   for civil penalties under the California Labor Code Private Attorneys General Act of 2004 against any

 3   of the Released Parties that were alleged in the Operative Complaint or reasonably could have been

 4   alleged based on the facts and legal theories contained in the PAGA Notices and Operative Complaint

 5   for violations of the California Labor Code, including inter alia sections 201, 202, 203, 204, 226(a), 226.7,

 6   246, 510, 512(a), 551, 552, 1174(d), 1194, 1197, 1197.1, 1198, 2800 and 2802, and Industrial Welfare

 7   Commission Wage Orders, including inter alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-2001

 8   and 16-2001, including all of the following: (a) failure to pay all and overtime wages due; (b) failure to

 9   provide proper meal periods, and to properly provide premium pay in lieu thereof; (c) failure to provide
10   proper rest periods, and to properly provide premium pay in lieu thereof; (d) failure to pay all minimum

11   wages due: (e) failure to pay all wages timely during employment; (f) failure to pay all wages timely at

12   the time of termination; (g) failure to provide complete, accurate or properly formatted wage statements;

13   (h) failure to provide an employee with written notice that sets forth the amount of paid sick leave available

14   or paid time off leave an employer provides in lieu of sick leave; (i) failure to keep complete and accurate

15   payroll records; and (j) failure to reimburse business expenses.

16                        hh. “Released Parties” means Nutrien Ltd., Nutrien Ag Solutions, Inc., Nutrien US

17   LLC, Agrium U.S., Inc., Loveland Products, PCS Administration (USA), Inc. Crop Production Services,

18   Inc., Western Farm Services, Inc., and each of their past, present and/or future, direct and/or indirect,

19   officers, directors, members, managers, employees, agents, representatives, attorneys, insurers, partners,

20   investors, shareholders, administrators, parent companies, subsidiaries, affiliates, divisions,

21   predecessors, successors, assigns, and joint venturers.

22                  ii.      “Request for Exclusion” means a Class Member’s written letter indicating a

23   request to be excluded from the Class Settlement, which must: (a) contain the case name and number of

24   the Action; (b) contain the Class Member’s full name, signature, address, telephone number, and last

25   four (4) digits of Social Security Number; (c) contain a clear written statement indicating that the Class

26   Member seeks exclusion from the Class Settlement; and (d) be submitted by mail to the Settlement
27   Administrator at the specified address, postmarked on or before the Response Deadline.

28                  jj.      “Response Deadline” means the deadline by which Class Members must submit

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 1   a Request for Exclusion, Objection, and/or Workweeks Dispute, which shall be the date that is forty-

 2   five (45) calendar days from the initial mailing of the Class Notice by the Settlement Administrator,

 3   unless the 45th day falls on a Sunday or Federal holiday, in which case the Response Deadline will be

 4   extended to the next day on which the U.S. Postal Service is open. In the event that a Class Notice is

 5   re-mailed to a Class Member, the Response Deadline for that Class Member shall be extended by fifteen

 6   (15) calendar days from the initial Response Deadline.

 7                  kk.    “Settlement Administrator” means Phoenix Settlement Administrator, or any

 8   other third-party class action settlement administrator agreed to by the Parties and approved by the Court

 9   for purposes of administering this Settlement. The Parties and their counsel each represent that they do
10   not have any financial interest in the Settlement Administrator or otherwise have a relationship with the

11   Settlement Administrator that could create a conflict of interest. Defendants and Defendants’ counsel

12   shall not enter into any contractual relationship with the Settlement Administrator.

13                  ll.    “Settlement Administration Costs” means the costs payable from the Maximum

14   Settlement Amount, subject to Court approval, to the Settlement Administrator for administering this

15   Settlement, as set forth in Paragraph 13 below.

16                  mm.    “Settlement Class Members” means all Class Members who do not submit a timely

17   and valid Request for Exclusion.

18                  nn.    “Workweeks” means the number of weeks each Class Member worked for any of

19   the Defendants as a non-exempt employee in California during the Class Period, which will be calculated

20   by Defendants by identifying, for each Class Member, each day during the Class Period he or she

21   recorded time worked, and crediting him/her with one week worked for each calendar week during the

22   Class Period in which he/she recorded any time worked

23                  oo.    “Workweeks Dispute” means a Class Member’s written letter disputing the pre-

24   printed information on the Class Notice as to his or her Workweeks, which must: (a) contain the case

25   name and number of the Action; (b) contain the Class Member’s full name, signature, address, telephone

26   number, and last four (4) digits of Social Security Number; (c) clearly state that the Class Member
27   disputes of the number of Workweeks credited to him or her and what he or she contends is the correct

28   number to be credited to him or her; (d) attach any documentation that he or she has to support the

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 1   dispute; and (e) be submitted by mail to the Settlement Administrator at the specified address,

 2   postmarked on or before the Response Deadline.

 3                                          CLASS CERTIFICATION

 4            7.     For the purposes of this settlement only, the Parties stipulate to the certification of the

 5   Class.

 6            8.     The Parties agree that certification for the purpose of settlement is not an admission that

 7   certification is proper under Rule 23 of the Federal Rules of Civil Procedure. Should, for whatever

 8   reason, the Court not grant Final Approval, the Parties’ stipulation to class certification as part of the

 9   Settlement shall become null and void ab initio and shall have no bearing on, and shall not be admissible
10   in connection with, the issue of whether or not certification would be inappropriate in a non-settlement

11   context.

12                                         TERMS OF AGREEMENT

13            NOW, THEREFORE, in consideration of the mutual covenants, promises, and agreements set

14   forth herein, the Parties agree, subject to the Court’s approval, as follows:

15            9.     Amendment of the Complaint. To implement the terms of the Settlement, Plaintiff, upon

16   being granted leave, will file a Fourth Amended Class Action Complaint for Damages & Enforcement

17   Under the Private Attorneys General Act, California Labor Code § 2698, Et Seq. (“Fourth Amended

18   Complaint” or “Operative Complaint”) in the Action, in substantially the form attached hereto as “Exhibit

19   A,” which inter alia, pleads additional factual allegations and claims, limits the scope of Class Members

20   and PAGA Employees to those covered by the Settlement Agreement, and adds Crop Production Services,

21   Inc. as a named defendant. The Parties will execute and submit a stipulation regarding the filing of the

22   Fourth Amended Complaint with the Court or will seek leave to file the Fourth Amended Complaint by

23   way of the motion for preliminary approval, whichever approach facilitates obtaining preliminary

24   approval the soonest. The Court’s acceptance of the Fourth Amended Complaint is a pre-condition for

25   settlement.

26            10.    Funding and Disbursement of the Maximum Settlement Amount. Within fifteen (15)
27   calendar days after the Effective Date, the Settlement Administrator will provide the Parties with an

28   accounting estimate of the amounts to be paid by Defendant pursuant to the terms of the Settlement and

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 1   establish a qualified settlement account for administration of the Settlement. Within thirty (30) calendar

 2   days after the Effective Date, Defendant will make a one-time deposit of the Maximum Settlement

 3   Amount plus an amount sufficient for Employer’s Taxes into the settlement account to be established by

 4   the Settlement Administrator. Within seven (7) calendar days of the funding of the Maximum Settlement

 5   Amount and an amount sufficient for Employer Taxes, the Settlement Administrator will issue payments

 6   due under the Settlement and approved by the Court, as follows: (a) Individual Settlement Payments to

 7   Settlement Class Members; (b) Individual PAGA Payments to PAGA Employees; (c) LWDA Payment

 8   to the LWDA; (d) Enhancement Payment to Plaintiff; (e) Attorneys’ Fees and Costs to Class Counsel;

 9   and (f) Settlement Administration Costs to itself (the Settlement Administrator). The Settlement
10   Administrator will also undertake filings and remittances in connection with the employee’s share of

11   taxes on the wages portion of Individual Settlement Shares and the Employer Taxes, that are necessary

12   for administration of the Settlement.

13          11.     Attorneys’ Fees and Costs. Class Counsel will request and Defendants will not oppose

14   attorneys’ fees of up to thirty-five percent (35%) of the Maximum Settlement Amount (i.e., up to

15   $1,575,00.00 if the Maximum Settlement Amount is $4,500,000.00) and reimbursement of actual costs

16   and expenses associated with Class Counsel’s litigation and settlement of the Action, supported by

17   declaration, in an amount not to exceed Sixteen Thousand Dollars ($16,000), both of which will be paid

18   from the Maximum Settlement Amount subject to Court approval. These amounts will cover any and

19   all work performed and any and all costs incurred by Class Counsel in connection with the litigation of

20   the Action, including without limitation all work performed and costs incurred to date, and all work to

21   be performed and all costs to be incurred in connection with obtaining the Court’s approval of this

22   Settlement Agreement, including any objections raised and any appeals necessitated by those objections.

23   Class Counsel shall be solely and legally responsible for correctly characterizing this compensation for

24   tax purposes and for paying any taxes on the amounts received. With respect to the Attorneys’ Fees and

25   Costs to Class Counsel, the Settlement Administrator may purchase an annuity to utilize United States

26   Treasuries and bonds or utilize other attorney fee deferral vehicles, for Class Counsel and any additional
27   expenses for doing so shall be paid separately by Class Counsel and shall not be included within the

28   Settlement Administration Costs. Defendants and Defendants’ Counsel shall not be liable for any

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 1   expenses associated with the purchase or use of any attorney fee deferral vehicles for Class Counsel by

 2   the Settlement Administrator. Even in the event that the Court reduces or does not approve the requested

 3   the Attorneys’ Fees and Costs to Class Counsel, neither Plaintiff not Class Counsel shall have the right

 4   to revoke this Agreement, and it will remain binding. Any portion of the Attorneys’ Fees and Costs not

 5   awarded to Class Counsel shall be a part of the Net Settlement Amount for the benefit of Settlement

 6   Class Members.

 7          12.     Enhancement Payment. In recognition of his efforts and work in prosecuting the Action,

 8   Defendants agree not to oppose or impede any application or motion for an Enhancement Payment to

 9   Plaintiff in an amount up to Twelve Thousand Five Hundred Dollars ($12,500.00). The Enhancement
10   Payment, which will be paid from the Maximum Settlement Amount, subject to Court approval, will be

11   in addition to his Individual Settlement Payment and Individual PAGA Payment that is to be paid

12   pursuant to the Settlement. The Settlement Administrator will issue an IRS Form 1099 to Plaintiff for

13   the Enhancement Payment, and Plaintiff shall be solely and legally responsible for correctly

14   characterizing this compensation for tax purposes and for paying any taxes on the amounts received.

15   Should the Court not approve the Enhancement Payment to Plaintiff, or approve it in an amount that is

16   less than that set forth above, Plaintiff shall not have the right to revoke this Agreement, and it will

17   remain binding, and the difference between the amount approved by the Court (if any) and the amount

18   allocated toward the Enhancement Payment will be part of the Net Settlement Amount for the benefit of

19   Settlement Class Members.

20          13.     Settlement Administration Costs. The Settlement Administrator will be paid for the

21   reasonable costs of administration of the Settlement and distribution of payments under the Settlement,

22   which is currently estimated not to exceed Twenty-Six Thousand Dollars ($26,000.00). These costs,

23   which will be paid from the Maximum Settlement Amount, subject to Court approval, will include, inter

24   alia, translating the Class Notice to Spanish, printing, distributing, and tracking Class Notices and other

25   documents for this Settlement, transmitting the CAFA Notice to relevant government agencies,

26   calculating and distributing payments due under the Settlement, issuing of 1099 and W-2 IRS Forms
27   and all required tax reporting, filings, withholdings, and remittances, providing necessary reports and

28   declarations, and other duties and responsibilities set forth herein to process this Settlement, and as

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 1   requested by the Parties. To the extent actual Settlement Administration Costs are greater than the

 2   estimated amount stated herein, such excess amount will be deducted from the Maximum Settlement

 3   Amount, subject to approval by the Court. Any portion of the estimated, designated, and/or awarded

 4   Settlement Administration Costs which are not in fact required to fulfill payment to the Settlement

 5   Administrator to undertake the requirement settlement administration duties will be part of the Net

 6   Settlement Amount for the benefit of Settlement Class Members. Plaintiff, Class Counsel, Defendants,

 7   and Defendants’ Counsel shall not bear any responsibility for errors or omissions in the calculation or

 8   distribution of the Settlement payments or the development of the list of recipients of Settlement

 9   payments.
10          14.     PAGA Amount. Subject to approval by the Court, the Parties agree that the amount of

11   Five Hundred Thousand Dollars ($500,000.00) from the Maximum Settlement Amount will be allocated

12   toward penalties under the Private Attorneys General Act, California Labor Code Section 2698, et seq.

13   (i.e., the PAGA Amount), of which seventy-five percent (75%), or $375,000.00, will be paid to the

14   LWDA (i.e., the LWDA Payment) and twenty-five percent (25%) or, $125,000.00, will be distributed to

15   PAGA Employees (i.e., the PAGA Employee Amount) on a pro rata basis, based on Workweeks during

16   the PAGA Period (i.e., the Individual PAGA Payment).

17          15.     Individual Settlement Share Calculations. Individual Settlement Shares will be calculated

18   and apportioned from the Net Settlement Amount based on the Class Members’ number of Workweeks,

19   as follows:

20                  a.     After Preliminary Approval of the Settlement, the Settlement Administrator will

21   divide the estimated Net Settlement Amount by the Workweeks of all Class Members to yield the

22   “Estimated Workweek Value,” and multiply each Class Member’s individual Workweeks by the

23   Estimated Workweek Value to yield his or her estimated Individual Settlement Share.

24                  b.     After Final Approval of the Settlement, the Settlement Administrator will divide

25   the final Net Settlement Amount by the Workweeks of all Settlement Class Members to yield the “Final

26   Workweek Value,” and multiply each Settlement Class Member’s individual Workweeks by the Final
27   Workweek Value to yield his or her Individual Settlement Share.

28          16.     Individual PAGA Payment Calculations. Individual PAGA Payments will be calculated

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 1   and apportioned from the PAGA Employee Amount based on the PAGA Employees’ number of

 2   Workweeks during the PAGA Period as follows: The Settlement Administrator will divide the PAGA

 3   Employee Amount, i.e., 25% of the PAGA Amount, by the total number of Workweeks of all PAGA

 4   Employees during the PAGA Period to yield the “PAGA Workweek Value,” and multiply each PAGA

 5   Employee’s individual Workweeks during the PAGA Period by the PAGA Workweek Value to yield

 6   his or her Individual PAGA Payment.

 7           17.    Settlement Awards Do Not Trigger Additional Benefits. All payments made under the

 8   Settlement shall be deemed to be paid to the payee solely in the year in which such payments actually

 9   are issued to the payee. It is expressly understood and agreed that payments made under this Settlement
10   shall not in any way entitle Plaintiff, Settlement Class Members, or PAGA Employees to additional

11   compensation or benefits under any new or additional compensation or benefits, or any bonus, contest

12   or other compensation or benefit plan or agreement in place during the Class Period, nor will it entitle

13   Plaintiff, Settlement Class Members, or PAGA Employees to any increased retirement, 401K benefits or

14   matching benefits, or deferred compensation benefits (notwithstanding any contrary language or

15   agreement in any benefit or compensation plan document that might have been in effect during the Class

16   Period).

17           18.    CAFA Notice.

18                  a.     Pursuant to the Class Action Fairness Act of 2005, 28 U.S.C § 1715 (“CAFA”),

19   within ten (10) calendar days after Plaintiff files this Settlement Agreement in the Court, Defendant,

20   either on their own or through the Settlement Administrator, will cause the mailing of the CAFA Notice

21   and exhibits to the relevant government authorities. Defendant shall be responsible for the fees and

22   costs associated with the Settlement Administrator’s mailing of the CAFA Notice and exhibits to the

23   relevant government authorities.

24                  b.     Within ten (10) calendar days after this Settlement Agreement is filed in the

25   Court, Defendants’ Counsel will provide Class Counsel with written confirmation that they completed

26   the mailing of the CAFA Notice and exhibits to the relevant government agencies in conformity with
27   CAFA.

28           19.    Notice of Proposed PAGA Settlement to LWDA.

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 1                    a.     Pursuant to Cal. Labor Code § 2699(l)(2), Class Counsel, either on their own or

 2   through the Settlement Administrator, will submit a copy of this Settlement Agreement to the California

 3   Labor Workforce and Development Agency at the same time that it is submitted to the Court for

 4   preliminary approval. Class Counsel shall be responsible for the fees and costs associated with this

 5   submission.

 6                    b.     Class Counsel will confirm in their declaration in support of the Motion for

 7   Preliminary Approval that this Settlement Agreement has been submitted to the California Labor and

 8   Workforce Development Agency and that the requirements of Cal. Labor Code § 2699(l)(2) have been

 9   satisfied.
10           20.      Delivery of the Class List.   Within twenty-one (21) calendar days of Preliminary

11   Approval, Defendant will provide the Class List to the Settlement Administrator.

12           21.      Notice by First-Class U.S. Mail.

13                    a.     Within fourteen (14) calendar days after receiving the Class List from Defendant,

14   the Settlement Administrator will perform a search based on the National Change of Address Database

15   or any other similar services available, such as provided by Experian, for information to update and

16   correct for any known or identifiable address changes, and will mail a Class Notice in English and

17   Spanish (in the form attached as Exhibit B to this Settlement Agreement) to all Class Members via

18   First-Class U.S. Mail, using the most current, known mailing addresses identified by the Settlement

19   Administrator.

20                    b.     With respect to Class Notices that are returned as undeliverable on or before the

21   Response Deadline, the Settlement Administrator will search for an alternate address by way of skip-

22   trace and re-mail the Class Notice within five (5) calendar days.

23                    c.     Dispute Regarding Workweeks. The Class Notice will include the procedure by

24   which a Class Member may dispute the number of Workweeks allocated to him or her by submitting a

25   timely and valid Workweeks Dispute. The date of the postmark on the return mailing envelope will be

26   the exclusive means to determine whether a dispute has been timely submitted. Absent evidence
27   rebutting the accuracy of Defendants’ records and data as they pertain to the number of Workweeks to

28   be credited to a disputing Class Member, Defendants’ records will be presumed correct and

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 1   determinative of the dispute. However, if a Class Member produces information and/or documents to

 2   the contrary, the Settlement Administrator will evaluate the materials submitted by the Class Member

 3   and the Settlement Administrator will resolve and determine the number of eligible Workweeks that the

 4   disputing Class Member should be credited with under the Settlement. The Settlement Administrator’s

 5   decision on such disputes will be final and non-appealable.

 6          22.     Settlement Checks. The Settlement Administrator will be responsible for undertaking

 7   appropriate deductions, required tax reporting, and issuing the Individual Settlement Payments by way

 8   of check to the Settlement Class Members and the Individual PAGA Payments by way of check to the

 9   PAGA Employees in accordance with this Settlement Agreement. When issuing payments, the
10   Settlement Administrator may combine the Individual Settlement Payment and Individual PAGA Payment

11   into one check if the intended recipient for both payments is one individual. Each Individual Settlement

12   Payment and Individual PAGA Payment check will be valid and negotiable for one hundred and eighty

13   (180) calendar days from the date the checks are issued, and thereafter, shall be cancelled. All funds

14   remaining in the Qualified Settlement Fund in connection with cancelled checks shall be distributed to

15   the Controller of the State of California to be held pursuant to the Unclaimed Property Law, California

16   Civil Code § 1500 et seq., for the benefit of those Settlement Class Members who did not cash, deposit,

17   or otherwise negotiate their checks until such time that they claim their property. The Settling Parties

18   agree that this disposition results in no “unpaid residue” under California Civil Procedure Code § 384,

19   as the entire Net Settlement Amount will be paid out to Settlement Class Members, whether or not they

20   all cash their Settlement Checks. Therefore, Defendants will not be required to pay any interest on said

21   amounts. The Settlement Administrator shall undertake amended and/or supplemental tax filings and

22   reporting, required under applicable local, state, and federal tax laws, that are necessitated due to the

23   cancellation of any Individual Settlement Payment or Individual PAGA Payment checks. Settlement

24   Class Members whose Individual Settlement Payment checks are cancelled, shall, nevertheless, be bound

25   by this Settlement Agreement and the Final Approval Order and Judgment will have claim preclusive

26   impact with respect to them and all Settlement Class Members with respect to the Released Class Claims.
27   The Final Approval Order and Judgment will have claim preclusive impact on the PAGA Employees with

28   respect to the Released PAGA Claims irrespective of whether their Individual PAGA Payment checks are

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 1   cancelled.

 2          23.     Procedures for Requesting Exclusion from the Class Settlement. Any Class Member

 3   wishing to be excluded from the Class Settlement must submit a Request for Exclusion to the Settlement

 4   Administrator, by mail, on or before the Response Deadline. The date of the postmark on the return

 5   mailing envelope will be the exclusive means to determine whether a Request for Exclusion has been

 6   timely submitted. The Settlement Administrator will certify jointly to Class Counsel and Defendants’

 7   Counsel the Requests for Exclusion that were timely submitted, and also identify the individuals who

 8   have submitted a timely and valid Request for Exclusion in a declaration that is to be filed with the

 9   Court in advance of the Final Approval Hearing. Any Class Member who submits a timely and valid
10   Request for Exclusion is prohibited from making any objection to the Class Settlement. Any Class

11   Member who submits a timely and valid Request for Exclusion will not be bound by the Class Settlement

12   and will not be issued an Individual Settlement Payment. All PAGA Employees will be issued an

13   Individual PAGA Payment, irrespective of whether they submit a Request for Exclusion and the Final

14   Approval Order and Judgment will have claim preclusive impact on the PAGA Employees with respect

15   to the Released PAGA Claims.

16          24.     Procedures for Objecting to the Class Settlement. To object to the Class Settlement,

17   Class Members who have not opted out of the Class Settlement (i.e., Settlement Class Members) must

18   submit a timely and complete Objection to the Settlement Administrator, by mail, on or before the

19   Response Deadline. The Objection must be signed by the Settlement Class Member and contain all

20   information required by this Settlement Agreement. The postmark date will be deemed the exclusive

21   means for determining that the Objection is timely. At no time will any of the Parties or their counsel

22   seek to solicit or otherwise encourage Class Members to object to the Settlement Agreement or appeal

23   from the Final Approval Order and Judgment. Settlement Class Members may also present their

24   objection orally at the Final Approval Hearing, irrespective of whether they submit an Objection. The

25   Settlement Administrator will certify jointly to Class Counsel and Defendants’ Counsel the Objections

26   that were timely submitted, and also attach them as exhibits to a declaration that is to be filed with the
27   Court in advance of the Final Approval Hearing.

28          25.     Reports by the Settlement Administrator Regarding Settlement Administration. The

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 1   Settlement Administrator will provide Defendants’ Counsel and Class Counsel a weekly report which

 2   certifies: (a) the number of Class Members who have submitted a Workweeks Dispute; (b) the number

 3   of Class Members who have submitted timely and valid Requests for Exclusion or timely and complete

 4   Objections; and (c) the number of undeliverable and re-mailed Class Notices. Additionally, the

 5   Settlement Administrator will provide to counsel for both Parties any updated reports regarding the

 6   administration of the Settlement Agreement as needed or requested, and immediately notify the Parties

 7   when it receives a request from an individual or any other entity regarding inclusion in the Class and/or

 8   Settlement.

 9          26.     Certification of Completion. Upon completion of administration of the Settlement, the
10   Settlement Administrator will provide a written declaration under oath to certify such completion to the

11   Court and counsel for all Parties.

12          27.     Treatment of Individual Settlement Payments and Individual PAGA Payments. Each

13   Individual Settlement Share will be allocated as follows: twenty percent (20%) wages and eighty percent

14   (80%) penalties, interest, and non-wage damages. The portion allocated to wages will be reported on

15   an IRS Form W-2 and the portions allocated to penalties, interest, and non-wage damages will be

16   reported on an IRS Form-1099 by the Settlement Administrator. The Settlement Administrator will

17   withhold the employee’s share of taxes and withholdings with respect to the wages portion of the

18   Individual Settlement Shares, and issue checks to Settlement Class Members for their Individual

19   Settlement Payments (i.e., payment of their Individual Settlement Share net of these taxes and

20   withholdings). The Employer Taxes will be paid separately and in addition to the Maximum Settlement

21   Amount. Each Individual PAGA Payment will be allocated as one hundred percent (100%) penalties

22   and will be reported on an IRS Form-1099 (if applicable) by the Settlement Administrator.

23          28.     Administration of Taxes by the Settlement Administrator. The Settlement Administrator

24   will be responsible for issuing to Plaintiff, Settlement Class Members, PAGA Employees, and Class

25   Counsel any W-2, 1099, or other tax forms as may be required by law for all amounts paid pursuant to

26   this Settlement Agreement. The Settlement Administrator will also be responsible for forwarding all
27   payroll taxes, contributions, and withholdings to the appropriate government authorities.

28          29.     Tax Liability. Plaintiff, Class Counsel, Defendants, and Defendants’ Counsel do not

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 1   intend anything contained in this Settlement Agreement to constitute advice regarding taxes or

 2   taxability, nor shall anything in this Settlement Agreement be relied on as such. Plaintiff, Settlement

 3   Class Members, and PAGA Employees understand and agree that, except for Defendant’s payment of

 4   Employer Taxes, they will be solely responsible for correctly characterizing any compensation received

 5   under the Settlement on his/her personal income tax returns and paying any and all taxes due for any

 6   and all amounts paid to them under the Settlement.

 7          30.    Circular 230 Disclaimer. EACH PARTY TO THIS SETTLEMENT AGREEMENT (FOR

 8   PURPOSES OF THIS SECTION, THE “ACKNOWLEDGING PARTY” AND EACH PARTY TO THIS

 9   SETTLEMENT AGREEMENT OTHER THAN THE ACKNOWLEDGING PARTY, AN “OTHER
10   PARTY”) ACKNOWLEDGES AND AGREES THAT (1) NO PROVISION OF THIS SETTLEMENT

11   AGREEMENT, AND NO WRITTEN COMMUNICATION OR DISCLOSURE BETWEEN OR

12   AMONG THE PARTIES OR THEIR ATTORNEYS AND OTHER ADVISERS, IS OR WAS

13   INTENDED TO BE, NOR WILL ANY SUCH COMMUNICATION OR DISCLOSURE CONSTITUTE

14   OR BE CONSTRUED OR BE RELIED UPON AS, TAX ADVICE WITHIN THE MEANING OF

15   UNITED STATES TREASURY DEPARTMENT CIRCULAR 230 (31 CFR PART 10, AS

16   AMENDED); (2) THE ACKNOWLEDGING PARTY (A) HAS RELIED EXCLUSIVELY UPON HIS,

17   HER OR ITS OWN, INDEPENDENT LEGAL AND TAX COUNSEL FOR ADVICE (INCLUDING

18   TAX ADVICE) IN CONNECTION WITH THIS SETTLEMENT AGREEMENT, (B) HAS NOT

19   ENTERED INTO THIS SETTLEMENT AGREEMENT BASED UPON THE RECOMMENDATION

20   OF ANY OTHER PARTY OR ANY ATTORNEY OR ADVISOR TO ANY OTHER PARTY, AND

21   (C) IS NOT ENTITLED TO RELY UPON ANY COMMUNICATION OR DISCLOSURE BY ANY

22   ATTORNEY OR ADVISER TO ANY OTHER PARTY TO AVOID ANY TAX PENALTY THAT MAY

23   BE IMPOSED ON THE ACKNOWLEDGING PARTY; AND (3) NO ATTORNEY OR ADVISER TO

24   ANY    OTHER      PARTY     HAS     IMPOSED      ANY     LIMITATION       THAT     PROTECTS       THE

25   CONFIDENTIALITY OF ANY SUCH ATTORNEY’S OR ADVISER’S TAX STRATEGIES

26   (REGARDLESS OF WHETHER SUCH LIMITATION IS LEGALLY BINDING) UPON
27   DISCLOSURE BY THE ACKNOWLEDGING PARTY OF THE TAX TREATMENT OR TAX

28   STRUCTURE OF ANY TRANSACTION, INCLUDING ANY TRANSACTION CONTEMPLATED

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 1   BY THIS SETTLEMENT AGREEMENT.

 2          31.     No Prior Assignments. The Parties and their counsel represent, covenant, and warrant

 3   that they have not directly or indirectly assigned, transferred, encumbered, or purported to assign,

 4   transfer, or encumber to any person or entity any portion of any liability, claim, demand, action, cause

 5   of action or right herein released and discharged.

 6          32.     Release of Claims by Settlement Class Members and the State of California.

 7                  a.     Class Settlement Release. Upon the Effective Date and full funding of the

 8   Maximum Settlement Amount, Plaintiff and all Class Members who do not submit a timely and valid

 9   Request for Exclusion (i.e., Settlement Class Members) will be deemed to have fully, finally, and forever
10   released, settled, compromised, relinquished, and discharged the Released Parties of all Released Class

11   Claims whether known or unknown. However, to be clear, the scope of the release is limited to the

12   Released Class Claims. The period of this release shall extend to the limits of the Class Period. The res

13   judicata effect of the Final Approval Order and Judgment will be the same as that of this release.

14   Defendants shall be entitled to a release of Released Class Claims which occurred during the Class

15   Period only during such time that the Settlement Class Member was classified as non-exempt, and

16   expressly excluding all other claims, including claims for vested benefits, wrongful termination,

17   unemployment insurance, disability, social security, workers’ compensation, claims while classified as

18   exempt, and claims outside of the Class Period. By virtue of this Agreement, Plaintiff and the Settlement

19   Class Members shall be deemed to have, and by operation of the final judgment approved by the Court,

20   shall have, fully, finally, and forever settled and released all of the Released Class Claims. The Parties

21   understand and specifically agree that the scope of the release described in this Paragraph is a material

22   part of the consideration for this Agreement; was critical in justifying the agreed upon economic value of

23   this settlement and without it Defendant would not have agreed to the consideration provided; and is

24   narrowly drafted and necessary to ensure that Defendants are obtaining peace of mind regarding the

25   resolution of claims that were or could have been alleged based on the facts, causes of action, and legal

26   theories contained in the Operative Complaint.
27                  b.     PAGA Settlement Release. Upon the Effective Date and full funding of the

28   Maximum Settlement Amount, Plaintiff and the State of California will be deemed to have fully, finally,

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 1   and forever released, settled, compromised, relinquished, and discharged the Released Parties of all

 2   Released PAGA Claims pertaining to Plaintiff and the PAGA Employees, whether known or unknown.

 3   However, to be clear, the scope of the release is limited to the Released PAGA Claims. The period of

 4   this release shall extend to the limits of the PAGA Period. The res judicata effect of the Final Approval

 5   Order and Judgment will be the same as that of this release of Released PAGA Claims. Defendants

 6   shall be entitled to a release of Released PAGA Claims which occurred during the PAGA Period only

 7   during such time that PAGA Employees were classified as non-exempt, and expressly excluding all

 8   other claims, including claims for vested benefits, wrongful termination, unemployment insurance,

 9   disability, social security, workers’ compensation, claims while classified as exempt, and claims outside
10   of the PAGA Period. By virtue of this Agreement, Plaintiff and the State of California shall be deemed

11   to have, and by operation of the final judgment approved by the Court, shall have, fully, finally, and

12   forever settled and released all of the Released PAGA Claims. The Parties understand and specifically

13   agree that the scope of the release described in this Paragraph is a material part of the consideration for

14   this Agreement; was critical in justifying the agreed upon economic value of this settlement and without

15   it Defendant would not have agreed to the consideration provided; and is narrowly drafted and necessary

16   to ensure that Defendants are obtaining peace of mind regarding the resolution of claims that were or could

17   have been alleged based on the facts, causes of action, and legal theories contained in the Operative

18   Complaint.

19          33.     General Release of Claims by Plaintiff. In addition, upon the Effective Date and full

20   funding of the Maximum Settlement Amount, Plaintiff will be deemed to have fully released and

21   discharged the Released Parties of and from all claims arising from his employment with Defendants,

22   separation of employment from Defendants, and any acts that have or could have been asserted in any

23   legal action or proceeding against Defendants, whether known or unknown, arising under any federal,

24   state, or local law, or statute, including, inter alia, those arising under the California Labor Code, Fair

25   Labor Standards Act, Americans with Disabilities Act, Title VII of the Civil Rights Act of 1964, Employee

26   Retirement Income Security Act, National Labor Relations Act, California Corporations Code, California
27   Business and Professions Code, California Fair Employment and Housing Act, California Constitution

28   (all as amended), and law of contract and tort, as well as for discrimination, harassment, retaliation,

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 1   wrongful termination, lost wages, benefits, other employment compensation, emotional distress, medical

 2   expenses, other economic and non-economic damages, attorney fees, and costs, arising on or before the

 3   date of execution of the Settlement Agreement. With respect to those claims released by Plaintiff in an

 4   individual capacity, Plaintiff acknowledges and waives any and all rights and benefits available under

 5   California Civil Code section 1542, which provides:

 6              A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR
                OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
 7              HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
 8              SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.
 9
     Plaintiff understands and agrees that claims or facts in addition to or different from those which are now
10
     known or believed by him to exist may hereafter be discovered. It is Plaintiff’s intention to settle fully
11
     and release all claims he now has against the Released Parties, whether known or unknown, suspected or
12
     unsuspected, upon the Effective Date and full funding of the Maximum Settlement Amount.
13
     Notwithstanding the above, the general release by Plaintiff shall not extend to claims for workers’
14
     compensation benefits, claims for unemployment benefits, or other claims that may not be released by
15
     law.
16
                34.      Plaintiff represents and warrants that his employment with any of Defendants ended
17
     before November 31, 2019, and that, other than the Action, he has not filed (i) any charge or complaint
18
     against any of Defendants with any administrative or governmental agency 1, or (ii) any lawsuit or legal
19
     action against any of Defendants in any court. Plaintiff understands that this representation is a materi al
20
     element of this Agreement and that, had he not provided this representation, Defendant would have
21
     required additional terms to this Agreement in order to obtain an enforceable waiver of any claims he
22
     might have under the Age Discrimination in Employment Act, as amended by the Older Workers’
23
     Benefit Protection Act of 1990, 29 U.S.C. § 621 et seq.
24
                35.      Duties of the Parties with Respect to Obtaining Preliminary Approval of the Settlement.
25
     Upon execution of this Settlement Agreement, Plaintiff shall promptly obtain a hearing date for
26
     Plaintiff’s motion for preliminary approval of the Settlement, which Plaintiff and Class Counsel will be
27

28   1
         With the exception of the additional follow-up correspondence Plaintiff sent to the LWDA on June 13, 2023

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 1   responsible for drafting, and submit this Settlement Agreement to the Court in support of said motion.

 2   Class Counsel will provide Defendants’ Counsel a draft of the preliminary approval motion for review

 3   and approval at least three (3) court days before filing it with the Court. Defendants agree not to oppose

 4   the motion for preliminary approval of the Settlement consistent with this Settlement Agreement.

 5   Defendants agree to provide Class Counsel a draft of any required declarations in support of Plaintiff’s

 6   motion for preliminary approval at least three (3) court days before Plaintiff’s deadline to file the motion

 7   for preliminary approval. Said motion shall apply to the Court for the entry of an order (“Preliminary

 8   Approval Order”), which shall be mutually agreed upon by the Parties, seeking the following:

 9                  a.      Conditionally certifying the Class for settlement purposes only;
10                  b.      Granting Preliminary Approval of the Settlement;

11                  c.      Preliminarily appointing Plaintiff as representative of the Class;

12                  d.      Preliminarily appointing Class Counsel as counsel for the Class;

13                  e.      Approving, as to form and content, the mutually-agreed upon and proposed Class

14   Notice and directing its mailing to the Class by First-Class U.S. Mail;

15                  f.      Approving the manner and method for Class Members to request exclusion from

16   or object to the Class Settlement as contained herein and within the Class Notice; and

17                  g.      Scheduling a Final Approval Hearing at which the Court will determine whether

18   the Settlement should be finally approved as fair, reasonable and adequate as to the Settlement Class

19   Members and PAGA Employees.

20          36.     Duties of the Parties with Respect to Obtaining Final Approval of the Settlement. After

21   the Response Deadline, and with the Court’s permission, a Final Approval Hearing will be conducted to

22   determine whether Final Approval of the Settlement should be granted, along with the amounts properly

23   payable for (a) Individual Settlement Payments; (b) Individual PAGA Payments; (c) LWDA Payment;

24   (d) Attorneys’ Fees and Costs; (e) Enhancement Payment; and (f) Settlement Administration Costs. The

25   Final Approval Hearing will not be held earlier than thirty (30) calendar days after the Response

26   Deadline. Plaintiff and Class Counsel will be responsible for drafting the motion seeking Final Approval
27   of the Settlement. Class Counsel will provide Defendants’ Counsel a draft of the final approval motion

28   for review and approval at least three (3) court days before filing it with the Court. By way of said

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 1   motion, Plaintiff will apply for the entry of the mutually-agreed-upon proposed order and judgment

 2   (“Final Approval Order and Judgment”), which will provide for, in substantial part, the following:

 3                  a.      Approval of the Settlement as fair, reasonable, and adequate, and directing

 4   consummation of its terms and provisions;

 5                  b.      Certification of the Settlement Class;

 6                  c.      Approval of the application for Attorneys’ Fees and Costs to Class Counsel;

 7                  d.      Approval of the application for Enhancement Payment to Plaintiff;

 8                  e.      Directing Defendant to fund all amounts due under the Settlement Agreement and

 9   ordered by the Court; and
10                  f.      Entering judgment in this Action, while maintaining continuing jurisdiction to

11   implement the Settlement, in conformity with the Settlement Agreement.

12          37.     Termination or Revocation of Settlement.

13                  a.      If ten percent (10%) or more of the Class Members submit timely and valid

14   Requests for Exclusion, Defendant may elect to rescind the Settlement Agreement by way of writing that

15   is provided to Class Counsel within ten (10) calendar days after the Settlement Administrator notifies the

16   Parties of the total number of timely and valid Requests for Exclusion received by the Response Deadline.

17   If Defendant exercises this option, Defendant shall pay any costs of settlement administration incurred by

18   the Settlement Administrator up until the date that Defendant gives notice to the Settlement Administrator

19   that it is exercising its right to rescind the Settlement pursuant to this Paragraph.

20                  b.      If the Court fails or refuses to issue the Final Approval Order and Judgment or fails

21   to approve any material condition of this Settlement Agreement which effects a fundamental change of

22   the Settlement Agreement (unless explicitly excepted herein), by way of writing that is provided to the

23   other Party within ten (10) calendar days thereof, the entire Settlement Agreement shall be rendered

24   voidable and unenforceable as to all Parties herein at the option of either Party.

25          38.     Effects of Termination of the Settlement. Termination of the Settlement Agreement shall

26   have the following effects:
27                  a.      The Settlement Agreement shall be void and shall have no force or effect, and no

28   Party shall be bound by any of its terms;

                                                    23
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 1                  b.      In the event the Settlement Agreement is terminated, Defendants shall have no

 2   obligation to make any payments to any Party, Class Member, or attorney, except that the terminating

 3   Party shall pay the Settlement Administrator for services rendered up to the date the Settlement

 4   Administrator is notified that the Settlement has been terminated;

 5                  c.      The Preliminary Approval Order, Final Approval Order and Judgment, including

 6   any order certifying the Class, shall be vacated;

 7                  d.      The Settlement Agreement and all negotiations, statements and proceedings

 8   relating thereto shall be without prejudice to the rights of any of the Parties or Defendants, all of whom

 9   shall be restored to their respective positions in the Action prior to the execution of the Settlement
10   Agreement;

11                  e.      Neither this Settlement Agreement, nor any ancillary documents, actions,

12   statements or filings in furtherance of the Settlement (including all matters associated with the mediation)

13   shall be admissible or offered into evidence in the Action or any other action for any purpose whatsoever;

14   and

15                  f.      Any documents generated to bring the Settlement into effect, will be null and

16   void, and any order or judgment entered by the Court in furtherance of this Settlement Agreement will

17   likewise be treated as void from the beginning.

18                  g.      If the Settlement is voided or fails for any reason other than revocation by

19   Defendants, pursuant to Paragraph 36(a), above, any costs incurred by the Settlement Administrator

20   shall be borne equally by the Parties.

21          39.     Escalator Clause. Defendant represents that, during the period from October 6, 2016

22   through February 7, 2023, the Class Members worked, collectively, approximately 266,068 Workweeks.

23   If it is determined that the total number of Workweeks during the period from October 6, 2016 through

24   February 7, 2023 exceed 266,068 by more than five percent (5%) (i.e. exceeds 279,371), then, the

25   Maximum Settlement Amount will be increased by 1% for every 1% increase in workweeks over the

26   5% threshold (e.g., if the threshold of 279,371 Workweeks is exceeded by 1%, the Maximum Settlement
27   Amount will increase by 1%).

28          40.     Continued Jurisdiction. After entry of judgment pursuant to the Settlement, the Court

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 1   will have continuing jurisdiction, for purposes of addressing: (a) the interpretation and enforcement of

 2   the terms of the Settlement, (b) settlement administration matters, and (c) such post-judgment matters

 3   as may be appropriate under court rules or as set forth in this Settlement Agreement.

 4          41.      Exhibits Incorporated by Reference. The terms of this Settlement Agreement include the

 5   terms set forth in any attached exhibits, which are incorporated by this reference as though fully set

 6   forth herein. Any exhibits to this Settlement Agreement are an integral part of the Settlement.

 7                42. Limitation on Publicity. Plaintiff and Class Counsel agree not to disclose or publicize

 8   the Settlement, including the fact of the Settlement, its terms or contents, and the negotiations underlying

 9   the Settlement, in any manner or form, directly or indirectly, to any person or entity, except potential
10   class members and as shall be contractually required to effectuate the terms of the Settlement. For the

11   avoidance of doubt, this Paragraph means Plaintiff and Class Counsel agree not to issue press releases,

12   communicate with, or respond to any media or publication entities, publish information in manner or

13   form, whether printed or electronic, on any medium or otherwise communicate, whether by print, video,

14   recording or any other medium, with any person or entity concerning the Settlement, including the fact

15   of the Settlement, its terms or contents and the negotiations underlying the Settlement, except as shall

16   be contractually required to effectuate the terms of the Settlement. However, for the limited purpose of

17   allowing Class Counsel to prove adequacy as class counsel in other actions, Class Counsel may disclose

18   the name of the Parties and Defendants in the Action and the venue/case number of the Action (but not

19   any other settlement details) for such purposes. Furthermore, Plaintiff and Class Counsel will undertake

20   any and all disclosures and submissions required to be made to the LWDA in conformity with PAGA.

21          43.      Entire Agreement. This Settlement Agreement and any attached exhibits constitute the

22   entirety of the Parties’ settlement terms. No other prior or contemporaneous written or oral agreements

23   may be deemed binding on the Parties. The Parties expressly recognize California Civil Code section

24   1625 and California Code of Civil Procedure section 1856(a), and any other provisions of state or federal

25   law, which provide that a written agreement is to be construed according to its terms and may not be

26   varied or contradicted by extrinsic evidence, and the Parties agree that no such extrinsic oral or written
27   representations or terms will modify, vary or contradict the terms of this Settlement Agreement. This

28   Settlement Agreement contains the entire agreement between the Parties relating to the settlement and

                                                     25
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 1   transaction contemplated hereby, and all prior or contemporaneous agreements, understandings,

 2   representations, and statements, whether oral or written and whether by a Party or such Party’s legal

 3   counsel, are merged herein.

 4          44.     Interim Stay of Proceedings. The Parties agree to hold in abeyance all proceedings in the

 5   Action (including, and not limited to, the deadline to bring the Action to trial under California Code of

 6   Civil Procedure section 583.310), except such proceedings necessary to implement and complete the

 7   Settlement Agreement, pending the Final Approval Hearing to be conducted by the Court.

 8          45.     Amendment. Prior to the filing of the motion for preliminary approval of the Settlement,

 9   the Parties may not amend or modify any provision of this Settlement Agreement except by written
10   agreement signed by counsel for all Parties. After the filing of the motion for preliminary approval of

11   the Settlement, the Parties may not amend or modify any provision of this Settlement Agreement except

12   by written agreement signed by counsel for all of the Parties and subject to Court approval. A waiver

13   or amendment of any provision of this Settlement Agreement will not constitute a waiver of any other

14   provision. Material terms of this agreement may only we waived subject to Court approval.

15          46.     Authorization to Enter into Settlement Agreement. Counsel for all Parties warrant and

16   represent they are expressly authorized by the Parties whom they represent to negotiate this Settlement

17   Agreement and to take all appropriate actions required or permitted to be taken by such Parties pursuant

18   to this Settlement Agreement to effectuate its terms and to execute any other documents required to

19   effectuate the terms of this Settlement Agreement. The Parties warrant that they understand and have

20   full authority to enter into this Settlement Agreement, and further intend that this Settlement Agreement

21   will be fully enforceable and binding on all Parties, and agree that it will be admissible and subject to

22   disclosure in any proceeding to enforce its terms, notwithstanding any mediation confidentiality

23   provisions that otherwise might apply under state or federal law.

24          47.     Signatories. It is agreed that because the members of the Class are so numerous, it is

25   impossible or impractical to have each Class Member execute this Settlement Agreement. The Class

26   Notice will advise all Class Members of the binding nature of the Class Settlement as to the Settlement
27   Class Members, and the release shall have the same force and effect as if this Settlement Agreement

28   were executed by each Settlement Class Member.

                                                   26
                  JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
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 1          48.     Binding on Successors and Assigns. This Settlement Agreement will be binding upon,

 2   and inure to the benefit of, the successors or assigns of the Parties hereto, as previously defined.

 3          49.     California Law Governs. All terms of this Settlement Agreement and attached exhibits

 4   hereto will be governed by and interpreted according to the laws of the State of California.

 5          50.     Execution and Counterparts. This Settlement Agreement is subject only to the execution

 6   of all Parties. However, the Settlement Agreement may be executed in one or more counterparts. All

 7   executed counterparts and each of them, including facsimile, electronic, and scanned copies of the

 8   signature page, will be deemed to be one and the same instrument.

 9          51.     Acknowledgment that the Settlement is Fair and Reasonable. The Parties believe this
10   Settlement Agreement is a fair, adequate, and reasonable settlement of the Action, Released Class

11   Claims, and Released PAGA Claims, and have arrived at this Settlement after arm’s-length negotiations

12   and in the context of adversarial litigation, taking into account all relevant factors, present and potential.

13   The Parties further acknowledge that they are each represented by competent counsel and that they have

14   had an opportunity to consult with their counsel regarding the fairness and reasonableness of this

15   Settlement Agreement. In addition, if necessary to obtain approval of the Settlement, the Mediator may

16   execute a declaration supporting the Settlement and the reasonableness of the Settlement and the Court

17   may, in its discretion, contact the Mediator to discuss the Settlement and whether or not the Settlement

18   is objectively fair and reasonable.

19          52.     Invalidity of Any Provision.        Before declaring any provision of this Settlement

20   Agreement invalid, the Court will first attempt to construe the provision as valid to the fullest extent

21   possible consistent with applicable precedents so as to find all provisions of this Settlement Agreement

22   valid and enforceable.

23          53.     Plaintiff’s Cooperation. Plaintiff agrees to sign this Settlement Agreement and, by

24   signing this Settlement Agreement, is hereby bound by the terms herein and agrees to fully cooperate to

25   implement the Settlement.

26          54.     Non-Admission of Liability. The Parties enter into this Settlement Agreement to resolve
27   the dispute that has arisen between them and to avoid the burden, expense and risk of continued

28   litigation. In entering into this Settlement Agreement, Defendants do not admit, and specifically deny,

                                                    27
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 1   that they have violated any state, federal, or local law; violated any regulations or guidelines

 2   promulgated pursuant to any statute or any other applicable laws, regulations or legal requirements;

 3   breached any contract; violated or breached any duty; engaged in any misrepresentation or deception;

 4   or engaged in any other unlawful conduct with respect to its employees. Neither this Settlement

 5   Agreement, nor any of its terms or provisions, nor any of the negotiations connected with it, shall be

 6   construed as an admission or concession by Defendants of any such violations or failures to comply with

 7   any applicable law. Except as necessary in a proceeding to enforce the terms of this Settlement

 8   Agreement, this Settlement Agreement and its terms and provisions shall not be offered as evidence in

 9   any action or proceeding to establish any liability or admission on the part of Defendants or to establish
10   the existence of any condition constituting a violation of, or a non-compliance with state, federal, local

11   or other applicable law.

12           55.    Captions. The captions and paragraph numbers in this Settlement Agreement are inserted

13   for the reader’s convenience, and in no way define, limit, construe or describe the scope or intent of the

14   provisions of this Settlement Agreement.

15           56.    Mutual Preparation. The Parties have had a full opportunity to negotiate the terms and

16   conditions of this Settlement Agreement. Accordingly, this Settlement Agreement will not be construed

17   more strictly against one Party than another merely by virtue of the fact that it may have been prepared

18   by counsel for one of the Parties, it being recognized that, because of the arms-length negotiations

19   between the Parties, all Parties have contributed equally to the preparation of this Settlement Agreement.

20           57.    Representation by Counsel. The Parties acknowledge that they have been represented by

21   counsel throughout all negotiations that preceded the execution of this Settlement Agreement, and that

22   this Settlement Agreement has been executed with the consent and advice of counsel, and reviewed in

23   full.

24           58.    All Terms Subject to Final Court Approval. All amounts and procedures described in

25   this Settlement Agreement herein will be subject to final Court approval.

26
27

28

                                                    28
                   JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
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 1          59.     Notices. All notices, demands, and other communications to be provided concerning this

 2   Settlement Agreement shall be in writing and delivered by overnight mail at the addresses set for below,

 3   or such other addresses as either Party may designate in writing from time to time:

 4            To Plaintiff and Class Counsel:              To Defendant:

 5            Arby Aiwazian, Esq.                          Christopher W. Decker
              Joanna Ghosh, Esq.                           OGLETREE, DEAKINS, NASH, SMOAK &
 6            Annabel Blanchard, Esq.                      STEWART, P.C.
              LAWYERS for JUSTICE, PC                      400 South Hope Street, Suite 1200
 7            410 West Arden Avenue, Suite 203             Los Angeles, California 90071
              Glendale, California 91203
 8

 9          60.     Final Approval Order and Judgment. The Parties shall provide the Settlement
10   Administrator with a copy of the Final Approval Order and Judgment once it is entered by the Court,
11   and the Settlement Administrator shall post the Final Approval Order and Judgment on its website for
12   sixty (60) calendar days. No individualized notice of the Final Approval Order and Judgment to the
13   Class will be required.
14          61.     Cooperation and Execution of Necessary Documents. All Parties and their counsel will
15   cooperate with each other in good faith and use their best efforts to implement the Settlement, including
16   and not limited to, executing all documents to the extent reasonably necessary to effectuate the terms of
17   this Settlement Agreement. If the Parties are unable to reach agreement on the form or content of any
18   document needed to implement the Settlement Agreement, or on any supplemental provisions that may
19   become necessary to effectuate the terms of this Settlement Agreement, the Parties may seek the
20   assistance of the Mediator and then the Court to resolve such disagreement.
21          62.     No Unalleged Claims. Plaintiff and Class Counsel represent that they, as of the date of
22   execution of this Settlement, are not currently aware of any: (a) unalleged claims in addition to, or different
23   from, those which are finally and forever settled and released against the Released Parties by this
24   Settlement; and (b) unalleged facts or legal theories upon which any claims or causes of action could be
25   brought against Defendants, except such facts and theories specifically alleged in the Operative Complaint
26   in the Action. Plaintiff and Class Counsel further represent that, other than the Action, they have no
27   current intention of asserting any other claims against Defendants in any judicial or administrative forum,
28

                                                    29
                   JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
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 1   and that they do not currently know of or represent any persons who have expressed any interest in

 2   pursuing litigation or seeking any recovery against Defendants. The Parties acknowledge, understand,

 3   and agree that the representations described in this Paragraph are essential to the Agreement and that this

 4   Agreement would not have been entered into were it not for these representations.

 5          IN WITNESS WHEREOF, the Parties hereto knowingly and voluntarily executed this Joint

 6   Stipulation of Class and PAGA Settlement and Release between Plaintiff and Defendants:

 7   IT IS SO AGREED.

 8                                                PLAINTIFF BOBBY GRAYSON, III

 9   Dated: _______________, 2023
10                                                Bobby Grayson, Plaintiff

11

12                                                DEFENDANT NUTRIEN AG SOLUTIONS, INC.
13          07/13/2023
     Dated: _______________, 2023
14
                                                               Anne Folk
                                                  Full Name: ___________________________
15
                                                          VP, HR, Nutrien Ag Solutions
                                                  Title: _______________________________
16                                                On behalf of Nutrien AG Solutions, Inc.
17
     APPROVED AS TO FORM
18
                                                  LAWYERS for JUSTICE, PC
19
                  July 14 2023
     Dated: _______________,
20
                                                  Arby Aiwazian
21                                                Joanna Ghosh
                                                  Annabel Blanchard
22                                                Attorneys for Plaintiff Bobby Grayson, III and Proposed
                                                  Class Counsel
23

24                                                OGLETREE, DEAKINS,                 NASH,      SMOAK        &
                                                  STEWART, P.C.
25

26            July 13, 2023
     Dated: _______________, 2023
27                                                Christopher W. Decker
                                                  Attorneys for Defendant Nutrien Ag Solutions, Inc.
28

                                                   30
                  JOINT STIPULATION OF CLASS ACTION AND PAGA SETTLEMENT AND RELEASE
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                                                                                                         EXHIBIT A
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                                                                        1 Arby Aiwazian (Cal. State Bar No. 269827)

                                                                        2          arby@calljustice.com
                                                                            Joanna Ghosh (Cal. State Bar No. 272479)
                                                                        3          joanna@calljustice.com
                                                                            Annabel Blanchard (Cal. State Bar No. 258135)
                                                                        4          annabel@calljustice.com
                                                                            LAWYERS for JUSTICE, PC
                                                                        5   410 West Arden Avenue, Suite 203
                                                                            Glendale, California 91203
                                                                        6   Tel: (818) 265-1020 / Fax: (818) 265-1021
                                                                        7 Attorneys for Plaintiff

                                                                        8

                                                                        9
                                                                                                  UNITED STATES DISTRICT COURT
                                                                       10
                                                                                                EASTERN DISTRICT OF CALIFORNIA
                                                                       11
                                                                          BOBBY GRAYSON, III,                           Case No.: 1:21-cv-00986-ADA-BAM
LAWYERS for JUSTICE, PC




                                                                       12 individually, and on behalf of other
                          410 West Arden Avenue, Suite 203




                                                                          members of the general public                 Honorable Barbara A. McAuliffe
                              Glendale, California 91203




                                                                       13 similarly situated and on behalf of
                                                                          other aggrieved employees pursuant            FOURTH AMENDED CLASS
                                                                       14 to the California Private Attorneys           ACTION COMPLAINT FOR
                                                                          General Act;                                  DAMAGES & ENFORCEMENT
                                                                       15                                               UNDER THE PRIVATE
                                                                                         Plaintiff,                     ATTORNEYS GENERAL ACT,
                                                                       16                                               CALIFORNIA LABOR CODE § 2698,
                                                                                  vs.                                   ET SEQ.
                                                                       17
                                                                          NUTRIEN, a Colorado corporation;              (1) Violation of California Labor Code
                                                                       18 NUTRIEN AG SOLUTIONS, INC.,                       §§ 510 and 1198 (Unpaid Overtime);
                                                                          an unknown business entity;                   (2) Violation of California Labor Code
                                                                       19 WESTERN FARM SERVICE, INC.,                       §§ 226.7 and 512(a) (Unpaid Meal
                                                                          an unknown business entity; CROP                  Period Premiums);
                                                                       20 PRODUCTION SERVICES, INC.;                    (3) Violation of California Labor Code §
                                                                          and DOES 2 through 100, inclusive,                226.7 (Unpaid Rest Period
                                                                       21                                                   Premiums);
                                                                                         Defendants.                    (4) Violation of California Labor Code
                                                                       22                                                   §§ 1194, 1197, and 1197.1 (Unpaid
                                                                                                                            Minimum Wages);
                                                                       23                                               (5) Violation of California Labor Code
                                                                                                                            §§ 201 and 202 (Final Wages Not
                                                                       24                                                   Timely Paid);
                                                                                                                        (6) Violation of California Labor
                                                                       25                                                   Code § 204 (Wages Not Timely
                                                                                                                            Paid During Employment);
                                                                       26                                               (7) Violation of California Labor Code §
                                                                                                                            226(a) (Non-Compliant Wage
                                                             lawyers




                                                                       27                                                   Statements);
                                                                                                                        (8) Violation of California Labor Code
                                                                       28                                                   §§ 2800 and 2802 (Unreimbursed
                                                                                                                            Business Expenses);
                                                                                                                        (9) Violation of California Business &

                                                                            FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                                     GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                                                                                  Professions Code §§ 17200, et seq.
                                                              1                                               (10) Violation of California Labor Code
                                                                                                                  § 2698, et seq. (California Labor
                                                              2                                                   Code Private Attorneys General Act
                                                                                                                  of 2004)
                                                              3
                                                                                                               DEMAND FOR JURY TRIAL
                                                              4

                                                              5         COMES NOW, Plaintiff BOBBY GRAYSON, III (“Plaintiff”), individually,
                                                              6 and on behalf of other members of the general public similarly situated and on

                                                              7 behalf of other aggrieved employees pursuant to the California Private Attorneys

                                                              8 General Act (“PAGA”), and alleges as follows:

                                                              9                             JURISDICTION AND VENUE
                                                             10         1.     This class action was originally brought in the Superior Court for the
                                                             11 County of Tulare pursuant to the California Code of Civil Procedure section 382.
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                                                             12 The monetary damages and restitution sought by Plaintiff exceeds the minimal
                              Glendale, California 91203




                                                             13 jurisdiction limits of the Superior Court and will be established according to proof

                                                             14 at trial.

                                                             15         2.     The Superior Court for the County of Tulare has jurisdiction over this
                                                             16 action pursuant to the California Constitution, Article VI, Section 10, which grants

                                                             17 the superior court “original jurisdiction in all other causes” except those given by

                                                             18 statute to other courts. The statutes under which this action is brought do not

                                                             19 specify any other basis for jurisdiction.
                                                             20         3.     On June 21, 2021, Defendant Nutrien Ag Solutions, Inc. removed this
                                                             21 action to this court pursuant to 28 U.S.C. §§ 1332, 1441(a), 1456 and 1453, alleging

                                                             22 that federal subject matter jurisdiction exists because (i) Plaintiff and Defendant

                                                             23 Nutrien Ag Solutions, Inc. are citizens of different states, (ii) there are at least 100

                                                             24 class members in all proposed plaintiff classes, and (iii) the combined claims of all

                                                             25 class members exceed $5,000,000, exclusive of interests and costs.

                                                             26         4.     The Superior Court for the County of Tulare and the Eastern District
                                                             27 of California have jurisdiction over Defendants because, upon information and

                                                             28 belief, Defendants are citizens of California, have sufficient minimum contacts in

                                                                                                               2
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 California, or otherwise intentionally avail themselves of the California market so

                                                              2 as to render the exercise of jurisdiction over them by California courts consistent

                                                              3 with traditional notions of fair play and substantial justice.

                                                              4         5.     Venue is proper in the Superior Court for the County of Tulare and in
                                                              5 the Eastern District of California because, upon information and belief, Defendants

                                                              6 maintain offices, have agents, employ individuals, and/or transact business in the

                                                              7 State of California, County of Tulare. The majority of acts and omissions alleged

                                                              8 herein relating to Plaintiff and the other class members took place in the State of

                                                              9 California, including the County of Tulare.

                                                             10                                          PARTIES
                                                             11         6.     Plaintiff BOBBY GRAYSON, III is an individual residing in the State
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                                                             12 of California.
                              Glendale, California 91203




                                                             13         7.     Defendant NUTRIEN, at all times herein mentioned, was and is, upon
                                                             14 information and belief, a Colorado corporation and, at all times herein mentioned,

                                                             15 an employer whose employees are engaged throughout the State of California,

                                                             16 including the County of Tulare.

                                                             17         8.     Defendant NUTRIEN AG SOLUTIONS, INC., at all times herein
                                                             18 mentioned, was and is, upon information and belief, an employer whose employees

                                                             19 are engaged throughout the State of California, including the County of Tulare.
                                                             20         9.     Defendant WESTERN FARM SERVICE, INC., at all times herein
                                                             21 mentioned, was and is, upon information and belief, an employer whose employees

                                                             22 are engaged throughout the State of California, including the County of Tulare.

                                                             23         10.    Defendant CROP PRODUCTION SERVICES, INC., at all time herein
                                                             24 mentioned, was and is, upon information and belief, an employer whose employees

                                                             25 are engaged throughout the State of California, including the County of Tulare.

                                                             26         11.    At all relevant times, Defendants NUTRIEN, NUTRIEN AG
                                                             27 SOLUTIONS,          INC.,    WESTERN         FARM      SERVICE,       INC.,    and    CROP
                                                             28 PRODUCTION SERVICES, INC. were the “employer” of Plaintiff within the

                                                                                                               3
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 meaning of all applicable California laws and statutes.

                                                              2         12.    At all times herein relevant, Defendants NUTRIEN, NUTRIEN AG
                                                              3 SOLUTIONS, INC., WESTERN FARM SERVICE, CROP PRODUCTION

                                                              4 SERVICES, INC., and DOES 2 through 100, and each of them, were the agents,

                                                              5 partners, joint venturers, joint employers, representatives, servants, employees,

                                                              6 successors-in-interest, co-conspirators and/or assigns, each of the other, and at all

                                                              7 times relevant hereto were acting within the course and scope of their authority as

                                                              8 such agents, partners, joint venturers, joint employers, representatives, servants,

                                                              9 employees, successors, co-conspirators and/or assigns, and all acts or omissions

                                                             10 alleged herein were duly committed with the ratification, knowledge, permission,

                                                             11 encouragement, authorization and/or consent of each defendant designated as a
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                                                             12 DOE herein.
                              Glendale, California 91203




                                                             13         13.    The true names and capacities, whether corporate, associate,
                                                             14 individual or otherwise, of defendants DOES 2 through 100, inclusive, are

                                                             15 unknown to Plaintiff who sue said defendants by such fictitious names. Plaintiff

                                                             16 is informed and believes, and based on that information and belief alleges, that

                                                             17 each of the defendants designated as a DOE is legally responsible for the events

                                                             18 and happenings referred to in this Complaint, and unlawfully caused the injuries

                                                             19 and damages to Plaintiff and the other class members as alleged in this Complaint.
                                                             20 Plaintiff will seek leave of court to amend this Complaint to show the true names

                                                             21 and capacities when the same have been ascertained.

                                                             22         14.    Defendant      NUTRIEN,        NUTRIEN        AG     SOLUTIONS,         INC.,
                                                             23 WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES, INC., and

                                                             24 DOES 2 through 100 will hereinafter collectively be referred to as “Defendants.”

                                                             25 ///

                                                             26         15.    Plaintiff further alleges that Defendants directly or indirectly
                                                             27 controlled or affected the working conditions, wages, working hours, and

                                                             28 conditions of employment of Plaintiff and the other class members so as to make

                                                                                                               4
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 each of said Defendants employers liable under the statutory provisions set forth

                                                              2 herein.

                                                              3                           CLASS ACTION ALLEGATIONS
                                                              4         16.    Plaintiff bring this action on his own behalf and on behalf of all other
                                                              5 members of the general public similarly situated, and, thus, seeks class certification

                                                              6 under California Code of Civil Procedure section 382.

                                                              7         17.    The proposed class is defined as follows:
                                                              8                All current and former non-exempt employees who worked for any of
                                                              9                the Defendants NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             10                WESTERN FARM SERVICE, INC., and CROP PRODUCTION
                                                             11                SERVICES, INC or a predecessor entity within the State of California
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                                                             12                at any time during the period from October 6, 2016 through the date
                              Glendale, California 91203




                                                             13                of entry of the Court order granting preliminary approval of the
                                                             14                Settlement Agreement or June 7, 2023, whichever is earlier.
                                                             15         18.    Plaintiff reserves the right to amend the class definition and/or
                                                             16 establish subclasses as appropriate.

                                                             17         19.    The class is ascertainable and there is a well-defined community of
                                                             18 interest in the litigation:

                                                             19                a.     Numerosity: The class members are so numerous that joinder of
                                                             20                       all class members is impracticable. The membership of the
                                                             21                       entire class is unknown to Plaintiff at this time; however, the
                                                             22                       class is estimated to be greater than fifty (50) individuals and
                                                             23                       the identity of such membership is readily ascertainable by
                                                             24                       inspection of Defendants’ employment records.
                                                             25 ///

                                                             26                b.     Typicality: Plaintiff’s claims are typical of all other class
                                                             27                       members’ as demonstrated herein.           Plaintiff will fairly and
                                                             28                       adequately protect the interests of the other class members with
                                                                                                               5
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1                       whom he has a well-defined community of interest.
                                                              2 ///

                                                              3 ///

                                                              4                c.     Adequacy: Plaintiff will fairly and adequately protect the
                                                              5                       interests of each class member, with whom he has a well-
                                                              6                       defined community of interest and typicality of claims, as
                                                              7                       demonstrated herein.          Plaintiff has no interest that is
                                                              8                       antagonistic to the other class members. Plaintiff’s attorneys,
                                                              9                       the proposed class counsel, are versed in the rules governing
                                                             10                       class action discovery, certification, and settlement. Plaintiff
                                                             11                       has incurred, and during the pendency of this action will
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                                                             12                       continue to incur, costs and attorneys’ fees, that have been, are,
                              Glendale, California 91203




                                                             13                       and will be necessarily expended for the prosecution of this
                                                             14                       action for the substantial benefit of each class member.
                                                             15                d.     Superiority: A class action is superior to other available
                                                             16                       methods for the fair and efficient adjudication of this litigation
                                                             17                       because individual joinder of all class members is impractical.
                                                             18                e.     Public Policy Considerations: Certification of this lawsuit as a
                                                             19                       class action will advance public policy objectives. Employers
                                                             20                       of this great state violate employment and labor laws every day.
                                                             21                       Current employees are often afraid to assert their rights out of
                                                             22                       fear of direct or indirect retaliation. However, class actions
                                                             23                       provide the class members who are not named in the complaint
                                                             24                       anonymity that allows for the vindication of their rights.
                                                             25          20.   There are common questions of law and fact as to the class members
                                                             26 that predominate over questions affecting only individual members. The following
                                                             27 common questions of law or fact, among others, exist as to the members of the

                                                             28 class:

                                                                                                               6
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                                                              1                a.     Whether Defendants’ failure to pay wages, without abatement
                                                              2                       or reduction, in accordance with the California Labor Code, was
                                                              3                       willful;
                                                              4                b.     Whether Defendants had a corporate policy and practice of
                                                              5                       failing to pay their hourly-paid or non-exempt employees within
                                                              6                       the State of California for all hours worked and missed (short,
                                                              7                       late, interrupted, and/or missed altogether) meal periods and
                                                              8                       rest breaks in violation of California law;
                                                              9                c.     Whether Defendants required Plaintiff and the other class
                                                             10                       members to work over eight (8) hours per day, over forty (40)
                                                             11                       hours per week, and/or over six (6) consecutive days in a week,
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                                                             12                       and failed to pay the legally required overtime compensation to
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                                                             13                       Plaintiff and the other class members;
                                                             14                d.     Whether Defendants failed use the non-discretionary shift
                                                             15                       differential/bonus/performance/incentive compensation and/or
                                                             16                       other non-hourly compensation, such as auto allowances and
                                                             17                       taxable fringe benefits, to calculate the regular rate of pay used
                                                             18                       to calculate the overtime rate for the payment of overtime wages
                                                             19                       where Plaintiff and the other class members earned non-
                                                             20                       discretionary shift differential/bonus/performance/incentive
                                                             21                       compensation and/or other non-hourly compensation, such as
                                                             22                       auto allowances and taxable fringe benefits, and overtime wages
                                                             23                       in the same workweek.
                                                             24                e.     Whether Defendants deprived Plaintiff and the other class
                                                             25                       members of meal and/or rest periods or required Plaintiff and
                                                             26                       the other class members to work during meal and/or rest periods
                                                             27                       without compensation;
                                                             28                f.     Whether Defendants failed to pay premium wages for failure to
                                                                                                               7
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1                       provide meal periods and/or rest breaks at the regular rate of pay
                                                              2                       by      failing    to        use    the     non-discretionary     shift
                                                              3                       differential/bonus/performance/incentive compensation and/or
                                                              4                       other non-hourly compensation, such as auto allowances and
                                                              5                       taxable fringe benefits, to calculate the regular rate of pay rate
                                                              6                       for the payment of such premium wages where Plaintiff and the
                                                              7                       other     class   members          earned   non-discretionary     shift
                                                              8                       differential/bonus/performance/incentive compensation and/or
                                                              9                       other non-hourly compensation, such as auto allowances and
                                                             10                       taxable fringe benefits, in the same workweek that they earned
                                                             11                       such premium wages.
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                                                             12                g.     Whether Defendants failed to pay minimum wages to Plaintiff
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                                                             13                       and the other class members for all hours worked;
                                                             14                h.     Whether Defendants failed to pay all wages due to Plaintiff and
                                                             15                       the other class members within the required time upon their
                                                             16                       discharge or resignation;
                                                             17                i.     Whether Defendants failed to timely pay all wages due to
                                                             18                       Plaintiff and the other class members during their employment;
                                                             19                j.     Whether Defendants complied with wage reporting as required
                                                             20                       by the California Labor Code; including, inter alia, sections 226
                                                             21                       and 246;
                                                             22                k.     Whether Defendants failed to pay reporting time pay to Plaintiff
                                                             23                       and the other class members;
                                                             24                l.     Whether Defendants failed to provide a day of rest to Plaintiff
                                                             25                       and the other class members;
                                                             26                m.     Whether Defendants failed to provide notice to Plaintiff and the
                                                             27                       other class members as required by California Labor Code
                                                             28                       section 2810.5
                                                                                                               8
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1                n.     Whether Defendants failed to reimburse Plaintiff and the other
                                                              2                       class members for necessary business-related expenses and
                                                              3                       costs;
                                                              4                o.     Whether Defendants’ conduct was willful or reckless;
                                                              5                p.     Whether Defendants engaged in unfair business practices in
                                                              6                       violation of California Business & Professions Code section
                                                              7                       17200, et seq.;
                                                              8                q.     The appropriate amount of damages, restitution, and/or
                                                              9                       monetary penalties resulting from Defendants’ violation of
                                                             10                       California law; and
                                                             11                r.     Whether Plaintiff and the other class members are entitled to
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                                                             12                       compensatory damages pursuant to the California Labor Code.
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                                                             13                                  PAGA ALLEGATIONS
                                                             14         21.    At all times herein set forth, PAGA was applicable to Plaintiff’s
                                                             15 employment by Defendants.

                                                             16         22.    At all times herein set forth, PAGA provides that any provision of law
                                                             17 under the California Labor Code that provides for a civil penalty, including unpaid

                                                             18 wages and premium wages, to be assessed and collected by the LWDA for

                                                             19 violations of the California Labor Code may, as an alternative, be recovered
                                                             20 through a civil action brought by an aggrieved employee on behalf of himself and

                                                             21 other current or former employees pursuant to procedures outlined in California

                                                             22 Labor Code section 2699.3.

                                                             23         23.    Pursuant to PAGA, a civil action under PAGA may be brought by an
                                                             24 “aggrieved employee,” who is any person that was employed by the alleged

                                                             25 violator and against whom one or more of the alleged violations was committed.

                                                             26         24.    Plaintiff was employed by Defendants and the alleged violations were
                                                             27 committed against him during his time of employment and he is, therefore, an

                                                             28 aggrieved employee. Plaintiff and all current and former non-exempt employees

                                                                                                               9
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                                                              1 who worked for any of the Defendants NUTRIEN, NUTRIEN AG SOLUTIONS,

                                                              2 INC.,     WESTERN FARM SERVICE, INC., and CROP PRODUCTION
                                                              3 SERVICES, INC or a predecessor entity within the State of California at any time

                                                              4 during the period from September 2, 2019 through the date of entry of the Court

                                                              5 order granting preliminary approval of the Settlement Agreement or June 7, 2023,

                                                              6 whichever is earlier, are “aggrieved employees” as defined by California Labor

                                                              7 Code section 2699(c) in that they are current or former employees of Defendants,

                                                              8 and one or more of the alleged violations were committed against them.

                                                              9         25.    Pursuant to California Labor Code sections 2699.3 and 2699.5, an
                                                             10 aggrieved employee, including Plaintiff, may pursue a civil action arising under

                                                             11 PAGA after the following requirements have been met:
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                                                             12                a.     The aggrieved employee shall give written notice by online
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                                                             13                       submission (hereinafter “Employee's Notice”) to the LWDA
                                                             14                       and by certified mail to the employer of the specific provisions
                                                             15                       of the California Labor Code alleged to have been violated,
                                                             16                       including the facts and theories to support the alleged
                                                             17                       violations.
                                                             18                b.     The LWDA shall provide notice (hereinafter “LWDA Notice”)
                                                             19                       to the employer and the aggrieved employee by certified mail
                                                             20                       that it does not intend to investigate the alleged violation within
                                                             21                       sixty (60) calendar days of the postmark date of the Employee’s
                                                             22                       Notice. Upon receipt of the LWDA Notice, or if the LWDA
                                                             23                       Notice is not provided within sixty-five (65) calendar days of
                                                             24                       the postmark date of the Employee’s Notice, the aggrieved
                                                             25                       employee may commence a civil action pursuant to California
                                                             26                       Labor Code section 2699 to recover civil penalties in addition
                                                             27                       to any other penalties to which the employee may be entitled.
                                                             28         26.    On March 25, 2021, Plaintiff provided written notice by online
                                                                                                              10
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 submission to the LWDA and by certified mail to Defendant NUTRIEN,

                                                              2 NUTRIEN AG SOLUTIONS, INC., and WESTERN FARM SERVICE, INC. of

                                                              3 the specific provisions of the California Labor Code alleged to have been violated,

                                                              4 including the facts and theories to support the alleged violations. Plaintiff did not

                                                              5 receive an LWDA Notice within sixty-five (65) days of the date of the submission

                                                              6 of Plaintiff’s Notice.

                                                              7         27.    On June 13, 2023, Plaintiff provided an amended written notice by
                                                              8 online submission to the LWDA and by certified mail to Defendant NUTRIEN,

                                                              9 NUTRIEN AG SOLUTIONS, INC., WESTERN FARM SERVICE, INC., and

                                                             10 CROP PRODUCTION SERVICES, INC. of the specific provisions of the

                                                             11 California Labor Code alleged to have been violated, including the facts and
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                                                             12 theories to support the alleged violations.
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                                                             13         28.    Therefore, the administrative prerequisites under California Labor
                                                             14 Code section 2699.3(a) to recover civil penalties against Defendants, in addition to

                                                             15 other remedies, for violations of California Labor Code, inter alia, sections 201,

                                                             16 202, 203, 204, 226(a), 226.7, 246, 510, 512(a), 551, 551, 1174(d), 1194, 1197,

                                                             17 1197.1, 1198, 2800, 2802, and 2810.5, and Industrial Welfare Commission Wage

                                                             18 Orders, including, inter alia, 1-2001, 7-2001, 8-2001, 13-2001, 14-2001, and 16-

                                                             19 2001 have been satisfied.
                                                             20                               GENERAL ALLEGATIONS
                                                             21         29.    At all relevant times set forth herein, Defendants employed Plaintiff
                                                             22 and other persons as hourly-paid or non-exempt employees within the State of

                                                             23 California, including the County of Tulare.

                                                             24         30.    Defendants, jointly and severally, employed Plaintiff as an hourly-
                                                             25 paid, non-exempt Delivery Driver, based out of a facility in Cutler, from

                                                             26 approximately July 1, 2019 to approximately November 15, 2019, in the State of
                                                             27 California, County of Tulare. Plaintiff’s rate of pay was $15.00 per hour

                                                             28         31.    Defendants hired Plaintiff and the other class members and aggrieved
                                                                                                              11
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                                                              1 employees, classified them as hourly-paid or non-exempt employees, and failed to

                                                              2 compensate them for all hours worked and missed meal periods and/or rest breaks.

                                                              3         32.    Defendants had the authority to hire and terminate Plaintiff and the
                                                              4 other class members, to set work rules and conditions governing Plaintiff’s and the

                                                              5 other class members’ and aggrieved employees’ employment, and to supervise

                                                              6 their daily employment activities.

                                                              7         33.    Defendants exercised sufficient authority over the terms and
                                                              8 conditions of Plaintiff’s and the other class members’ and aggrieved employees’

                                                              9 employment for them to be joint employers of Plaintiff and the other class

                                                             10 members.

                                                             11         34.    Defendants directly hired and paid wages and benefits to Plaintiff and
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                                                             12 the other class members and aggrieved employees.
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                                                             13         35.    Defendants continue to employ hourly-paid or non-exempt employees
                                                             14 within the State of California.

                                                             15         36.    Plaintiff and the other class members and aggrieved employees
                                                             16 worked over eight (8) hours in a day, forty (40) hours in a week, and/or over six

                                                             17 (6) consecutive days in a week during their employment with Defendants.

                                                             18         37.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             19 Defendants engaged in a pattern and practice of wage abuse against their hourly-
                                                             20 paid or non-exempt employees within the State of California. This pattern and

                                                             21 practice involved, inter alia, failing to pay them for all minimum, regular,

                                                             22 overtime, and reporting time wages earned and for missed, short, late, and/or

                                                             23 interrupted meal periods and rest breaks in violation of California law.

                                                             24         38.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             25 Defendants knew or should have known that Plaintiff and the other class members

                                                             26 and aggrieved employees were entitled to receive certain wages for overtime
                                                             27 compensation and that they were not receiving accurate overtime compensation for

                                                             28 all overtime hours worked.         Defendants’ failure includes, inter alia, failing to
                                                                                                              12
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                                                              1 compensate Plaintiff and the other class members and aggrieved employees for job

                                                              2 duties performed before and/or after their scheduled shifts, and/or during unpaid

                                                              3 meal periods, such as completing deliveries, communicating and coordinating

                                                              4 deliveries with customers, and providing supervisors with updates regarding the

                                                              5 status of deliveries.

                                                              6         39.    Plaintiff is informed and believes, and based thereon alleges, that
                                                              7 Defendants knew or should have known that Plaintiff and the other class members

                                                              8 and aggrieved employees were entitled to pay equal to half the usual or scheduled

                                                              9 day’s work in an amount no less than two (2) hours nor more than four (4) hours

                                                             10 at the employee’s regular rate of pay for each workday in which Plaintiff and the

                                                             11 other class members and aggrieved employees were required to report to work and
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                                                             12 were furnished less than half the usual or scheduled day’s work.
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                                                             13         40.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             14 Defendants knew or should have known that Plaintiff and the other class members

                                                             15 and aggrieved employees were entitled to pay equal to no less than two (2) hours

                                                             16 at Plaintiff’s and the other class members’ and aggrieved employees’ regular rate

                                                             17 of pay for each day in which Plaintiff and the other class members and aggrieved

                                                             18 employees were required to report for work a second time in one workday and were

                                                             19 furnished less than two hours of work on the second reporting.
                                                             20         41.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             21 Defendants          failed       to       use        the      non-discretionary         shift
                                                             22 differential/bonus/performance/incentive compensation and/or other non-hourly

                                                             23 compensation, such as auto allowances and taxable fringe benefits, to calculate the

                                                             24 regular rate of pay used to calculate the overtime rate for the payment of overtime

                                                             25 wages where Plaintiff and the other class members and aggrieved employees earned

                                                             26 non-discretionary shift differential/bonus/performance/incentive compensation
                                                             27 and/or other non-hourly compensation, such as auto allowances and taxable fringe

                                                             28 benefits, and overtime wages in the same workweek.

                                                                                                                13
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                                                              1          42.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              2 Defendants failed to provide Plaintiff and the other class members and aggrieved

                                                              3 employees all required rest and meal periods during the relevant time period as

                                                              4 required under the Industrial Welfare Commission Wage Orders and thus they are

                                                              5 entitled to any and all applicable premium wages and penalties.

                                                              6          43.   Plaintiff is informed and believes, and based thereon alleges, that
                                                              7 Defendants failed to relieve Plaintiff and other class members and aggrieved

                                                              8 employees of all duties, failed to relinquish control over Plaintiff and the other

                                                              9 class members’ and aggrieved employees’ activities, failed to permit Plaintiff and

                                                             10 other class members and aggrieved employees’ a reasonable opportunity to take,

                                                             11 and impeded or discouraged them from taking, thirty (30) minute uninterrupted
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                                                             12 meal breaks no later than the end of their fifth hour of work for shifts lasting at
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                                                             13 least six (6) hours, and/or to take second thirty (30) minute uninterrupted meal

                                                             14 breaks no later than their tenth hour of work for shifts lasting more than ten (10)

                                                             15 hours.

                                                             16          44.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             17 Defendants knew or should have known that Plaintiff and the other class members

                                                             18 and aggrieved employees were entitled to receive all meal periods or payment of

                                                             19 one additional hour of pay at Plaintiff’s and the other class members’ and aggrieved
                                                             20 employees’ regular rate of pay when a meal period was missed, short, late, and/or

                                                             21 interrupted, and they did not receive all meal periods or payment of one additional

                                                             22 hour of pay at Plaintiff’s and the other class members’ and aggrieved employees’

                                                             23 regular rate of pay when a meal period was missed, short, late, and/or interrupted.

                                                             24          45.   Plaintiff is informed and believes, and based thereon alleges, that
                                                             25 Defendants failed to provide, authorize, and permit Plaintiff and other class

                                                             26 members and aggrieved employees to take full, uninterrupted, off-duty rest periods
                                                             27 for every shift lasting three and one-half (3.5) to six (6) hours and/or two full,

                                                             28 uninterrupted, off-duty rest periods for every shift lasting six (6) to ten (10) hours

                                                                                                              14
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 and/or three full, uninterrupted, off-duty rest periods for every shift lasting ten (10)

                                                              2 hour to fourteen (14) hours, and failed to make a good faith effort to authorize,

                                                              3 permit, and provide such rest breaks in the middle of each work period.

                                                              4         46.    Plaintiff is informed and believes, and based thereon alleges, that
                                                              5 Defendants knew or should have known that Plaintiff and the other class members

                                                              6 and aggrieved employees were entitled to receive all rest periods or payment of

                                                              7 one additional hour of pay at Plaintiff’s and the other class members’ and aggrieved

                                                              8 employees’ regular rate of pay when a rest period was missed, short, late, and/or

                                                              9 interrupted and they did not receive all rest periods or payment of one additional

                                                             10 hour of pay at Plaintiff’s and the other class members’ and aggrieved employees’

                                                             11 regular rate of pay when a rest period was missed, short, late, and/or interrupted.
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                                                             12         47.    Plaintiff is informed and believes, and based thereon alleges, that, in
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                                                             13 those instances where Defendants did pay one additional hour of pay for a missed,

                                                             14 short, late, and/or interrupted meal period, that Defendants failed to use the regular

                                                             15 rate      of    pay     by     failing     to        use   the   non-discretionary      shift
                                                             16 differential/bonus/performance/incentive compensation and/or other non-hourly

                                                             17 compensation, such as auto allowances and taxable fringe benefits, to calculate the

                                                             18 regular rate of pay rate for the payment of such premium wages where Plaintiff and

                                                             19 the other class members and aggrieved employees earned non-discretionary shift
                                                             20 differential/bonus/performance/incentive compensation and/or other non-hourly

                                                             21 compensation, such as auto allowances and taxable fringe benefits, in the same

                                                             22 workweek that they earned such premium wages.

                                                             23         48.    Plaintiff is informed and believes, and based thereon alleges, that, in
                                                             24 those instances where Defendants did pay one additional hour of pay for a missed,

                                                             25 short, late, and/or interrupted rest break, that Defendants failed to use the regular

                                                             26 rate      of    pay     by     failing     to        use   the   non-discretionary      shift
                                                             27 differential/bonus/performance/incentive compensation and/or other non-hourly

                                                             28 compensation, such as auto allowances and taxable fringe benefits, to calculate the

                                                                                                                15
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 regular rate of pay rate for the payment of such premium wages where Plaintiff and

                                                              2 the other class members and aggrieved employees earned non-discretionary shift

                                                              3 differential/bonus/performance/incentive compensation and/or other non-hourly

                                                              4 compensation, such as auto allowances and taxable fringe benefits, in the same

                                                              5 workweek that they earned such premium wages.

                                                              6         49.    Defendants knew or should have known that Plaintiff and the other
                                                              7 class members and aggrieved employees’ were entitled to receive at least minimum

                                                              8 wages for compensation and that they were not receiving at least minimum wages

                                                              9 for all hours worked. Defendants’ failure to pay minimum wages included, inter

                                                             10 alia, Defendants’ effective payment of zero dollars per hour for hours that Plaintiff

                                                             11 and the other class members worked off-the-clock performing work duties.
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                                                             12         50.    Plaintiff is informed and believes, and based thereon alleges, that
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                                                             13 Defendants knew or should have known that Plaintiff and the other class members

                                                             14 and aggrieved employees were entitled to receive all wages owed to them upon

                                                             15 discharge or resignation, including minimum, reporting time, and overtime wages

                                                             16 and meal and rest period premiums, and they did not, in fact, receive all such wages

                                                             17 owed to them at the time of their discharge or resignation.

                                                             18         51.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             19 Defendants knew or should have known that Plaintiff and the other class members
                                                             20 and aggrieved employees were entitled to receive all wages owed to them during

                                                             21 their employment. Plaintiff and the other class members and aggrieved employees

                                                             22 did not receive payment of all wages, including minimum, regular, and overtime

                                                             23 wages, reporting time pay, and meal and rest period premiums, within any time

                                                             24 permissible under California Labor Code section 204.

                                                             25         52.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             26 Defendants knew or should have known that Plaintiff and the other class members
                                                             27 and aggrieved employees were entitled to receive complete and accurate wage

                                                             28 statements in accordance with California law, but, in fact, they did not receive

                                                                                                              16
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 complete and accurate wage statements from Defendants.                   The deficiencies
                                                              2 included, inter alia, the failure to include the accurate total number of hours

                                                              3 worked, the accurate net and gross wages actually earned by Plaintiff and the other

                                                              4 class members and aggrieved employees, the applicable rate of pay for each hour

                                                              5 worked, and the amount of sick leave available.

                                                              6         53.    Plaintiff is informed and believes, and based thereon alleges, that
                                                              7 Defendants knew or should have known that Defendants had to keep complete and

                                                              8 accurate payroll records for Plaintiff and the other class members and aggrieved

                                                              9 employees in accordance with California law, but, in fact, did not keep complete

                                                             10 and accurate payroll records. Defendants’ failure included, inter alia, the failure

                                                             11 to keep accurate records of the hours worked by Plaintiff and the other class
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                                                             12 members and aggrieved employees.
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                                                             13         54.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             14 Defendants knew or should have known that Plaintiff and the other class members

                                                             15 and aggrieved employees were entitled to reimbursement for necessary business-

                                                             16 related expenses, including, but not limited to, the use of personal phones for

                                                             17 business-related purposes, such as communications with their supervisors and for

                                                             18 recording their hours worked, the use of their personal vehicles for business-related

                                                             19 purposes, and the purchase and use of safety gloves and special footwear.
                                                             20         55.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             21 Defendants knew or should have known that Defendants failed to provide notice to

                                                             22 Plaintiff and the other class members and aggrieved employees as required by

                                                             23 California Labor Code section 2810.5.

                                                             24         56.    Plaintiff is informed and believes, and based thereon alleges, that
                                                             25 Defendants knew or should have known that they had a duty to compensate

                                                             26 Plaintiff and the other class members and aggrieved employees pursuant to
                                                             27 California law, and that Defendants had the financial ability to pay such

                                                             28 compensation, but willfully, knowingly, and intentionally failed to do so, and

                                                                                                              17
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 falsely represented to Plaintiff and the other class members and aggrieved

                                                              2 employees that they were properly denied wages, all in order to increase

                                                              3 Defendants’ profits.

                                                              4         57.    During the relevant time period, Defendants failed to pay overtime
                                                              5 wages to Plaintiff and the other class members and aggrieved employees for all

                                                              6 overtime hours worked.         Plaintiff and the other class members and aggrieved
                                                              7 employees were required to work more than eight (8) hours per day, forty (40)

                                                              8 hours per week, and/or more than six (6) consecutive days in a week without

                                                              9 overtime compensation for all overtime hours worked.

                                                             10         58.    During the relevant time period, Defendants failed to provide all
                                                             11 requisite uninterrupted meal and rest periods to Plaintiff and the other class
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                                                             12 members and aggrieved employees, by, inter alia, prohibiting employees from
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                                                             13 taking meal periods until all work was complete without regard to lawful timing

                                                             14 requirements, instructing employees to clock out and continue working during

                                                             15 lunch breaks, and denying them the opportunity to take their rest periods until after

                                                             16 having worked more than four hours.

                                                             17         59.    During the relevant time period, Defendants failed to pay Plaintiff and
                                                             18 the other class members and aggrieved employees at least minimum wages for all

                                                             19 hours worked by, inter alia, requiring them to perform work off the clock such as
                                                             20 providing updates to managers and supervisors about previous days’ work prior to

                                                             21 clocking in at the start of shifts.

                                                             22         60.    During the relevant time period, Defendants failed to pay Plaintiff and
                                                             23 the other class members and aggrieved employees all wages owed to them upon

                                                             24 discharge or resignation.

                                                             25         61.    During the relevant time period, Defendants failed to pay Plaintiff and
                                                             26 the other class members and aggrieved employees all wages within any time
                                                             27 permissible under California law, including, inter alia, California Labor Code

                                                             28 section 204.

                                                                                                              18
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         62.    During the relevant time period, Defendants failed to provide
                                                              2 complete or accurate wage statements to Plaintiff and the other class members and

                                                              3 aggrieved employees.

                                                              4         63.    During the relevant time period, Defendants failed to provide notice
                                                              5 to Plaintiff and the other class members and aggrieved employees as required by

                                                              6 California Labor Code section 2810.5.

                                                              7         64.    During the relevant time period, Defendants failed to keep complete
                                                              8 or accurate payroll records for Plaintiff and the other class members and aggrieved

                                                              9 employees.

                                                             10         65.    During the relevant time period, Defendants failed to properly
                                                             11 compensate Plaintiff and the other class members and aggrieved employees
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                                                             12 pursuant to California law in order to increase Defendants’ profits.
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                                                             13         66.    California Labor Code section 218 states that nothing in Article 1 of
                                                             14 the Labor Code shall limit the right of any wage claimant to “sue directly . . . for

                                                             15 any wages or penalty due to him [or her] under this article.”

                                                             16                               FIRST CAUSE OF ACTION
                                                             17                (Violation of California Labor Code §§ 510 and 1198)
                                                             18               (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             19    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             20                             INC., and DOES 2 through 100)
                                                             21         67.    Plaintiff incorporates by reference the allegations contained in
                                                             22 Paragraphs 1 through 66, and each and every part thereof with the same force and

                                                             23 effect as though fully set forth herein.

                                                             24         68.    California Labor Code section 1198 and the applicable Industrial
                                                             25 Welfare Commission (“IWC”) Wage Order provide that it is unlawful to employ

                                                             26 persons without compensating them at a rate of pay either time-and-one-half or
                                                             27 two-times that person’s regular rate of pay, depending on the number of hours

                                                             28 worked by the person on a daily or weekly basis.

                                                                                                              19
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         69.    Specifically, the applicable IWC Wage Order provides that
                                                              2 Defendants are and were required to pay Plaintiff and the other class members

                                                              3 employed by Defendants, and working more than eight (8) hours in a day, more

                                                              4 than forty (40) hours in a week, and/or more than six (6) consecutive days in a

                                                              5 workweek, at the rate of time-and-one-half for all hours worked in excess of eight

                                                              6 (8) hours in a day, more than forty (40) hours in a week, or the first eight (8) hours

                                                              7 on the seventh day of work in a workweek.

                                                              8         70.    The applicable IWC Wage Order further provides that Defendants are
                                                              9 and were required to pay Plaintiff and the other class members overtime

                                                             10 compensation at a rate of two times their regular rate of pay for all hours worked

                                                             11 in excess of twelve (12) hours in a day or in excess of eight (8) hours on the sixth
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                                                             12 consecutive day of work in a workweek.
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                                                             13         71.    California Labor Code section 510 codifies the right to overtime
                                                             14 compensation at one-and-one-half times the regular hourly rate for hours worked

                                                             15 in excess of eight (8) hours in a day or forty (40) hours in a week or for the first

                                                             16 eight (8) hours worked on the seventh day of work, and to overtime compensation

                                                             17 at twice the regular hourly rate for hours worked in excess of twelve (12) hours in

                                                             18 a day or in excess of eight (8) hours in a day on the seventh day of work.

                                                             19         72.    During the relevant time period, Plaintiff and the other class members
                                                             20 worked in excess of eight (8) hours in a day, in excess of forty (40) hours in a week,

                                                             21 and/or in excess of six (6) consecutive days in a workweek, including performing

                                                             22 work off the clock at the direction of Defendants, such as completing deliveries,

                                                             23 communicating and coordinating deliveries with customers, and providing

                                                             24 supervisors with updates regarding the status of deliveries as well as the status of

                                                             25 their prior day’s work pre-shift, pre-clock-in.

                                                             26         73.    During the relevant time period, Defendants intentionally and
                                                             27 willfully failed to pay overtime wages owed to Plaintiff and the other class

                                                             28 members.       Plaintiff and the other class members did not receive overtime
                                                                                                              20
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1 compensation at one and one-half times their regular hourly rate of pay for all hours

                                                              2 spent performing job duties in excess of eight (8) hours in a day or forty (40) hours

                                                              3 in a week or for the first eight (8) hours worked on the seventh day of work. By

                                                              4 way of example during month of July 2019, Plaintiff was not compensated at an

                                                              5 overtime rate for all time worked in excess of eight (8) hours per day.

                                                              6         74.    During the relevant time period, Defendants failed to use the non-
                                                              7 discretionary shift differential/bonus/performance/incentive compensation and/or

                                                              8 other non-hourly compensation, such as auto allowances and taxable fringe

                                                              9 benefits, to calculate the regular rate of pay used to calculate the overtime rate for

                                                             10 the payment of overtime wages where Plaintiff and the other class members earned

                                                             11 non-discretionary shift differential/bonus/performance/incentive compensation
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                                                             12 and/or other non-hourly compensation, such as auto allowances and taxable fringe
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                                                             13 benefits, and overtime wages in the same workweek.

                                                             14         75.    Defendants’ failure to pay Plaintiff and the other class members the
                                                             15 unpaid balance of overtime compensation, as required by California laws, violates

                                                             16 the provisions of California Labor Code sections 510 and 1198, and is therefore

                                                             17 unlawful.

                                                             18         76.    Pursuant to California Labor Code section 1194, Plaintiff and the other
                                                             19 class members are entitled to recover unpaid overtime compensation, as well as
                                                             20 interest, costs, and attorneys’ fees.

                                                             21                             SECOND CAUSE OF ACTION
                                                             22               (Violation of California Labor Code §§ 226.7 and 512(a))
                                                             23               (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             24    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             25                             INC., and DOES 2 through 100)
                                                             26         77.    Plaintiff incorporates by reference the allegations contained in
                                                             27 paragraphs 1 through 76, and each and every part thereof with the same force and

                                                             28 effect as though fully set forth herein.

                                                                                                              21
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         78.    At all relevant times, the IWC Order and California Labor Code
                                                              2 sections 226.7 and 512(a) were applicable to Plaintiff’s and the other class

                                                              3 members’ employment by Defendants.

                                                              4         79.    At all relevant times, California Labor Code section 226.7 provides
                                                              5 that no employer shall require an employee to work during any meal or rest period

                                                              6 mandated by an applicable order of the California IWC.

                                                              7         80.    At all relevant times, the applicable IWC Wage Order and California
                                                              8 Labor Code section 512(a) provide that an employer may not require, cause or

                                                              9 permit an employee to work for a work period of more than five (5) hours per day

                                                             10 without providing the employee with a meal period of not less than thirty (30)

                                                             11 minutes, except that if the total work period per day of the employee is no more
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                                                             12 than six (6) hours, the meal period may be waived by mutual consent of both the
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                                                             13 employer and employee.

                                                             14         81.    At all relevant times, the applicable IWC Wage Order and California
                                                             15 Labor Code section 512(a) further provide that an employer may not require, cause

                                                             16 or permit an employee to work for a work period of more than ten (10) hours per

                                                             17 day without providing the employee with a second uninterrupted meal period of

                                                             18 not less than thirty (30) minutes, except that if the total hours worked is no more

                                                             19 than twelve (12) hours, the second meal period may be waived by mutual consent
                                                             20 of the employer and the employee only if the first meal period was not waived.

                                                             21         82.    During the relevant time period, Plaintiff and the other class members
                                                             22 who were scheduled to work for a period of time no longer than six (6) hours, and

                                                             23 who did not waive their legally-mandated meal periods by mutual consent, were

                                                             24 required to work for periods longer than five (5) hours without an uninterrupted,

                                                             25 off-duty meal period of not less than thirty (30) minutes and/or rest period.

                                                             26         83.    During the relevant time period, Plaintiff and the other class members
                                                             27 who were scheduled to work for a period of time in excess of six (6) hours were

                                                             28 required to work for periods longer than five (5) hours without an uninterrupted,

                                                                                                              22
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1 off-duty meal period of not less than thirty (30) minutes and/or rest period.

                                                              2          84.   During the relevant time period, Plaintiff and the other class members’
                                                              3 meal periods were missed, shortened, taken late, and/or were interrupted because

                                                              4 Defendant required them to perform work duties including, but not limited to,

                                                              5 completing deliveries, communicating and coordinating deliveries with customers,

                                                              6 and providing supervisors with updates regarding the status of deliveries. By way

                                                              7 of example, Plaintiff was instructed to continue working past the end of his fifth hour

                                                              8 of work, but simultaneously told to clock out prior to the end of his fifth hour of

                                                              9 work, and clock back in thirty (30) minutes later, so as to create the artificial

                                                             10 impression in his time records that a timely, thirty (30) minute meal period had been

                                                             11 taken.
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                                                             12          85.   As a result, Defendants failed to relieve Plaintiff and the other class
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                                                             13 members of all duties, failed to relinquish control over Plaintiff and the other class

                                                             14 members’ activities, failed to permit Plaintiff and the other class members a

                                                             15 reasonable opportunity to take, and impeded or discouraged them from taking thirty

                                                             16 (30) minute uninterrupted meal periods no later than the end of their fifth hour of

                                                             17 work for shifts lasting more than five (5) hours, and/or to take second thirty (30)

                                                             18 minute uninterrupted meal periods no later than their tenth hour of work for shifts

                                                             19 lasting more than ten (10) hours.
                                                             20          86.   During the relevant time period, Defendants intentionally and
                                                             21 willfully required Plaintiff and the other class members to work during meal

                                                             22 periods and failed to compensate Plaintiff and the other class members the full meal

                                                             23 period premium for work performed during meal periods.

                                                             24          87.   During the relevant time period, Defendants failed to pay Plaintiff and
                                                             25 the other class members the full meal period premium due pursuant to California

                                                             26 Labor Code section 226.7.          In those instances where Defendants did pay one
                                                             27 additional hour of pay for a missed, short, late, and/or interrupted meal period,

                                                             28 Defendants failed to use the regular rate of pay by failing to use the non-

                                                                                                              23
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1 discretionary shift differential/bonus/performance/incentive compensation and/or

                                                              2 other non-hourly compensation, such as auto allowances and taxable fringe

                                                              3 benefits, to calculate the regular rate of pay rate for the payment of such premium

                                                              4 wages where Plaintiff and the other class members and aggrieved employees earned

                                                              5 non-discretionary shift differential/bonus/performance/incentive compensation

                                                              6 and/or other non-hourly compensation, such as auto allowances and taxable fringe

                                                              7 benefits, in the same workweek that they earned such premium wages.

                                                              8         88.    Defendants’ conduct violates applicable IWC Wage Order and
                                                              9 California Labor Code sections 226.7 and 512(a).

                                                             10         89.    Pursuant to applicable IWC Wage Order and California Labor Code
                                                             11 section 226.7(c), Plaintiff and the other class members are entitled to recover from
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                                                             12 Defendants one additional hour of pay at the employee’s regular rate of
                              Glendale, California 91203




                                                             13 compensation for each work day that the meal or rest period is not provided.

                                                             14                              THIRD CAUSE OF ACTION
                                                             15                      (Violation of California Labor Code § 226.7)
                                                             16               (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             17    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             18                             INC., and DOES 2 through 100)
                                                             19         90.    Plaintiff incorporates by reference the allegations contained in
                                                             20 paragraphs 1 through 89, and each and every part thereof with the same force and

                                                             21 effect as though fully set forth herein.

                                                             22         91.    At all times herein set forth, the applicable IWC Wage Order and
                                                             23 California Labor Code section 226.7 were applicable to Plaintiff’s and the other

                                                             24 class members’ employment by Defendants.

                                                             25         92.    At all relevant times, California Labor Code section 226.7 provides
                                                             26 that no employer shall require an employee to work during any rest period
                                                             27 mandated by an applicable order of the California IWC.

                                                             28         93.    At all relevant times, the applicable IWC Wage Order provides that
                                                                                                              24
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1 “[e]very employer shall authorize and permit all employees to take rest periods,

                                                              2 which insofar as practicable shall be in the middle of each work period” and that

                                                              3 the “rest period time shall be based on the total hours worked daily at the rate of

                                                              4 ten (10) minutes net rest time per four (4) hours or major fraction thereof” unless

                                                              5 the total daily work time is less than three and one-half (3 ½) hours.

                                                              6         94.    During the relevant time period, Defendants required Plaintiff and
                                                              7 other class members to work three and one-half (3½) or more hours without

                                                              8 authorizing or permitting an off-duty, net ten (10) minute rest period per each four

                                                              9 (4) hour period, or major fraction thereof, worked.

                                                             10         95.    During the relevant time period, Plaintiff and the other class members’
                                                             11 rest periods were missed, shortened, late, and/or interrupted because Defendants
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                                                             12 required them to perform work duties including, but not limited to, completing
                              Glendale, California 91203




                                                             13 deliveries, communicating and coordinating deliveries with customers,                    and
                                                             14 providing supervisors with updates regarding the status of deliveries, and

                                                             15 Defendants failed to authorize or permit Plaintiff and the other class members or

                                                             16 failed to relinquish control over Plaintiff and the other class members’ activities in

                                                             17 order to take full, uninterrupted, off-duty rest periods for every shift lasting three

                                                             18 and one-half (3½) to six (6) hours and/or two full, uninterrupted, off-duty rest

                                                             19 periods for every shift lasting six (6) to ten (10) hours, and/or three full,
                                                             20 uninterrupted, off-duty rest periods for every shift lasting ten (10) to fourteen (14)

                                                             21 hours and failed to make a good faith effort to authorize, permit, and provide such

                                                             22 rest breaks in the middle of each work period. By way of example, in August 2019,

                                                             23 Plaintiff worked over ten hours but was not authorized or permitted to take three

                                                             24 full, uninterrupted, off-duty rest periods. By way of another example, Plaintiff was

                                                             25 not permitted to take any rest break until after having worked four hours on scores

                                                             26 of occasions.
                                                             27         96.    During the relevant time period, Defendants willfully required
                                                             28 Plaintiff and the other class members to work during rest periods and failed to pay

                                                                                                              25
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1 Plaintiff and the other class members the full rest period premium for work

                                                              2 performed during rest periods. For example, throughout his employment with

                                                              3 Defendants, although Plaintiff was not authorized and permitted to take full,

                                                              4 uninterrupted, off-duty rest periods for each four hours worked, or major fraction

                                                              5 thereof, he was not provided with rest period premium payments.

                                                              6         97.    During the relevant time period, Defendants failed to pay Plaintiff and
                                                              7 the other class members the full rest period premium due pursuant to California

                                                              8 Labor Code section 226.7. In those instances where Defendants did pay one

                                                              9 additional hour of pay for a missed, short, late, and/or interrupted rest break,

                                                             10 Defendants failed to use the regular rate of pay by failing to use the non-

                                                             11 discretionary shift differential/bonus/performance/incentive compensation and/or
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                                                             12 other non-hourly compensation, such as auto allowances and taxable fringe
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                                                             13 benefits, to calculate the regular rate of pay rate for the payment of such premium

                                                             14 wages where Plaintiff and the other class members and aggrieved employees earned

                                                             15 non-discretionary shift differential/bonus/performance/incentive compensation

                                                             16 and/or other non-hourly compensation, such as auto allowances and taxable fringe

                                                             17 benefits, in the same workweek that they earned such premium wages

                                                             18

                                                             19         98.    Defendants’ conduct violates applicable IWC Wage Orders and
                                                             20 California Labor Code section 226.7.

                                                             21         99.    Pursuant to the applicable IWC Wage Orders and California Labor
                                                             22 Code section 226.7(c), Plaintiff and the other class members are entitled to recover

                                                             23 from Defendants one additional hour of pay at the employees’ regular hourly rate

                                                             24 of compensation for each work day that the rest period was not provided.

                                                             25 ///

                                                             26 ///
                                                             27 ///

                                                             28 ///

                                                                                                              26
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1                             FOURTH CAUSE OF ACTION
                                                              2           (Violation of California Labor Code §§ 1194, 1197, and 1197.1)
                                                              3              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                              4    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                              5                             INC., and DOES 2 through 100)
                                                              6         100. Plaintiff incorporates by reference the allegations contained in
                                                              7 paragraphs 1 through 99, and each and every part thereof with the same force and

                                                              8 effect as though fully set forth herein.

                                                              9         101. At all relevant times, California Labor Code sections 1194, 1197, and
                                                             10 1197.1 provide that the minimum wage to be paid to employees, and the payment

                                                             11 of a lesser wage than the minimum so fixed is unlawful.
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                                                             12         102. During the relevant time period, Defendants failed to pay wages to
                              Glendale, California 91203




                                                             13 Plaintiff and the other class members, including, inter alia, minimum wages,

                                                             14 overtime wages, meal and rest premiums, and reporting time pay, as required,

                                                             15 pursuant to California Labor Code sections 1194, 1197, and 1197.1. Defendants’

                                                             16 failure to pay minimum wages included, inter alia, Defendants’ effective payment

                                                             17 of zero dollars per hour for hours Plaintiff and the other class members worked off-

                                                             18 the-clock performing work duties including, but not limited to, completing

                                                             19 deliveries, communicating and coordinating deliveries with customers, and
                                                             20 providing supervisors with updates regarding the status of deliveries and regarding

                                                             21 the status of their work assignments from previous days’ work pre-shift, off the

                                                             22 clock. Plaintiff spent time performing work duties off-the-clock throughout his

                                                             23 employment with Defendants.

                                                             24         103. Defendants’ failure to pay Plaintiff and the other class members the
                                                             25 minimum wage and all wages due as required violates California Labor Code

                                                             26 sections 1194, 1197, and 1197.1. Pursuant to those sections Plaintiff and the other
                                                             27 class members are entitled to recover the unpaid balance of their unpaid wage

                                                             28 compensation as well as interest, costs, and attorney’s fees, and liquidated damages

                                                                                                              27
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 in an amount equal to the wages unlawfully unpaid and interest thereon.

                                                              2         104. Pursuant to California Labor Code section 1197.1, Plaintiff and the
                                                              3 other class members are entitled to recover a penalty of $100.00 for the initial

                                                              4 failure to timely pay each employee wages, and $250.00 for each subsequent failure

                                                              5 to pay each employee wages.

                                                              6         105. Pursuant to California Labor Code section 1194.2, Plaintiff and the
                                                              7 other class members are entitled to recover liquidated damages in an amount equal

                                                              8 to the wages unlawfully unpaid and interest thereon.

                                                              9                               FIFTH CAUSE OF ACTION
                                                             10                 (Violation of California Labor Code §§ 201 and 202)
                                                             11              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
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                                                             12    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                              Glendale, California 91203




                                                             13                             INC., and DOES 2 through 100)
                                                             14         106. Plaintiff incorporates by reference the allegations contained in
                                                             15 paragraphs 1 through 105, and each and every part thereof with the same force and

                                                             16 effect as though fully set forth herein.

                                                             17         107. At all relevant times herein set forth, California Labor Code sections
                                                             18 201 and 202 provide that if an employer discharges an employee, the wages earned

                                                             19 and unpaid at the time of discharge are due and payable immediately, and if an
                                                             20 employee quits his or her employment, his or her wages shall become due and

                                                             21 payable not later than seventy-two (72) hours thereafter, unless the employee has

                                                             22 given seventy-two (72) hours’ notice of his or her intention to quit, in which case

                                                             23 the employee is entitled to his or her wages at the time of quitting.

                                                             24         108. During the relevant time period, Defendants intentionally and
                                                             25 willfully failed to pay Plaintiff and the other class members who were discharged,

                                                             26 or who provided at least seventy-two (72) hours’ notice of their intention to quit,
                                                             27 their wages, earned and unpaid, immediately at the time of their discharge or

                                                             28 separation.

                                                                                                              28
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         109. During the relevant time period, Defendants intentionally and
                                                              2 willfully failed to pay Plaintiff and the other class members who are no longer

                                                              3 employed by Defendants their wages, earned and unpaid, within seventy-two (72)

                                                              4 hours of their leaving Defendants’ employ.

                                                              5         110. Plaintiff was not paid at the time of his separation all wages earned
                                                              6 and unpaid throughout her employment, including but not limited to, minimum

                                                              7 wages and overtime wages for time worked off-the-clock, reporting time pay, and

                                                              8 meal and rest period premium payments for short, late, interrupted, and/or missed

                                                              9 meal and rest periods.

                                                             10         111. Defendants’ failure to pay Plaintiff and the other class members who
                                                             11 are no longer employed by Defendants their wages, earned and unpaid, within
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                                                             12 seventy-two (72) hours of their leaving Defendants’ employ, is in violation of
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                                                             13 California Labor Code sections 201 and 202.

                                                             14         112. California Labor Code section 203 provides that if an employer
                                                             15 willfully fails to pay wages owed, in accordance with sections 201 and 202, then

                                                             16 the wages of the employee shall continue as a penalty from the due date thereof at

                                                             17 the same rate until paid or until an action is commenced; but the wages shall not

                                                             18 continue for more than thirty (30) days.

                                                             19         113. Plaintiff and the other class members are entitled to recover from
                                                             20 Defendants the statutory penalty wages for each day they were not paid, up to a

                                                             21 thirty (30) day maximum pursuant to California Labor Code section 203.

                                                             22                              SIXTH CAUSE OF ACTION
                                                             23                       (Violation of California Labor Code § 204)
                                                             24              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             25    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             26                             INC., and DOES 2 through 100)
                                                             27         114. Plaintiff incorporates by reference the allegations contained in
                                                             28 paragraphs 1 through 113, and each and every part thereof with the same force and

                                                                                                              29
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 effect as though fully set forth herein.

                                                              2         115. At all times herein set forth, California Labor Code section 204
                                                              3 provides that all wages earned by any person in any employment between the 1st

                                                              4 and 15th days, inclusive, of any calendar month, other than those wages due upon

                                                              5 termination of an employee, are due and payable between the 16th and the 26th

                                                              6 day of the month during which the labor was performed.

                                                              7         116. At all times herein set forth, California Labor Code section 204
                                                              8 provides that all wages earned by any person in any employment between the 16th

                                                              9 and the last day, inclusive, of any calendar month, other than those wages due upon

                                                             10 termination of an employee, are due and payable between the 1st and the 10th day

                                                             11 of the following month.
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                                                             12         117. At all times herein set forth, California Labor Code section 204
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                                                             13 provides that all wages earned for labor in excess of the normal work period shall

                                                             14 be paid no later than the payday for the next regular payroll period.

                                                             15         118. During the relevant time period, Defendants intentionally and
                                                             16 willfully failed to pay Plaintiff and the other class members all wages due to them,

                                                             17 within any time period permissible under California Labor Code section 204. By

                                                             18 way of example, Plaintiff and the other class members worked off-the-clock

                                                             19 performing work duties including, but not limited to, completing deliveries,
                                                             20 communicating and coordinating deliveries with customers, and providing

                                                             21 supervisors with updates regarding the status of deliveries and regarding the status

                                                             22 of their work assignments from previous days’ work pre-shift, off the clock.

                                                             23 Plaintiff spent time performing work duties off-the-clock throughout his

                                                             24 employment with Defendants.

                                                             25         119. Plaintiff and the other class members are entitled to recover all
                                                             26 remedies available for violations of California Labor Code section 204.
                                                             27 ///

                                                             28 ///

                                                                                                              30
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1                            SEVENTH CAUSE OF ACTION
                                                              2                     (Violation of California Labor Code § 226(a))
                                                              3              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                              4    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                              5                             INC., and DOES 2 through 100)
                                                              6         120. Plaintiff incorporates by reference the allegations contained in
                                                              7 paragraphs 1 through 119, and each and every part thereof with the same force and

                                                              8 effect as though fully set forth herein.

                                                              9         121. At all material times set forth herein, California Labor Code section
                                                             10 226(a) provides that every employer shall furnish each of his or her employees an

                                                             11 accurate itemized statement in writing showing (1) gross wages earned, (2) total
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                                                             12 hours worked by the employee, (3) the number of piece-rate units earned and any
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                                                             13 applicable piece rate if the employee is paid on a piece-rate basis, (4) all

                                                             14 deductions, provided that all deductions made on written orders of the employee

                                                             15 may be aggregated and shown as one item, (5) net wages earned, (6) the inclusive

                                                             16 dates of the period for which the employee is paid, (7) the name of the employee

                                                             17 and his or her social security number, (8) the name and address of the legal entity

                                                             18 that is the employer, and (9) all applicable hourly rates in effect during the pay

                                                             19 period and the corresponding number of hours worked at each hourly rate by the
                                                             20 employee. The deductions made from payments of wages shall be recorded in ink

                                                             21 or other indelible form, properly dated, showing the month, day, and year, and a

                                                             22 copy of the statement or a record of the deductions shall be kept on file by the

                                                             23 employer for at least three years at the place of employment or at a central location

                                                             24 within the State of California.

                                                             25         122. Defendants have intentionally and willfully failed to provide Plaintiff
                                                             26 and the other class members with complete and accurate wage statements. The
                                                             27 deficiencies include, but are not limited to: the failure to include the accurate total

                                                             28 number of hours worked by Plaintiff and the other class members, the accurate net

                                                                                                              31
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                                                              1 and gross wages earned, the accurate applicable rate of pay for each hour worked,

                                                              2 and the amount of sick leave available. As the employer willfully requiring work

                                                              3 to be performed off-the-clock and failing to provide, authorize, and/or permit

                                                              4 compliant meal and rest periods or to pay all premium wages owed for such failure,

                                                              5 Defendants had the information necessary to provide wage statements that

                                                              6 accurately reflected the total number of hours actually worked and the actual gross

                                                              7 and net wages earned, the accurate applicable rate of pay for each hour worked,

                                                              8 and the amount of sick leave available, yet failed to do so on a systematic basis and

                                                              9 instead provided wage statements that did not reflect the time worked off-the-clock

                                                             10 or all meal and rest period premiums earned.

                                                             11         123. As a result of Defendants’ violation of California Labor Code section
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                                                             12 226(a), Plaintiff and the other class members have suffered injury and damage to
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                                                             13 their statutorily-protected rights. Because Plaintiff and the other class members’

                                                             14 wage statements did not reflect the accurate number of hours worked, Plaintiff and

                                                             15 the putative class members were unable to determine the total amount of hours they

                                                             16 worked, were unable to determine the total amount of compensation they were

                                                             17 owed, were unable to verify they were paid the proper amount, and were unable to

                                                             18 determine the amount of sick leave available. In order to determine how much

                                                             19 Plaintiff and the other class members should have been paid, Plaintiff and the other
                                                             20 class members would have had to engage in discovery and mathematical

                                                             21 computations in order to reconstruct the missing information.

                                                             22         124. More specifically, Plaintiff and the other class members have been
                                                             23 injured by Defendants’ intentional and willful violation of California Labor Code

                                                             24 section 226(a) because they were denied both their legal right to receive, and their

                                                             25 protected interest in receiving, accurate and itemized wage statements pursuant to

                                                             26 California Labor Code section 226(a).
                                                             27         125. Plaintiff and the other class members are entitled to recover from
                                                             28 Defendants the greater of their actual damages caused by Defendants’ failure to

                                                                                                              32
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                                                              1 comply with California Labor Code section 226(a), or an aggregate penalty not

                                                              2 exceeding four thousand dollars per employee.

                                                              3         126. Plaintiff and the other class members are also entitled to injunctive
                                                              4 relief to ensure compliance with this section, pursuant to California Labor Code

                                                              5 section 226(h).

                                                              6                             EIGHTH CAUSE OF ACTION
                                                              7                (Violation of California Labor Code §§ 2800 and 2802)
                                                              8              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                              9    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             10                             INC., and DOES 2 through 100)
                                                             11         127. Plaintiff incorporates by reference the allegations contained in
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                                                             12 paragraphs 1 through 126, and each and every part thereof with the same force and
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                                                             13 effect as though fully set forth herein.

                                                             14         128. Pursuant to California Labor Code sections 2800 and 2802, an
                                                             15 employer must reimburse its employee for all necessary expenditures incurred by

                                                             16 the employee in direct consequence of the discharge of his or her job duties or in

                                                             17 direct consequence of his or her obedience to the directions of the employer.

                                                             18         129. Plaintiff and the other class members incurred necessary business-
                                                             19 related expenses and costs in direct consequence of the discharge of their job duties
                                                             20 or in direct consequence of their obedience to the directions of Defendants

                                                             21 throughout the duration of their employment that were not fully reimbursed by

                                                             22 Defendants including, but not limited to, the use of personal phones for business-

                                                             23 related purposes, such as communications with their supervisors and for recording

                                                             24 their hours worked, the use of their personal vehicles for business-related purposes,

                                                             25 and the purchase and use of safety gloves and special footwear.

                                                             26         130. Defendants have intentionally and willfully failed to reimburse
                                                             27 Plaintiff and the other class members for all necessary business-related expenses

                                                             28 and costs.

                                                                                                              33
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1         131. Plaintiff and the other class members are entitled to recover from
                                                              2 Defendants their business-related expenses and costs incurred during the course

                                                              3 and scope of their employment, plus interest accrued from the date on which the

                                                              4 employee incurred the necessary expenditures at the same rate as judgments in civil

                                                              5 actions in the State of California.

                                                              6                              NINTH CAUSE OF ACTION
                                                              7      (Violation of California Business & Professions Code §§ 17200, et seq.)
                                                              8              (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                              9    WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             10                             INC., and DOES 2 through 100)
                                                             11         132. Plaintiff incorporates by reference the allegations contained in
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                                                             12 paragraphs 1 through 131, and each and every part thereof with the same force and
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                                                             13 effect as though fully set forth herein.

                                                             14         133. Defendants’ conduct, as alleged herein, has been, and continues to be,
                                                             15 unfair, unlawful and harmful to Plaintiff, other class members, to the general

                                                             16 public, and Defendants’ competitors.            Accordingly, Plaintiff seek to enforce
                                                             17 important rights affecting the public interest within the meaning of Code of Civil

                                                             18 Procedure section 1021.5.

                                                             19         134. Defendants’ activities as alleged herein are violations of California
                                                             20 law, and constitute unlawful business acts and practices in violation of California

                                                             21 Business & Professions Code section 17200, et seq.

                                                             22         135. A violation of California Business & Professions Code section 17200,
                                                             23 et seq. may be predicated on the violation of any state or federal law. In this instant

                                                             24 case, Defendants’ policies and practices of requiring employees, including Plaintiff

                                                             25 and the other class members, to work overtime without paying them proper

                                                             26 compensation violate California Labor Code sections 510 and 1198. Additionally,
                                                             27 Defendants’ policies and practices of requiring employees, including Plaintiff and

                                                             28 the other class members, to work through their meal and rest periods without

                                                                                                              34
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 paying them proper compensation violate California Labor Code sections 226.7

                                                              2 and 512(a). Defendants’ policies and practices of failing to pay all wages due,

                                                              3 including and not limited to minimum, overtime, and reporting time wages, and

                                                              4 meal and rest premiums violate California Labor Code sections 1194, 1197, and

                                                              5 1197.1. Moreover, Defendants’ policies and practices of failing to timely pay

                                                              6 wages to Plaintiff and the other class members violate California Labor Code

                                                              7 sections 201, 202 and 204.          Defendants also violated California Labor Code
                                                              8 sections 226(a), 246, 1174(d), 2800 and 2802. Defendants also violated California

                                                              9 Labor Code 28105.5 by failing to provide notice to Plaintiff and the other class

                                                             10 members.

                                                             11         136. As a result of the herein described violations of California law,
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                                                             12 Defendants unlawfully gained an unfair advantage over other businesses.
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                                                             13         137. Plaintiff and the other class members have been personally injured by
                                                             14 Defendants’ unlawful business acts and practices as alleged herein, including but

                                                             15 not necessarily limited to the loss of money and/or property.

                                                             16        138.    Pursuant to California Business & Professions Code sections 17200,
                                                             17 et seq., Plaintiff and the other class members are entitled to restitution of the

                                                             18 wages withheld and retained by Defendants; an award of attorneys’ fees pursuant

                                                             19 to California Code of Civil procedure section 1021.5 and other applicable laws;
                                                             20 and an award of costs.

                                                             21                              TENTH CAUSE OF ACTION
                                                             22                 (Violation of California Labor Code §§ 2698, et seq.)
                                                             23               (Against NUTRIEN, NUTRIEN AG SOLUTIONS, INC.,
                                                             24     WESTERN FARM SERVICE, INC., CROP PRODUCTION SERVICES,
                                                             25                             INC., and DOES 2 through 100)
                                                             26         139. Plaintiff incorporates by reference the allegations contained in
                                                             27 paragraphs 1 through 138, and each and every part thereof with the same force and

                                                             28 effect as though fully set forth herein.

                                                                                                              35
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                                                              1         140. PAGA expressly establishes that any provision of the California Labor
                                                              2 Code which provides for a civil penalty to be assessed and collected by the LWDA,

                                                              3 or any of its departments, divisions, commissions, boards, agencies or employees

                                                              4 for a violation of the California Labor Code, may be recovered through a civil

                                                              5 action brought by an aggrieved employee on behalf of himself or herself, and other

                                                              6 current or former employees.

                                                              7         141. Whenever the LWDA, or any of its departments, divisions,
                                                              8 commissions, boards, agencies, or employees has discretion to assess a civil

                                                              9 penalty, a court in a civil action is authorized to exercise the same discretion,

                                                             10 subject to the same limitations and conditions, to assess a civil penalty.

                                                             11         142. Plaintiff and the other hourly-paid or non-exempt employees are
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                                                             12 “aggrieved employees” as defined by California Labor Code section 2699(c) in that
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                                                             13 they are all current or former employees of Defendants, and one or more of the

                                                             14 alleged violations was committed against them.

                                                             15                                  Failure to Pay Overtime
                                                             16         143. Defendants’ failure to pay legally required overtime wages to Plaintiff
                                                             17 and the other aggrieved employees is in violation of the Wage Orders and

                                                             18 constitutes unlawful or unfair activity prohibited by California Labor Code sections

                                                             19 510 and 1198.
                                                             20                             Failure to Provide Meal Periods
                                                             21         144. Defendants’ failure to provide legally required meal periods to
                                                             22 Plaintiff and the other aggrieved employees and/or pay an additional hour pay at

                                                             23 the regular rate of pay when the meal period is not provided is in violation of the

                                                             24 Wage Orders and constitutes unlawful or unfair activity prohibited by California

                                                             25 Labor Code sections 226.7 and 512(a).

                                                             26                              Failure to Provide Rest Periods
                                                             27         145. Defendants’ failure to provide legally required rest periods to Plaintiff
                                                             28 and the other aggrieved employees and/or pay an additional hour pay at the regular

                                                                                                              36
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                                                              1 rate of pay when the rest period is not provided is in violation of the Wage Orders

                                                              2 and constitutes unlawful or unfair activity prohibited by California Labor Code

                                                              3 section 226.7.

                                                              4                             Failure to Pay Minimum Wages
                                                              5         146. Defendants’ failure to pay legally required minimum wages to
                                                              6 Plaintiff and the other aggrieved employees is in violation of the Wage Orders and

                                                              7 constitutes unlawful or unfair activity prohibited by California Labor Code sections

                                                              8 1194, 1197 and 1197.1.

                                                              9                         Failure to Provide Notice to Employees
                                                             10         147. Defendants’ failure to provide notice to Plaintiff and the other
                                                             11 aggrieved employees containing requisite information in violation of California
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                                                             12 Labor Code section 2810.5 constitutes lawful and/or unfair activity prohibited by
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                                                             13 California Labor Code section 2810.5.

                                                             14                           Failure to Pay Reporting Time Pay
                                                             15         148. Defendants’ failure to pay reporting time pay to Plaintiff and the other
                                                             16 aggrieved employees in violation of the Wage Order and by California Labor Code

                                                             17 section 1198, as alleged above, constitutes unlawful or unfair activity prohibited

                                                             18 by the Wage Orders and by California Labor Code section 1198.

                                                             19                    Failure to Timely Pay Wages Upon Termination
                                                             20         149. Defendants’ failure to timely pay wages to Plaintiff and the other
                                                             21 aggrieved employees upon termination in accordance with Labor Code sections

                                                             22 201 and 202 constitutes unlawful and/or unfair activity prohibited by California

                                                             23 Labor Code sections 201 and 202.

                                                             24                   Failure to Timely Pay Wages During Employment
                                                             25         150. Defendants’ failure to timely pay wages to Plaintiff and the other
                                                             26 aggrieved employees during employment in accordance with Labor Code section
                                                             27 204 constitutes unlawful and/or unfair activity prohibited by California Labor Code

                                                             28 section 204.

                                                                                                              37
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1             Failure to Provide Complete and Accurate Wage Statements
                                                              2         151. Defendants’ failure to provide complete and accurate wage statements
                                                              3 to Plaintiff and the other aggrieved employees in accordance with Labor Code

                                                              4 section 226(a) constitutes unlawful and/or unfair activity prohibited by California

                                                              5 Labor Code section 226(a).

                                                              6               Failure to Keep Complete and Accurate Payroll Records
                                                              7         152. Defendants’ failure to keep complete and accurate payroll records
                                                              8 relating to Plaintiff and the other aggrieved employees in accordance with

                                                              9 California Labor Code section 1174(d) constitutes unlawful and/or unfair activity

                                                             10 prohibited by California Labor Code section 1174(d).

                                                             11       Failure to Reimburse Necessary Business-Related Expenses and Costs
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                                                             12         153. Defendants’ failure to reimburse Plaintiff and the other aggrieved
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                                                             13 employees for necessary business-related expenses and costs in accordance with

                                                             14 California Labor Code sections 2800 and 2802 constitutes unlawful and/or unfair

                                                             15 activity prohibited by California Labor Code sections 2800 and 2802.

                                                             16                 Failure to Inform Employees of Available Sick Leave
                                                             17        154.    Defendants’ failure to inform Plaintiff and the other aggrieved
                                                             18 employees in writing at the time wages were paid of the amount of sick leave

                                                             19 available to them constitutes unlawful and/or unfair activity prohibited by
                                                             20 California Labor Code sections 246.

                                                             21         155. Pursuant to California Labor Code section 2699, Plaintiff,
                                                             22 individually, and on behalf of all aggrieved employees, requests and is entitled to

                                                             23 recover from Defendants and each of them, business expenses, unpaid wages,

                                                             24 and/or untimely wages according to proof, interest, attorneys’ fees and costs

                                                             25 pursuant to California Labor Code section 218.5, as well as all statutory penalties

                                                             26 against Defendants, and each of them, including but not limited to:
                                                             27                a.     Penalties under California Labor Code section 2699 in the
                                                             28                       amount of a hundred dollars ($100) for each aggrieved employee
                                                                                                              38
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1                       per pay period for the initial violation, and two hundred dollars
                                                              2                       ($200) for each aggrieved employee per pay period for each
                                                              3                       subsequent violation;
                                                              4                b.     Penalties under California Code of Regulations Title 8 section
                                                              5                       11010, et seq. in the amount of fifty dollars ($50) for each
                                                              6                       aggrieved employee per pay period for the initial violation, and
                                                              7                       one hundred dollars ($100) for each aggrieved employee per pay
                                                              8                       period for each subsequent violation;
                                                              9                c.     Penalties under California Labor Code section 210 in addition to,
                                                             10                       and entirely independent and apart from, any other penalty
                                                             11                       provided in the California Labor Code in the amount of a
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                                                             12                       hundred dollars ($100) for each aggrieved employee per pay
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                                                             13                       period for the initial violation, and two hundred dollars ($200)
                                                             14                       for each aggrieved employee per pay period for each subsequent
                                                             15                       violation; and
                                                             16                d.     Any and all additional penalties and sums as provided by the
                                                             17                       California Labor Code and/or other statutes.
                                                             18         156. Pursuant to California Labor Code section 2699(i), civil penalties
                                                             19 recovered by aggrieved employees shall be distributed as follows: seventy-five
                                                             20 percent (75%) to the Labor and Workforce Development Agency for the

                                                             21 enforcement of labor laws and education of employers and employees about their

                                                             22 rights and responsibilities and twenty-five percent (25%) to the aggrieved

                                                             23 employees.

                                                             24         157. Further, Plaintiff is entitled to seek and recover reasonable attorneys’
                                                             25 fees and costs pursuant to California Labor Code sections 210, 218.5 and 2699 and

                                                             26 any other applicable statute.
                                                             27                              DEMAND FOR JURY TRIAL
                                                             28         Plaintiff, individually, and on behalf of other members of the general public
                                                                                                              39
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 similarly situated and on behalf of other aggrieved employees pursuant to the

                                                              2 California Private Attorneys General Act, requests a trial by jury.

                                                              3                                 PRAYER FOR RELIEF
                                                              4         WHEREFORE, Plaintiff, individually, and on behalf of other members of
                                                              5 the general public similarly situated and on behalf of other aggrieved employees

                                                              6 pursuant to the California Private Attorneys General Act, prays for relief and

                                                              7 judgment against Defendants, jointly and severally, as follows:

                                                              8                                     Class Certification
                                                              9         1.     That this action be certified as a class action as to the first nine
                                                             10 causes of action;

                                                             11         2.     That Plaintiff be appointed as the representative of the Class as to the
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                                                             12 first nine causes of action;
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                                                             13         3.     That counsel for Plaintiff be appointed as Class Counsel; and
                                                             14         4.     That Defendants provide to Class Counsel immediately the names and
                                                             15 most current/last known contact information (address, e-mail and telephone

                                                             16 numbers) of all class members.

                                                             17                              As to the First Cause of Action
                                                             18         5.     That the Court declare, adjudge and decree that Defendants violated
                                                             19 California Labor Code sections 510 and 1198 and applicable IWC Wage Orders by
                                                             20 willfully failing to pay all overtime wages due to Plaintiff and the other class

                                                             21 members;

                                                             22         6.     For general unpaid wages at overtime wage rates and such general and
                                                             23 special damages as may be appropriate;

                                                             24         7.     For pre-judgment interest on any unpaid overtime compensation
                                                             25 commencing from the date such amounts were due;

                                                             26         8.     For reasonable attorneys’ fees and costs of suit incurred herein
                                                             27 pursuant to California Labor Code section 1194; and

                                                             28         9.     For such other and further relief as the Court may deem just and
                                                                                                              40
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
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                                                              1 proper.

                                                              2                            As to the Second Cause of Action
                                                              3         10.    That the Court declare, adjudge and decree that Defendants violated
                                                              4 California Labor Code sections 226.7 and 512 and applicable IWC Wage Orders

                                                              5 by willfully failing to provide all meal periods (including second meal periods) to

                                                              6 Plaintiff and the other class members;

                                                              7         11.    That the Court make an award to Plaintiff and the other class members
                                                              8 of one (1) hour of pay at each employee’s regular rate of compensation for each

                                                              9 workday that a meal period was not provided;

                                                             10         12.    For all actual, consequential, and incidental losses and damages,
                                                             11 according to proof;
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                                                             12         13.    For premium wages pursuant to California Labor Code section
                              Glendale, California 91203




                                                             13 226.7(c);

                                                             14         14.    For pre-judgment interest on any unpaid wages from the date such
                                                             15 amounts were due;

                                                             16         15.    For reasonable attorneys’ fees and costs of suit incurred herein; and
                                                             17         16.    For such other and further relief as the Court may deem just and
                                                             18 proper.

                                                             19                             As to the Third Cause of Action
                                                             20         17.    That the Court declare, adjudge and decree that Defendants violated
                                                             21 California Labor Code section 226.7 and applicable IWC Wage Orders by willfully

                                                             22 failing to provide all rest periods to Plaintiff and the other class members;

                                                             23         18.    That the Court make an award to Plaintiff and the other class members
                                                             24 of one (1) hour of pay at each employee’s regular rate of compensation for each

                                                             25 workday that a rest period was not provided;

                                                             26         19.    For all actual, consequential, and incidental losses and damages,
                                                             27 according to proof;

                                                             28         20.    For premium wages pursuant to California Labor Code section
                                                                                                              41
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
                                                             Case 1:21-cv-00986-KES-BAM Document 67-1 Filed 07/14/23 Page 95 of 104


                                                              1 226.7(c);

                                                              2         21.    For pre-judgment interest on any unpaid wages from the date such
                                                              3 amounts were due; and

                                                              4         22.    For such other and further relief as the Court may deem just and
                                                              5 proper.

                                                              6                            As to the Fourth Cause of Action
                                                              7         23.    That the Court declare, adjudge and decree that Defendants violated
                                                              8 California Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay

                                                              9 minimum wages to Plaintiff and the other class members;

                                                             10         24.    For general unpaid wages and such general and special damages as
                                                             11 may be appropriate;
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                             12         25.    For statutory wage penalties pursuant to California Labor Code
                              Glendale, California 91203




                                                             13 section 1197.1 for Plaintiff and the other class members in the amount as may be

                                                             14 established according to proof at trial;

                                                             15         26.    For pre-judgment interest on any unpaid compensation from the date
                                                             16 such amounts were due;

                                                             17         27.    For reasonable attorneys’ fees and costs of suit incurred herein
                                                             18 pursuant to California Labor Code section 1194(a);

                                                             19         28.    For liquidated damages pursuant to California Labor Code section
                                                             20 1194.2; and

                                                             21         29.    For such other and further relief as the Court may deem just and
                                                             22 proper.

                                                             23                              As to the Fifth Cause of Action
                                                             24         30.    That the Court declare, adjudge and decree that Defendants violated
                                                             25 California Labor Code sections 201, 202, and 203 by willfully failing to pay all

                                                             26 compensation owed at the time of termination of the employment of Plaintiff and
                                                             27 the other class members no longer employed by Defendants;

                                                             28         31.    For all actual, consequential, and incidental losses and damages,
                                                                                                              42
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
                                                             Case 1:21-cv-00986-KES-BAM Document 67-1 Filed 07/14/23 Page 96 of 104


                                                              1 according to proof;

                                                              2         32.    For statutory wage penalties pursuant to California Labor Code
                                                              3 section 203 for Plaintiff and the other class members who have left Defendants’

                                                              4 employ;

                                                              5         33.    For pre-judgment interest on any unpaid compensation from the date
                                                              6 such amounts were due; and

                                                              7         34.    For such other and further relief as the Court may deem just and
                                                              8 proper.

                                                              9                              As to the Sixth Cause of Action
                                                             10         35.    That the Court declare, adjudge and decree that Defendants violated
                                                             11 California Labor Code section 204 by willfully failing to pay all compensation
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                             12 owed at the time required by California Labor Code section 204 to Plaintiff and the
                              Glendale, California 91203




                                                             13 other class members;

                                                             14         36.    For all actual, consequential, and incidental losses and damages,
                                                             15 according to proof;

                                                             16         37.    For pre-judgment interest on any unpaid compensation from the date
                                                             17 such amounts were due; and

                                                             18         38.    For such other and further relief as the Court may deem just and
                                                             19 proper.
                                                             20                            As to the Seventh Cause of Action
                                                             21         39.    That the Court declare, adjudge and decree that Defendants violated
                                                             22 the record keeping provisions of California Labor Code section 226(a) and

                                                             23 applicable IWC Wage Orders as to Plaintiff and the other class members, and

                                                             24 willfully failed to provide accurate itemized wage statements thereto;

                                                             25         40.    For actual, consequential and incidental losses and damages,
                                                             26 according to proof;
                                                             27         41.    For statutory penalties pursuant to California Labor Code section
                                                             28 226(e);

                                                                                                              43
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         42.    For injunctive relief to ensure compliance with this section, pursuant
                                                              2 to California Labor Code section 226(h); and

                                                              3         43.    For such other and further relief as the Court may deem just and
                                                              4 proper.

                                                              5                             As to the Eighth Cause of Action
                                                              6         44.    That the Court declare, adjudge and decree that Defendants violated
                                                              7 California Labor Code sections 2800 and 2802 by willfully failing to reimburse

                                                              8 Plaintiff and the other class members for all necessary business-related expenses

                                                              9 as required by California Labor Code sections 2800 and 2802;

                                                             10         45.    For actual, consequential and incidental losses and damages,
                                                             11 according to proof;
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                             12         46.    For the imposition of civil penalties and/or statutory penalties;
                              Glendale, California 91203




                                                             13         47.    For reasonable attorneys’ fees and costs of suit incurred herein; and
                                                             14         48.    For such other and further relief as the Court may deem just and
                                                             15 proper.

                                                             16                              As to the Ninth Cause of Action
                                                             17         49.    That the Court decree, adjudge and decree that Defendants violated
                                                             18 California Business and Professions Code sections 17200, et seq. by failing to

                                                             19 provide Plaintiff and the other class members all minimum, overtime, and reporting
                                                             20 time compensation and meal and rest period premiums due to them, failing to

                                                             21 provide all meal and rest periods to Plaintiff and the other class members, failing

                                                             22 to pay at least minimum wages to Plaintiff and the other class members, failing to

                                                             23 pay Plaintiff’s and the other class members’ wages timely as required by California

                                                             24 Labor Code, including inter alia, sections 201, 202, 203, 204, 226(a), 510, 512(a),

                                                             25 551, 552, 1194, 1197.1, 1198 and by violating California Labor Code sections 201,

                                                             26 202, 203, 204, 226(a), 226.7, 510, 512(a), 551, 552, 1174(d), 1194, 1197, 1197.1,
                                                             27 1198, 2800, 2802, and 2810.5, and Industrial Welfare Commission Wage Orders

                                                             28 1-2001, 7-2001, 8-2001, 13-2001, 14-2001, and 16-2001.

                                                                                                              44
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
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                                                              1         50.    For restitution of unpaid wages to Plaintiff and all the other class
                                                              2 members and all pre-judgment interest from the day such amounts were due and

                                                              3 payable;

                                                              4         51.    For the appointment of a receiver to receive, manage and distribute
                                                              5 any and all funds disgorged from Defendants and determined to have been

                                                              6 wrongfully acquired by Defendants as a result of violation of California Business

                                                              7 and Professions Code sections 17200, et seq.;

                                                              8         52.    For reasonable attorneys’ fees and costs of suit incurred herein
                                                              9 pursuant to California Code of Civil Procedure section 1021.5;

                                                             10         53.    For injunctive relief to ensure compliance with this section, pursuant
                                                             11 to California Business and Professions Code sections 17200, et seq.; and
LAWYERS for JUSTICE, PC
                          410 West Arden Avenue, Suite 203




                                                             12         54.    For such other and further relief as the Court may deem just and
                              Glendale, California 91203




                                                             13 proper.

                                                             14                             As to the Tenth Cause of Action
                                                             15         55.    For civil penalties and wages pursuant to California Labor Code
                                                             16 sections 2699(a), (f) and (g) plus costs and attorneys’ fees for violation of

                                                             17 California Labor Code sections 201, 202, 203, 204, 226(a), 226.7, 246, 510, 512(a),

                                                             18 551, 552, 1174(d), 1194, 1197, 1197.1, 1198, 2800, 2802, and 2810.5, and

                                                             19 Industrial Welfare Commission Wage Orders 1-2001, 7-2001, 8-2001, 13-2001,
                                                             20 14-2001, and 16-2001; and

                                                             21         56.    For such other and further relief as the Court may deem equitable and
                                                             22 appropriate.

                                                             23
                                                                  Dated:                                           LAWYERS for JUSTICE, PC
                                                             24

                                                             25
                                                                                                               By: _____________________________
                                                             26
                                                                                                                   Annabel Blanchard
                                                             27                                                    Attorneys for Plaintiff
                                                             28

                                                                                                              45
                                                                  FOURTH AMENDED CLASS ACTION COMPLAINT FOR DAMAGES & ENFORCEMENT UNDER THE PRIVATE ATTORNEYS
                                                                           GENERAL ACT, CALIFORNIA LABOR CODE § 2698, ET SEQ. AND DEMAND FOR JURY TRIAL
                                                            EXHIBIT B
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                                     NOTICE OF CLASS ACTION SETTLEMENT

                                          Bobby Grayson, III v. Nutrien, et al.
                               United States District Court, Eastern District of California

                                    PLEASE READ THIS NOTICE CAREFULLY.
     You have received this Notice because Defendants’ records indicate that you may be eligible to take part in the
                             class action settlement reached in the above-referenced case.
                          You do not need to take any action to receive a settlement payment.
     This Notice is designed to advise you of your rights and options with respect to the settlement, and how you can
     request to be excluded from the Class Settlement, object to the Class Settlement, and/or dispute the number of
                                 Workweeks that you are credited with, if you so choose.

YOU ARE NOTIFIED THAT: A class and representative action settlement has been reached between Plaintiff Bobby
Grayson, III (“Plaintiff”) and Defendants Nutrien, Nutrien AG Solutions, Inc., Western Farm Service, Inc., and Crop
Production Services, Inc. (collectively, “Defendants”) (Plaintiff and Defendants are collectively referred to as the “Parties”)
in the case entitled Bobby Grayson, III. v. Nutrien, et al., United States District Court, Eastern District of California, Case
No. 1:21-cv-00986-ADA-BAM (“Action”), which may affect your legal rights. On [date of Preliminary Approval], the
Court granted preliminary approval of the settlement and scheduled a hearing on [hearing date] at [hearing time] (“Final
Approval Hearing”) to determine whether or not the Court should grant final approval of the settlement.

I.        IMPORTANT DEFINITIONS
“Class” means all current and former non-exempt employees who worked for any of the Defendants within the State of
California at any time during the Class Period.

“Class Member” means a member of the Class.

“Class Period” means the time period from October 6, 2016 through June 7, 2023.

“Class Settlement” means the settlement and resolution of all Released Class Claims (described in Section III.D below).

“PAGA Employees” means all current and former non-exempt employees who worked for any of the Defendants within
the State of California at any time during the PAGA Period.

“PAGA Period” means the time period from September 2, 2019 through June 7, 2023.

“PAGA Settlement” means the settlement and resolution of Released PAGA Claims (described in Section III.D below).

II.       BACKGROUND OF THE LAWSUIT
On April 2, 2021, Plaintiff commenced a class action lawsuit by filing a Class Action Complaint for Damages in the Tulare
County Superior Court, Case No. VCU286503. On March 25, 2021, Plaintiff provided written notice to the California
Labor and Workforce Development Agency (“LWDA”) and Defendants of the specific provisions of the California Labor
Code that Plaintiff contends were violated (“PAGA Notice”). On June 1, 2021, Plaintiff filed a First Amended Class Action
Complaint for Damages & Enforcement Under the Private Attorneys General Act, California Labor Code § 2698, Et Seq.
On June 21, 2021, the Action was removed to the United States District Court, Eastern District of California and assigned
Case No. 1:21-cv-00986-NONE-BAM (later changed to 1:21-cv-00986-ADA-BAM). On August 13, 2021, the Court,
pursuant to the Parties’ joint stipulation, accepted Plaintiff’s Second Amended Class Action Complaint for Damages &
Enforcement Under the Private Attorneys General Act, California Labor Code § 2698, Et Seq. On October 25, 2021,
Plaintiff filed a Third Amended Class Action Complaint for Damages & Enforcement Under the Private Attorneys General
Act, California Labor Code § 2698, Et Seq. On June 30, 2023, Plaintiff filed a Fourth Amended Class Action Complaint for
Damages & Enforcement Under the Private Attorneys General Act, California Labor Code § 2698, Et Seq. (“Operative
Complaint”). Plaintiff alleges that Defendants failed to properly pay minimum and overtime wages, provide compliant
                                                            1
                            Questions? Please call: [settlement administrator’s 800-number]
             Case 1:21-cv-00986-KES-BAM Document 67-1 Filed 07/14/23 Page 100 of 104
meal and rest breaks and/or pay premium wages in lieu thereof, timely pay wages during employment and upon termination
of employment and associated waiting-time penalties, provide accurate wage statements, keep requisite payroll records,
failed to provide employees with written notices that set forth the amount of paid sick leave available or paid time off leave
the employer provides in lieu of sick leave, failed to reimburse business expenses, and thereby engaged in unfair business
practices in violation of the California Business & Professions Code section 17200, et seq., and conduct that gives rise to
penalties under the California Labor Code section 2698, et seq. (“PAGA”). Plaintiff seeks, among other things, recovery
of unpaid wages (including, but not limited to unpaid minimum and overtime wages), unpaid meal and rest period premiums,
unreimbursed business expenses, restitution, penalties, interest, and attorneys’ fees and costs.

Defendants deny all of the allegations in the Action or that they violated any law.

The Parties participated in mediation with a respected class action mediator, and as a result, the Parties reached a settlement.
The Parties have since entered into the Joint Stipulation of Class Action and PAGA Settlement and Release (“Settlement
Agreement,” “Settlement,” or “Settlement Agreement”).

On [date of Preliminary Approval], the Court entered an order preliminarily approving the Settlement. The Court has
appointed Phoenix Settlement Administrators as the administrator of the Settlement (“Settlement Administrator”), Plaintiff
Bobby Grayson, III as representative of the Class (“Class Representative”), and the following Plaintiff’s attorneys as counsel
for the Class (“Class Counsel”):

                                                     Arby Aiwazian
                                                      Joanna Ghosh
                                                   Annabel Blanchard
                                                 Lawyers for Justice, PC
                                            410 West Arden Avenue, Suite 203
                                                Glendale, California 91203
                                     Telephone: (818) 265-1020 / Fax: (818) 265-1021

If you are a Class Member, you do not need to take any action to receive an Individual Settlement Payment, but you have
the opportunity to request exclusion from the Class Settlement (in which case you will not receive an Individual Settlement
Payment), object to the Class Settlement, and/or dispute the Workweeks credited to you, if you so choose, as explained
more fully in Sections III and IV below. If you are a PAGA Employee, you do not need to take any action to receive an
Individual PAGA Payment.

The Settlement represents a compromise and settlement of highly disputed claims. Nothing in the Settlement is intended or
will be construed as an admission by Defendants that the claims in the Action have merit or that Defendants have any
liability to Plaintiff, Class Members, or PAGA Employees. Plaintiff and Defendants, and their respective counsel, have
concluded and agree that, in light of the risks and uncertainties to each side of continued litigation, the Settlement is fair,
reasonable, and adequate, and is in the best interests of Class Members and PAGA Employees. The Court has made no
ruling on the merits of the claims asserted in the Action and has determined only that certification of the Class for settlement
purposes is appropriate under California law. The Court has determined only that there is sufficient evidence to suggest that
the proposed Settlement might be fair, adequate, and reasonable, and that any final determination of those issues will be
made at the Final Approval Hearing.

III.    SUMMARY OF THE PROPOSED SETTLEMENT
        A.       Settlement Formula
The total Maximum Settlement Amount is Four Million Five Hundred Thousand Dollars ($4,500,000) (the “Maximum
Settlement Amount”). The portion of the Maximum Settlement Amount that is available for payment to Class Members is
referred to as the “Net Settlement Amount.” The Net Settlement Amount will be the Maximum Settlement Amount less
the following payments which are subject to approval by the Court: (1) attorneys’ fees, in an amount not to exceed 35% of
the Maximum Settlement Amount (i.e., $1,575,000) and reimbursement of litigation costs and expenses in an amount not
to exceed Sixteen Thousand Dollars ($16,000) (collectively, “Attorneys’ Fees and Costs”) to Class Counsel;
(2) Enhancement Award in an amount not to exceed Twelve Thousand Five Hundred Dollars ($12,500) to Plaintiff for his
services in the Action; (3) the amount of Five Hundred Thousand Dollars ($500,000) allocated toward civil penalties under
the Private Attorneys General Act (“PAGA Amount”); and (4) Settlement Administration Costs in an amount not to exceed
                                                            2
                            Questions? Please call: [settlement administrator’s 800-number]
             Case 1:21-cv-00986-KES-BAM Document 67-1 Filed 07/14/23 Page 101 of 104
Twenty-Six Thousand Dollars ($26,000.00) to the Settlement Administrator. The PAGA Amount will be distributed 75%
to the LWDA (i.e., $375,000) (“LWDA Payment”) and the remaining 25% (i.e., $125,000) will be distributed to PAGA
Employees (“PAGA Employee Amount”).

Class Members are eligible to receive payment under the Class Settlement of their proportional share of the Net Settlement
Amount (“Individual Settlement Share”) based on the number of weeks each Class Member worked for any of the
Defendants as a non-exempt employee in California during the Class Period (“Workweeks”).

The Settlement Administrator has divided the Net Settlement Amount by the Workweeks of all Class Members to yield
the “Estimated Workweek Value,” and multiplied each Class Member’s individual Workweeks by the Estimated
Workweek Value to yield his or her estimated Individual Settlement Share that he or she may be eligible to receive under
the Class Settlement (which is listed in Section III.C below).

Each Individual Settlement Share will be allocated as twenty percent (20%) wages, which will be reported on an IRS Form
W-2, and eighty percent (80%) interest, penalties, and other non-wage damages, which will be reported on an IRS Form
1099 (if applicable). Each Individual Settlement Share will be subject to reduction for the employee’s share of payroll taxes
and withholdings with respect to the wages portion of the Individual Settlement Share (the net payment is referred to as
“Individual Settlement Payment”). The employers’ share of taxes and contributions in connection with the wages portion
of the Individual Settlement Shares (“Employer Taxes”) shall be paid by Defendants separately and in addition to the
Maximum Settlement Amount.

PAGA Employees are eligible to receive payment under the PAGA Settlement of their proportional share of the PAGA
Employee Amount (“Individual PAGA Payment”) based on their Workweeks during the PAGA Period in proportion to the
total Workweeks of all PAGA Employees during the PAGA Period.

The Settlement Administrator has divided the PAGA Employee Amount, i.e., 25% of the PAGA Amount, by the total
number of Workweeks of all PAGA Employees during the PAGA Period to yield the “PAGA Workweek Value,” and
multiplied each PAGA Employee’s individual Workweeks during the PAGA Period by the PAGA Workweek Value to
yield his or her Individual PAGA Payment (which is listed in Section III.C below).

Each Individual PAGA Payment will be allocated as 100% penalties, which will be reported on IRS Form 1099 (if
applicable).

If the Court grants final approval of the Settlement, Individual Settlement Payments will be mailed to Settlement Class
Members and Individual PAGA Payments will be mailed to PAGA Employees at the address that is on file with the
Settlement Administrator. If the address to which this Notice was mailed is not correct, or if you move after you
receive this Notice, you must provide your correct mailing address to the Settlement Administrator as soon as
possible to ensure you receive any payment that you may be entitled to under the Settlement.

        B.      Your Workweeks Based on Defendants’ Records

According to Defendants’ records,

       From October 6, 2016 through June 7, 2023 (i.e., the Class Period), you are credited as having [_____]
        Workweeks.
       From September 2, 2019 through June 7, 2023 (i.e., the PAGA Period), you are credited as having [_____]
        Workweeks.

If you wish to dispute the Workweeks credited to you, you must submit a written letter (“Workweeks Dispute”), which
must: (a) contain the case name and number of the Action (Bobby Grayson, III v. Nutrien, et al., Case No. 1:21-cv-00986-
ADA-BAM); (b) contain your full name, signature, address, telephone number, and last four (4) digits of your Social
Security Number; (c) clearly state that you dispute the number of Workweeks credited to you and what you contend is the
correct number to be credited to you; (d) attach any documentation that you have to support the dispute; and (e) be submitted
by mail to the Settlement Administrator at the specified address listed in Section IV.B below, postmarked on or before
[Response Deadline].
                                                             3
                           Questions? Please call: [settlement administrator’s 800-number]
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        C.      Your Estimated Individual Settlement Share and Individual PAGA Payment
As explained above, your estimated Individual Settlement Share and Individual PAGA Payment is based on the number of
Workweeks credited to you.
        Under the terms of the Settlement, your Individual Settlement Share is estimated to be $___________.
        The Individual Settlement Share is subject to reduction for the employee’s share of taxes and
        withholdings with respect to the wages portion of the Individual Settlement Share.
        Under the terms of the Settlement, your Individual PAGA Payment is estimated to be $___________.

The settlement approval process may take multiple months. The amount of your Individual Settlement Share and Individual
PAGA Payment (if applicable) reflected in this Notice is only an estimate. Your actual Individual Settlement Share and
Individual PAGA Payment (if applicable) may be higher or lower. Payments will be distributed only after the Court grants
final approval of the Settlement, and after the Settlement goes into effect.

        D.      Release of Claims
Upon the Effective Date and full funding of the Maximum Settlement Amount, Plaintiff and all Class Members who do not
submit a timely and valid Request for Exclusion (i.e., Settlement Class Members) will be deemed to have fully, finally and
forever released, settled, compromised, relinquished, and discharged the Released Parties of all Released Class Claims
whether known or unknown.

Upon the Effective Date and full funding of the Maximum Settlement Amount, Plaintiff and the State of California will be
deemed to have fully, finally, and forever released, settled, compromised, relinquished, and discharged the Released Parties
of all Released PAGA Claims whether known or unknown. Plaintiff does not release any PAGA Employee’s claim for
wages or damages. However, PAGA Employees who are also Settlement Class Members will be deemed to have fully,
finally and forever released, settled, compromised, relinquished, and discharged the Released Parties of all Released Class
Claims whether known or unknown.

“Released Class Claims” means all causes of action and factual or legal theories that were alleged in the Operative
Complaint or reasonably could have been alleged based on the facts and legal theories contained in the Operative Complaint,
for violations of the California Labor Code, including inter alia sections 201, 202, 203, 204, 226(a), 226.7, 246, 510, 512(a),
551, 552, 1174(d), 1194, 1197, 1197.1, 1198, 2800 and 2802, and Industrial Welfare Commission Wage Orders, including
inter alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-2001 and 16-2001, including all of the following claims for
relief: (a) failure to pay all and overtime wages due; (b) failure to provide proper meal periods, and to properly provide
premium pay in lieu thereof; (c) failure to provide proper rest periods, and to properly provide premium pay in lieu thereof;
(d) failure to pay all minimum wages due;: (e) failure to pay all wages timely during employment; (f) failure to pay all
wages timely at the time of termination; (g) failure to provide complete, accurate or properly formatted wage statements;
(h) failure to provide an employee with written notice that sets forth the amount of paid sick leave available or paid time off
leave an employer provides in lieu of sick leave; (i) failure to keep complete and accurate payroll records; (j) failure to
reimburse business expenses; (k) unfair business practices that could have been premised on the claims, causes of action or
legal theories of relief described above or any of the claims, causes of action or legal theories of relief pleaded in the
Operative Complaint; (l) any other claims or penalties under the wage and hour laws pleaded in the Action; and (m) all
damages, penalties, interest and other amounts recoverable under said claims, causes of action or legal theories of relief.

“Released PAGA Claims” means all causes of action and factual or legal theories for civil penalties under the California
Labor Code Private Attorneys General Act of 2004 against any of the Released Parties that were alleged in the Operative
Complaint or reasonably could have been alleged based on the facts and legal theories contained in the PAGA Notices
and Operative Complaint, for violations of the California Labor Code, including inter alia sections 201, 202, 203, 204,
226(a), 226.7, 246, 510, 512(a), 551, 552, 1174(d), 1194, 1197, 1197.1, 1198, 2800 and 2802, and Industrial Welfare
Commission Wage Orders, including inter alia, Wage Orders 1-2001, 7-2001, 8-2001, 13-2001, 14-2001 and 16-2001,
including all of the following: (a) failure to pay all and overtime wages due; (b) failure to provide proper meal periods
and to properly provide premium pay in lieu thereof; (c) failure to provide proper rest periods, and to properly provide
premium pay in lieu thereof; (d) failure to pay all minimum wages due; (e) failure to pay all wages timely during
employment; (f) failure to pay all wages timely at the time of termination; (g) failure to provide complete, accurate or
properly formatted wage statements; (h) failure to provide a employees with written notice that sets forth the amount of
paid sick leave available or paid time off leave the employer provides in lieu of sick leave; (i) failure to keep complete
and accurate payroll records; and (j) failure to reimburse business expenses.
                                                           4
                           Questions? Please call: [settlement administrator’s 800-number]
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“Released Parties” means Nutrien Ltd, Nutrien Ag Solutions, Inc., Nutrient US LLC, Agrium U.S. Inc., Loveland Products,
PCS Administration (USA), Inc., Crop Production Services, Inc., Western Farm Services, Inc., and each of their past, present
and/or future, direct and/or indirect, officers, directors, members, managers, employees, agents, representatives, attorneys,
insurers, partners, investors, shareholders, administrators, parent companies, subsidiaries, affiliates, divisions, predecessors,
successors, assigns, and joint venturers..

        E.       Attorneys’ Fees and Costs to Class Counsel
Class Counsel will seek attorneys’ fees in an amount not to exceed thirty-five percent (35%) of the Maximum Settlement
Amount (i.e., $1,575,000) and reimbursement of litigation costs and expenses in an amount not to exceed Sixteen Thousand
Dollars ($16,000) (collectively, “Attorneys’ Fees and Costs”), subject to approval by the Court. The Attorneys’ Fees and
Costs granted by the Court will be paid from the Maximum Settlement Amount. Class Counsel has been prosecuting the
Action on behalf of Plaintiff, Class Members, and PAGA Employees on a contingency fee basis (that is, without being paid
any money to date) and has been paying all litigation costs and expenses.

        F.       Enhancement Payment to Plaintiff
Plaintiff will seek the amount of up to Twelve Thousand Five Hundred Dollars ($12,500) (“Enhancement Payment”), in
recognition of his services in connection with the Action. The Enhancement Award will be paid from the Maximum
Settlement Amount, subject to approval by the Court, and if awarded, will be paid to Plaintiff in addition to his Individual
Settlement Payment and Individual PAGA Payment that he is entitled to under the Settlement.

        G.       Settlement Administration Costs to Settlement Administrator
Payment to the Settlement Administrator is estimated not to exceed Twenty-Six Thousand Dollars ($26,000) (“Settlement
Administration Costs”) for the costs of the notice and settlement administration process, including and not limited to, the
expense of notifying the Class Members of the Settlement, processing Requests for Exclusion, Objections, and Workweeks
Disputes, calculating Individual Settlement Shares, Individual Settlement Payments, and Individual PAGA Payments, and
distributing payments and tax forms under the Settlement, and shall be paid from the Maximum Settlement Amount, subject
to approval by the Court.

IV.     WHAT ARE YOUR RIGHTS AND OPTIONS AS A CLASS MEMBER?
        A.       Participate in the Settlement
If you want to participate in the Settlement and receive money from the Settlement, you do not have to do anything.
You will automatically be included in the Class Settlement and issued your Individual Settlement Payment unless you decide
to exclude yourself from the Class Settlement.

Unless you elect to exclude yourself from the Class Settlement, you will be bound by the terms of the Class Settlement and
any judgment that may be entered by the Court based thereon, and you will release the Released Class Claims described in
Section III.D above.

If you are a PAGA Employee, you will automatically be included in the PAGA Settlement and issued your Individual PAGA
Payment. This means you will be bound by the terms of the PAGA Settlement and any judgment that may be entered by the
Court based thereon will have a claim preclusive effect with respect to the Released PAGA Claims described in Section
III.D above.

Class Members and PAGA Employees will not be separately responsible for the payment of attorney’s fees or litigation
costs and expenses, unless they retain their own counsel, in which event they will be responsible for their own attorney’s
fees and expenses.

        B.       Request Exclusion from the Class Settlement
Class Members may request to be excluded from the Class Settlement by submitting a written letter (“Request for
Exclusion”), which must: (a) contain the case name and number of the Action (Bobby Grayson, III v. Nutrien, et al., Case
No. 1:21-cv-00986-ADA-BAM); (b) contain your full name, signature, address, telephone number, and last four (4) digits
of your Social Security Number; (c) contain a clear written statement indicating that you seek exclusion from the Class
Settlement; and (d) be submitted by mail to the Settlement Administrator at the specified address below, postmarked on or
                                                            5
                          Questions? Please call: [settlement administrator’s 800-number]
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before [Response Deadline].

                                                 [Settlement Administrator]
                                                     [Mailing Address]

If the Court grants final approval of the Settlement, any Class Member who submits a timely and valid Request for Exclusion
will not be entitled to receive an Individual Settlement Payment, will not be bound by the Class Settlement (and the release
of Released Class Claims described in Section III.D above), and will not have any right to object to, appeal, or comment on
the Class Settlement. Class Members who do not submit a timely and valid Request for Exclusion will be deemed Settlement
Class Members and will be bound by all terms of the Settlement, including those pertaining to the release of claims described
in Section III.D above, as well as any judgment that may be entered by the Court based thereon. PAGA Employees will be
bound to the PAGA Settlement (and the claim preclusive effect of any final order and judgment entered by the Court with
respect to the Released PAGA Claims described in Section III.D above) and will still be issued an Individual PAGA
Payment, irrespective of whether they submit a Request for Exclusion from the Class Settlement.

        C.      Object to the Class Settlement
A Class Member may object to the Class Settlement, as long as he or she has not submitted a Request for Exclusion (i.e., is
a Settlement Class Member), by submitting a written objection (“Objection”), which must: (a) contain the case name and
number of the Action (Bobby Grayson, III v. Nutrien, et al., Case No. 1:21-cv-00986-ADA-BAM); (b) contain your full
name, signature, address, telephone number, and last four (4) digits of your Social Security Number; (c) contain a written
statement of all grounds for the objection accompanied by any legal support for such objection; (d) contain copies of any
papers, briefs, or other documents upon which the objection is based; and (e) be submitted by mail to the Settlement
Administrator at the specified address listed in section IV.B. above, postmarked on or before [Response Deadline].

Settlement Class Members may also present their objection orally at the Final Approval Hearing, irrespective of whether
they submit an Objection.

V.      FINAL APPROVAL HEARING
The Court will hold a Final Approval Hearing in Courtroom 8 of the United States District Court, Eastern District of
California, located at 2500 Tulare Street, 6th Floor, Fresno, California 93721, on [date], at [time], to determine whether the
Settlement should be finally approved as fair, reasonable, and adequate. The Court also will be asked to approve and grant
the Attorneys’ Fees and Costs to Class Counsel, Enhancement Payment to Plaintiff, and Settlement Administration Costs
to the Settlement Administrator.

The hearing may be continued without further notice to Class Members. It is not necessary for you to appear at the Final
Approval Hearing, although you may appear if you wish to. Personal appearances and telephonic appearances are an option.

On the Court’s website, you can find information regarding appearing remotely via telephonically or by video conference
(for the Final Approval Hearing that is scheduled to be held in Courtroom 8 of the United States District Court, Eastern
District of California):
https://www.caed.uscourts.gov/caednew/assets/File/BAM/BAM%202022%20Standing%20Order%20(Revised).pdf

VI.     ADDITIONAL INFORMATION
The above is a summary of the basic terms of the Settlement. For the precise terms and conditions of the Settlement
Agreement, you should review the detailed Settlement Agreement and other court records by using Public Access to Court
Electronic Records System (“Pacer”) (for a fee) through the Court’s Pacer system at https:///pacer.uscourts.gov/.

PLEASE DO NOT TELEPHONE THE COURT OR THE OFFICE OF THE CLERK FOR INFORMATION
REGARDING THIS SETTLEMENT.

IF YOU HAVE ANY QUESTIONS, YOU MAY CALL THE SETTLEMENT ADMINISTRATOR AT THE
FOLLOWING TOLL-FREE NUMBER: [INSERT], OR YOU MAY ALSO CONTACT CLASS COUNSEL.


                                                           6
                           Questions? Please call: [settlement administrator’s 800-number]
